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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF COLUMBIA

NATIONAL URBAN LEAGUE
; and 80 Pine Street, 9th Floor,
New York, NY 10005;
NATIONAL FAIR HOUSING ALLIANCE
1331 Pennsylvania Avenue NW, #650,
Washington, DC 20004; and
AIDS FOUNDATION OF CHICAGO,
200 West Monroe Street, Suite #1150,
Chicago, IL 60606
                             Plaintiffs,
        v.

DONALD J. TRUMP, in his official capacity as   Civil Case No. 1:25-cv-00471 (TJK)
President of the United States
; 1600 Pennsylvania Avenue NW,
Washington, DC 20500;
OFFICE OF MANAGEMENT AND BUDGET
; 725 17th Street NW,
Washington, DC 20503;
RUSSELL VOUGHT, in his official capacity as
Director of the OFFICE OF MANAGEMENT
AND BUDGET
; 725 17th Street NW,
Washington, DC 20503;
OFFICE OF FEDERAL CONTRACT
COMPLIANCE PROGRAMS
; CATHERINE ESCHBACHU.S. Department of
Labor
200 Constitution Avenue NW,
Washington, DC 20210;
MICHAEL SCHLOSS, in hisher official
capacity as Acting Director of the Office of
FEDERAL CONTRACT COMPLIANCE
PROGRAMS
; 200 Constitution Avenue NW,
Washington, DC 20210;
U.S. DEPARTMENT OF LABOR
; LORI CHAVEZ-DEREMER200 Constitution
Avenue NW,
Washington, DC 20210;
VINCE MICONE, in hisher official capacity as
Acting Secretary of the U.S. DEPARTMENT
OF LABOR
; 200 Constitution Avenue NW,                  Caption continues on next page.
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Washington, DC 20210;
U.S. DEPARTMENT OF HEALTH AND
HUMAN SERVICES
; 200 Independence Avenue SW,
Washington, DC 20201;
ROBERT F. KENNEDY, JR., in his official
capacity as Secretary of the U.S.
DEPARTMENT OF HEALTH AND HUMAN
SERVICES
; 200 Independence Avenue SW,
Washington, DC 20201;
U.S. DEPARTMENT OF COMMERCE
; 1401 Constitution Avenue NW,
Washington, DC 20230;
HOWARD LUTNICK, in his official capacity as
Secretary of the U.S. DEPARTMENT OF
COMMERCE
; 1401 Constitution Avenue NW,
Washington, DC 20230;
U.S. DEPARTMENT OF HOUSING AND
URBAN DEVELOPMENT
; 451 7th Street SW,
Washington, DC 20410;
SCOTT TURNER, in his official capacity as
Secretary of the U.S. DEPARTMENT OF
HOUSING AND URBAN DEVELOPMENT
; 451 7th Street SW,
Washington, DC 20410;
U.S. DEPARTMENT OF AGRICULTURE
; 1400 Independence Avenue SW,
Washington, DC 20250;
BROOKE ROLLINS, in her official capacity as
Secretary of the U.S. DEPARTMENT OF
AGRICULTURE
; 1400 Independence Avenue SW,
Washington, DC 20250;
NATIONAL INSTITUTES OF HEALTH
; JAYANTA BHATTACHARYA9000 Rockville
Pike,
Bethesda, MD 20892;
MATTHEW J. MEMOLI, in his official capacity
as Acting Director of the NATIONAL
INSTITUTES OF HEALTH
; 9000 Rockville Pike,
Bethesda, MD 20892;




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HEALTH RESOURCES AND SERVICES
ADMINISTRATION
; 5600 Fishers Lane,
Rockville, MD 20857;
THOMAS ENGELS, in his official capacity as
the Administrator of the HEALTH
RESOURCES AND SERVICES
ADMINISTRATION;
560 Fishers Lane,
Rockville, MD 20857;
CENTERS FOR DISEASE CONTROL AND
PREVENTION
; 1600 Clifton Road,
Atlanta, GA 30329;
SUSAN MONAREZ, in her official capacity as
Acting Director of the CENTERS FOR
DISEASE CONTROL AND PREVENTION
; 1600 Clifton Road,
Atlanta, GA 30329;
ADMINISTRATION FOR COMMUNITY
LIVING
; MARY LAZARE330 C Street SW,
Washington, DC 20201;
RICK NICHOLLS, in hisher official capacity as
Principal Deputy Administrator and Chief of
Staff forof the ADMINISTRATION FOR
COMMUNITY LIVING
; 330 C Street SW,
Washington, DC 20201;
U.S. ENVIRONMENTAL PROTECTION
AGENCY
; 1200 Pennsylvania Avenue NW,
Washington, DC 20460;
LEE ZELDIN, in his official capacity as
Administrator of the U.S. ENVIRONMENTAL
PROTECTION AGENCY
; 1200 Pennsylvania Avenue NW,
Washington, DC 20460;
U.S. DEPARTMENT OF JUSTICE
950 Pennsylvania Avenue NW,
; and Washington, DC 20530; and
PAMELA BONDI, in her official capacity as
Attorney General of the U.S. DEPARTMENT
OF JUSTICE,
950 Pennsylvania Avenue NW,
Washington, DC 20530



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                                 Defendants. 1




FIRST AMENDED AND SUPPLEMENTAL COMPLAINT FOR DECLARATORY AND
            INJUNCTIVE RELIEF AND JURY TRIAL DEMAND

              1.    Plaintiffs National Urban League (“NUL”), National Fair Housing Alliance

(“NFHA”), and AIDS Foundation of Chicago (“AFC”) (collectively, “Plaintiffs”) bring this civil

rights action for injunctive and declaratory relief against Defendants Donald J. Trump, in his

official capacity as President of the United States; the Office of Management and Budget

(“OMB”); Russel Vought, the Director of OMB; the Office of Federal Contract Compliance

Programs (“OFCCP”); Michael SchlossCatherine Eschbach, the Acting Director of OFCCP; the

U.S. Department of Labor (“DOL”); Vince MiconeLori Chavez-DeRemer, the Acting U.S.

Secretary of LaborDOL; the U.S. Department of Health and Human Services (“HHS”); Robert F.

Kennedy, Jr., the Secretary of HHS; the U.S. Department of Commerce (“DOC”); Howard Lutnick,

the Secretary of CommerceDOC; the U.S. Department of Housing and Urban Development

(“HUD”); Scott Turner, the HUD Secretary of HUD; the U.S. Department of Agriculture

(“USDA”); Brooke Rollins, the Secretary of AgricultureUSDA; the National Institutes of Health

(“NIH”); Matthew J. Memoli, the ActingJayanta Bhattacharya, the Director of NIH; the Health

Resources and Services Administration (“HRSA”); Thomas Engels, the Administrator of HRSA;

the Centers for Disease Control and Prevention (“CDC”); Susan Monarez, the Acting Director of

CDC; the Administration for Community Living (“ACL”); Rick NichollsMary Lazare, the


          1
              As relevant, the Defendants named in their official capacities include any successors in
office.


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Principal Deputy Administrator and Chief of Staff of ACL; the U.S. Environmental Protection

Agency (“EPA”); Lee Zeldin, the Administrator of the EPA; the U.S. Department of Justice

(“DOJ”); and Pamela Jo Bondi, the U.S. Attorney General (collectively, “Defendants”) seeking

declaratory and injunctive relief 2 for ultra vires presidential actions,action and violations of the

First and Fifth Amendments to the U.S. Constitution, and violations of the Administrative

Procedure Act (“APA”).

           2.    Plaintiffs NUL, NFHA, and AFC are threeare mission-driven non-profit

organizations committed to the principles of diversity, equity, inclusion, and accessibility

(“DEIA”), to the robust enforcement of our civil rights laws, and to the full equality of all people,

regardless of their race, ethnicity, national origin, sex, sexual orientation, gender identity, or

disabilities. Plaintiffs strive to improve the lives and welfare of vulnerable and underserved

communities through their words and actions and embrace the equal dignity of transgender people

through their words and actions.        Due to historic and ongoing systemic inequalities and

discrimination, people of color, women, LGBTQ people, and people with disabilities are

disproportionately underserved, vulnerable to civil and human rights abuses, and in need of

Plaintiffs’ services. Each organization hasPlaintiffs have been engaged in various efforts to serve

these vulnerable populations, including by providing essential direct services and technical

assistance, promoting economic empowerment, combatting housing discrimination, and

mobilizing communities to create equity and justice for people living with and vulnerable to the

human immunodeficiency virus (“HIV”). Plaintiffs receive federal funding in the form of grants

and/or contracts and rely on that federal funding to continue carryingcarry out their mission-driven




       2
           As against Defendant President Donald J. Trump, Plaintiffs seek declaratory relief only.


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work. Several of Plaintiffs’ grants and/or contracts are congressionally appropriated for the

purpose of advancing equity for marginalized communities.

         3.    Plaintiffs bring this suitlawsuit to challenge Executive Order No. 14151, “Ending

Radical and Wasteful DEI Programs and Preferencing” (“Anti-Diversity1 Order”), issued January

20, 2025;23 Executive Order No. 14168, “Defending Women From Gender Ideology Extremism

and Restoring Biological Truth to the Federal Government” (“Anti-Gender Order”), issued January

20, 2025;34 Executive Order No. 14173, “Ending Illegal Discrimination and Restoring Merit-

Based Opportunity” (“Anti-Diversity2 Order”), issued January 21, 2025 (collectively, the

“Executive Orders”);45 and related agency actions, as ultra vires and in violation of the First and

Fifth Amendments to the U.S. Constitution and the APA, and,. Plaintiffs accordingly, seek

declaratory and injunctive relief.

         4.    The Executive Orders falsely assert that DEIA programs and activities are illegal

and inconsistent with merit, hard work, and standards of excellence. They, and they penalize

Plaintiffs for expressing viewpoints in support of DEIA and transgender people. Because of these

Orders,As applied to Plaintiffs are at significant risk of losing, the Executive Orders have caused

and risk further loss of the federal funds that theyfunding Plaintiffs use to help people of color,

women, LGBTQ people, and/or            people with disabilities overcome systemic barriers to

accessaccessing housing, education, employment, and healthcare stemmingthat stem from

discrimination, biases, and inequalities.




       23
          Exec. Order No. 14151, Ending Radical and Wasteful DEI Programs and
Preferencing, 90 Fed. Reg. 8339 (Jan. 20, 2025).
       34
          Exec. Order No. 14168, Defending Women From Gender Ideology Extremism and
Restoring Biological Truth to the Federal Government, 90 Fed. Reg. 8615 (Jan. 20, 2025).
       45
          Exec. Order No. 14173, Ending Illegal Discrimination and Restoring Merit-Based
Opportunity, 90 Fed. Reg. 8633 (Jan. 21, 2025).


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           5.   With vague and ambiguous language, the Executive Orders seek to intimidate,

threaten, and ultimately stop Plaintiffs from performing services central to their missions; chill and

censor theirPlaintiffs’ speech, advocacy, and expressive activity based on its content and

viewpoint; and jeopardize federal grants and contracts that are critical for Plaintiffs to accomplish

their mission driven work. Defendants have already taken action to implement these Executive

Orders and have begun to terminate Plaintiffs’, including by terminating hundreds of thousands of

dollars in crucial federal funding for one Plaintiff. And this action, and the language in the

Executive Orders, has already chilled Plaintiffs’ speech.

           6.   The Executive Orders disparage DEIA programs as “dangerous, demeaning, and

immoral race- and sex-based preferences.” 5           In actuality, theseDEIA programs address

longstanding, discriminatory barriers and disadvantages to help members of underrepresented

groups fully participate in our society and have equal access to employment, education, housing,

healthcare, and other resources. These types of programs embody the principles and values of

equality, fairness, and justice that are enshrined in our Constitution and federal civil rights laws,

and they reflect a shared commitment to achieving the ideals of a multiracial democracy that fully

includes all its people. Plaintiffs firmly believe that the United States’ longstanding and entrenched

race and sex inequalities require proactive efforts, including DEIA programs, to break down

barriers to opportunity and resources and to both remedy and prevent discrimination.

           7.   While the PresidentAdministration may have hisits own viewpoint, as flawed and

discriminatory as it may be, the First Amendment bars himit from unduly imposing hisits

viewpoint on federal contractors and grantees sosuch that Plaintiffs are forced to either violatedefy




       5
           Anti Diversity2 Order § 1.


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their organizational missions or risk losing the federal funding that is vitally necessary, and even

sometimes lifesaving, for the communities they serve.

           8.    The extraordinarily vague terms of the Executive Orders are extraordinarily vague

and could prohibit Plaintiffs from engaging in any targeted effort to help a specific group of people

facing unfair disadvantages. The Executive Orders equate banned “DEIA” with any “equity-

related” work—potentially including work that is specifically authorized or required by civil rights

laws—and explicitly prohibit references to “DEI and DEIA principles, under whatever name they

may appear.” 6 Without any discernible standards or criteria of what is and what is not “dangerous,”

“demeaning,” “immoral,” and “illegal” DEIA, 7 as understood by this Administration, the future of

Plaintiffs’ fiscal viability and programming areis subject to the unfettered discretion of an

Administration that has made clearclearly voiced its predisposition against any speech or action

that advances equal opportunity for historically marginalized groups, including people of color,

women, LGBTQ people, and/or people with disabilities. SuchWhen agencies take action against

Plaintiffs on the basis of such vague terms without, which lack sufficient standards or criteria, they

deprive Plaintiffs of their due process rights under the Fifth Amendment.

           9.    In addition to violating Plaintiffs’ free speech and due process rights, the Executive

Orders have a clear discriminatory purpose in violation of the Fifth Amendment’s equal protection:

guarantees. They seek to malign the targeted communities; to undermine and dismantle a wide

spectrum of policies, programs, and activities intended to help historically marginalized,

underserved, and under-resourced groups; and to erase transgender people from public life.




       6
           Id. § 3.
       7
           Id. § 1.


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         10.   As evidenced during his first term in office by hisby President Trump’s response to

the mass demonstrations against systemic anti-Black racism after the police killing of George

Floyd during his first term, President Trump has sought to quell any ensuing efforts to advance

racial justice, including efforts through DEIA initiativesprograms. That singular focus has

continued to his current Administration: the. The recent Executive Orders also suggest that DEIA

programs are inconsistent with merit, and do so through their text, the aggressive messaging

around them, and the way the Administration has implemented them thus far. This emphasis on

“merit” relies on longstanding stereotypes that Black people and other underrepresented groups

are inherently unqualified and lack merit despite their accomplishments.              Rather than

acknowledging the need forto have DEIA programs to destroy these false stereotypes and remove

unfair barriers to opportunity for Black people and other excluded groups, the Executive Orders

rely on thesethe false stereotypes to support the baseless assertion that thoseDEIA programs

provide racial preferencespreferential treatment to unqualified Black people and other people of

color. The Executive Orders simultaneously codifyarticulate preferences for white people by

suggesting that efforts to address racial inequity—for example, by “promoting diversity”—are, by

definition, reverse discrimination.

         11.   By attacking “DEIA,” the Anti-Diversity Executive Orders expressly disadvantage

people of color, women, LGBTQ people, and people with disabilities who already face unfair

disadvantages or inequalities by eliminating and delegitimizing targeted efforts that were

specifically created to help them overcome the systemic discrimination that produced those

disadvantages and inequalities. In actualityContrary to the Administration’s claims, DEIA is

utilized by both public and private entities to ensure voluntary compliance with longstanding civil

rights and anti-discrimination laws and to mitigate risk. Yet, without evidence or support of the




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opposite, the Trump Administration is using the power and resources of the federal government to

launch a full-scale assault on DEIA—not only within federal agencies, but throughout the private

sector as well, in contravention of the Constitution and other federal laws. People of color, women,

LGBTQ people, and people with disabilities served by Plaintiffs’ equity programs will be directly

harmed by the Trump Administration’s discriminatory actions, as Plaintiffs face censorship of

speech and termination of funding and activities that support and benefit vulnerable communities..

         12.     Even more explicitly, theThe Anti-Gender Order discriminates against transgender

people by repudiating their existence, deeming their identities “false,”86 disparaging them, and

ordering their exclusion from government recognition and protection in multiple aspects of their

lives. The Anti-Gender Order seeks to erase transgender people from public life and poses an

existential threat to transgender people themselves, as well as to the federally funded organizations

that seek to support them and advance their civil rights.

         13.     Plaintiffs and the communities they work for have already been, and will continue

to be, directly harmed by the Executive Orders, which have censored Plaintiffs’ protected speech,

terminated, and threatened additional termination of the federal funding that supports them.

Accordingly, Plaintiffs respectfully ask the Court to uphold their constitutional rights and declare

the Executive Orders unlawful so they may continue their important, urgent, and mission driven

work of supporting and providing services to the marginalized and underserved communities who

are directly and intentionally targeted, maligned, and disadvantaged by the Executive Orders.

                                 JURISDICTION AND VENUE

         14.     Plaintiffs bring this action under the U.S. Constitution and the APA, 5 U.S.C. §§

551 et seq.



       86
            Anti-Gender Order § 2(f).


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         15.    This Court has jurisdiction pursuant to 28 U.S.C. § 1331, as this action arises under

the laws of the United States, including the U.S. Constitution.

         16.    Venue is proper in this District under 28 U.S.C. § 1391(e) because Plaintiffs reside

within this District and because each Defendant is an agency of the United States or an officer or

employee of the United States or any agency thereof acting and sued in their official capacity, at

least one Defendant resides in this District, and a substantial part of the events or omissions giving

rise to the claim occurred in this District.

         17.    The Court is authorized to award the requested declaratory and injunctive relief

under 28 U.S.C. §§ 2201–02 and Federal Rule of Civil Procedure 65.

                                               PARTIES

I.      PLAINTIFFS

         18.    The National Urban League NUL is a 501(c)(3) non-profit corporation

headquartered in New York, New York. It is the largest historic civil rights and urban advocacy

organization committed to elevating the standard of living for Black Americans and, other

historically underserved people, and urban communities through economic empowerment.

Founded in 1910, NUL is also one of the oldest civil rights organizations in existence. NUL

promotes economic empowerment through education and job training, housing and community

development, workforce development, entrepreneurship, health, and quality of life, and publicly

supports the rights of LGBTQ people.97

         19.    NUL has 92 local affiliates (known as the affiliate movement) in 300 communities

across 36 states and the District of Columbia that offer various direct services and advocacy that


        97
           See National Urban League, VCU Libraries Social Welfare History Project,
https://socialwelfare.library.vcu.edu/organizations/national urban league/ (last visited National
Urban League (Feb. 16, 2025), https://socialwelfare.library.vcu.edu/organizations/national-
urban-league/.


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enhance the lives of more than 3.8 million people nationwide. Committed to principles of DEIA,

NUL promotes economic empowerment through programming and advocacy around education

and youth development, job training and workforce development, housing counseling,

entrepreneurship, health equity, and overall quality of life, and it publicly supports the rights of

LGBTQ people. NUL has been, is, and seeks to be in the future a federal contractor, federal

subcontractor, and/or federal grant recipient. The challenged Executive Orders threatenhave

already impacted and threatened NUL’s ability to conduct its core business activities and

accomplish its mission of providing direct services and technical assistance to underserved

communities with the goal of advancing economic empowerment by censoring NUL’s speech or

withholding critical federal funds, and by discriminating against individuals whom NUL has

served for over one hundred years..        Because of the Executive Orders, NUL has already

experienced the termination of hundreds of thousands of dollars in critical funding, censorship of

its protected speech, and the threat of additional and imminent grant terminations.

       20. NFHA is a 501(c)(3) non profit Virginia corporation headquartered in Washington,

DC. NFHA is the country’s only national civil rights organization dedicated solely to eliminating

all forms of housing and lending discrimination and ensuring equitable housing opportunities for

all people. Through its community development, education and outreach, responsible AI, member

services, public policy and advocacy, consulting and compliance, and enforcement initiatives,

NFHA works to dismantle longstanding discriminatory barriers and build inclusive, resilient, well

resourced communities where everyone can thrive. Pursuant to its mission to eliminate all housing

and lending discrimination, NFHA advocates against discrimination based on race, national origin,

religion, sex, disability, sexual orientation, gender identity, and other protected classes covered by

federal, state, and local fair housing laws, including the federal Fair Housing Act.




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        21. NFHA’s members include over 200 private, non-profit fair housing organizations, state

and local civil rights agencies, and individuals across the United States. NFHA has over 70

operating member organizations nationwide that support fair housing work in their regions in 29

states and the District of Columbia. NFHA focuses on a variety of matters, including policy

initiatives, research, education, and outreach, and operating members of NFHA provide direct

services to victims of housing discrimination. NFHA has been, is, and seeks to be in the future a

federal contractor, federal subcontractor, and/or federal grant recipient. The Executive Orders

frustrate NFHA’s mission to eliminate all forms of housing and lending discrimination by

censoring NFHA’s speech or withholding critical federal funds, and by making it more difficult

for NFHA to serve individuals against whom the Executive Orders discriminate.

         20.   22. AFC is a not-for-profit 501(c)(3) organization based in Chicago, Illinois that

mobilizes communities to create equity and justice for people living with and vulnerable to the

human immunodeficiency virus (“HIV”) or other chronic conditions. Its strategic priorities

include ending the HIV epidemic, ending homelessness, prioritizing racial equity, and mobilizing

and developing communities of supporters and allies.

         21.   23. AFC has been, is, and seeks to be in the future a federal grant recipient. The

Executive Orders have already frustrated and continue to frustrate AFC’s mission to create equity

and justice for people living with andor vulnerable to HIV orand other chronic conditions by

censoring AFC’s speech or withholding, threatening to withhold critical federal funds, and by

discriminating against individuals whom itAFC serves, as part of its mission.

II.     DEFENDANTS

         22.   24. Donald J. Trump is the President of the United States. He is sued in his official

capacity. In that capacity, he issued the Executive Orders that are challenged in this lawsuit.




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         23.   25. OMB is the largest office within the Executive Office of the President of the

United States. OMB produces the President’s budget and ensures that agency programs, policies,

and procedures comply with the President’s policies, including the policies set forth in the

Executive Orders.

         24.   26. Russell Vought is the Director of OMB and that agency’s highest ranking

official. He is charged with the supervision and management of all decisions and actions of that

agency. He is sued in his official capacity.

         25.   27. OFCCP is part of the U.S. Department of LaborDOL and is responsible for

ensuring that employers that do business with the federal government comply with laws and

regulations requiring nondiscrimination.

         26.   28. Michael SchlossCatherine Eschbach is the Acting Director of OFCCP and that

agency’s highest ranking official. HeShe is charged with the supervision and management of all

decisions and actions of that agency. HeShe is sued in hisher official capacity.

         27.   29. DOL is a federal agency charged with promoting the wellbeing of wage earners,

job seekers, and retirees in the United States. DOL contracts and/or subcontracts with—and/or

provides grants to—private entities, including without limitation Plaintiff NUL.

         28.   30. Vince MiconeLori Chavez-DeRemer is the Acting U.S. Secretary of Labor and

that agency’s highest ranking official. HeShe is charged with the supervision and management of

all decisions and actions of that agency. HeShe is sued in hisher official capacity.

         29.   31. HHS is a federal agency focused on the enhancing the health and wellbeing of

all Americans. HHS contracts and/or subcontracts with—and/or provides grants to—private

entities, including without limitation Plaintiff AFC.




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         30.   32. Robert F. Kennedy, Jr. is the Secretary of HHS and that agency’s highest ranking

official. He is charged with the supervision and management of all decisions and actions of that

agency. He is sued in his official capacity.

         31.   33. DOC is a federal agency which works to create the conditions for economic

growth and opportunity for all communities. DOC contracts and/or subcontracts with—and/or

provides grants to—private entities, including without limitation Plaintiff NUL.

         32.   34. Howard Lutnick is the Secretary of Commerce and that agency’sthe DOC’s

highest ranking official. He is charged with the supervision and management of all decisions and

actions of that agency. He is sued in his official capacity.

         33.   35. HUD is a federal agency charged with creating strong, sustainable, inclusive

communities and quality affordable homes for all. HUD contracts and/or subcontracts with—

and/or provides grants to—private entities, including without limitation Plaintiffs NUL, NFHA,

and AFC.

         34.   36. Scott Turner is the HUD Secretary of HUD and that agency’s highest ranking

official. He is charged with the supervision and management of all decisions and actions of that

agency. He is sued in his official capacity.

         35.   37. USDA is a federal agency charged with developing and executing federal laws

and policy related to food, agriculture, natural resources, rural development, nutrition, and related

issues. USDA contracts and/or subcontracts with—and/or provides grants to—private entities,

including without limitation Plaintiff NUL.

         36.   38. Brooke Rollins is the Secretary of Agriculture and that agency’sUSDA’s highest

ranking official. She is charged with the supervision and management of all decisions and actions

of that agency. She is sued in her official capacity.




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         37.     39. NIH is a federal agency responsible for biomedical and public health research.

NIH enters into contracts and/or subcontracts with—and/or provides grants to—private entities,

including without limitation Plaintiff AFC.

         38.     40. Matthew J. MemoliJayanta Bhattacharya is the Acting Director of NIH and that

agency’s highest ranking official. He is charged with the supervision and management of all

decisions and actions of that agency. He is sued in his official capacity.

         39.     41. HRSA is a federal agency focused on free and low-cost healthcare services and

services to people who are geographically isolated and economically or medically vulnerable

relating to, inter alia, maternal and child health and HIV and AIDS. HRSA contracts and/or

subcontracts with—and/or provides grants to—private entities, including without limitation

Plaintiff AFC.

         40.     42. Thomas Engels is the Administrator of HRSA and that agency’s highest ranking

official. He is charged with the supervision and management of all decisions and actions of that

agency. He is sued in his official capacity.

         41.     43. CDC is a federal agency charged with protecting the public from health and

safety threats through the control and prevention of disease, injury, and disability in the United

States and abroad. CDC enters into contracts and/or subcontracts with—and/or provides grants

to—private entities, including without limitation Plaintiffs NUL and AFC.

         42.     44. Susan Monarez is the Acting Director of CDC and that agency’s highest ranking

official. She is charged with the supervision and management of all decisions and actions of that

agency. She is sued in her official capacity.

         43.     45. ACL is a federal agency that helps older adults and people with disabilities live

independently and participate in their communities and is charged with improving access to health




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care and long-term services. ACL contracts and/or subcontracts with—and/or provides grants to—

private entities, including without limitation Plaintiff AFC.

            44.   46. Rick NichollsMary Lazare is the Principal Deputy Administrator and Chief of

Staff of ACL and that agency’s highest ranking official. HeShe is charged with the supervision

and management of all decisions and actions of that agency. HeShe is sued in hisher official

capacity.

            45.   47. EPA is a federal agency charged with protecting human health and the

environment. EPA contracts and/or subcontracts with—and/or provides grants to—private entities,

including without limitation Plaintiff NUL. Plaintiff NUL was selected for a grant from the EPA,

and is in the process of finalizing the award with a fully executed agreement.

            46.   48. Lee Zeldin is the Administrator of EPA and that agency’s highest ranking

official. He is charged with the supervision and management of all decisions and actions of that

agency. He is sued in his official capacity.

            47.   49. DOJ is a federal agency charged with upholding the rule of law, keeping ourthe

country safe, and protecting civil rights. DOJ contracts and/or subcontracts with—and/or provides

grants to—private entities, including without limitation Plaintiff NUL.

            48.   50. Pamela Jo Bondi is the U.S. Attorney General and DOJ’s highest ranking

official. She is charged with the supervision and management of all decisions and actions of that

agency. She is sued in her official capacity.




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                                  FACTUAL ALLEGATIONS

I. PRESIDENT TRUMP ISSUED THREE EXECUTIVE ORDERS PROMOTING
      DISCRIMINATORY VIEWPOINTS THAT DISFAVOR FEDERAL
      CONTRACTORS AND GRANTEES WITH CONTRARY VIEWPOINTS.

                              FACTS COMMON TO ALL CLAIMS

       A.      Plaintiffs Are Committed to Embracing DEIA and Advancing the
               Rights of Transgender People.

         49.   Plaintiffs NUL and AFC advance equal opportunity and elevate the standard of

living for historically marginalized communities, with a particular focus on access to jobs, housing,

life-sustaining healthcare, and education, among other essential needs. Collectively, Plaintiffs’

day-to-day work and organizational missions advance our civil rights laws, promote the equal

rights of people of color, women, LGBTQ people, and people with disabilities, and combat the

HIV/AIDS epidemic.

         50.   To advance justice for the communities they serve, Plaintiffs proudly embrace the

principles of diversity, equity, inclusion, and accessibility through their services, training, and

speech. As part of Plaintiffs’ advocacy, they center diversity, equity, inclusion, and accessibility

principles, condemning any discriminatory act that violates the civil rights of any person,

regardless of who they are.

         51.   Principles of DEIA are woven into every aspect of Plaintiffs’ programming, both in

their federally funded and non-federally funded work. Plaintiffs advocate not only for the

advancement of people of color, but also for the full equality of people with multiple marginalized

identities, including LGBTQ people and people with disabilities. For years, Plaintiffs have firmly

supported the LGBTQ community and condemned violence, hate, and discrimination against

transgender people in both its external and internal speech and services. Plaintiffs firmly support




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and embrace the dignity and humanity of transgender people in their speech, advocacy, services,

and training.

        B.      All Plaintiffs Rely on Federal Contracts and Grants to Achieve Their
                Organizational Missions.

         52.    All Plaintiffs are long-time recipients of federal grants and contracts and rely on

these funds to operate.

         53.    For example, NUL and its affiliates have relied on federal funding to administer

community-centered direct services programs since 1973. Currently, NUL receives federal funds

from DOJ, HUD, DOL, USDA, CDC, and DOC. These contracts and grants make up

approximately 35% percent of NUL’s annual budget. They support direct services and technical

assistance programs involving youth development and success, vocational training, workforce

readiness and skills training, pipelines to apprenticeships, employment programs for seniors, job

programs for incarcerated people returning home, efforts to increase access to vaccines, and home

ownership counseling, among other things. In 2025 alone, NUL will subgrant tens of millions of

dollars in federal grants to its affiliates. NUL also intends to apply for federal funding in the future,

which is necessary for the continued viability of its programs.

         54.    Similarly, AFC regularly receives federal funding through contracts and grants,

including from the HHS, HUD, NIH, HRSA, CDC, and ACL. In Fiscal Year 2025, AFC received

approximately $34.8 million in federal funding, which accounted for 84.3% of its annual operating

budget. Over $21 million of that funding supports programs requiring case management training

through HHS and HUD. These federal funds are statutorily authorized by, among other things, the

Ryan White Comprehensive AIDS Resources Emergency Act of 1990 and HUD’s Housing

Opportunities for Persons with AIDS (HOPWA) program and Continuum of Care program. Many

of these programs include requirements and priorities that, based on Defendants’ implementation



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to date, appear to fall within the Executive Orders’ sweeping prohibitions on “illegal DEI” or

“gender ideology.” AFC also intends to apply for future federal funding necessary to sustain its

HIV prevention, housing, and care coordination programs, without which the organization would

be forced to shut down, disrupting care for thousands of vulnerable individuals.

        C.        President Trump Issued Three Executive Orders Penalizing Federal
                  Contractors and Grantees with Contrary Viewpoints.

            55.   As race and gender justice issues have become increasingly salient in our public

and political discourse, President Trump and his Administration have strategically leveraged

divisive and racially coded language to advance his political prospects and agenda.

            56.   First, President Trump and his Administration have co-opted the labels of “DEI”

and “DEIA”—which typically refer to activities, prevalent throughout our society, aimed at

promoting diversity and the fair treatment of everyone within organizations—as pejorative terms

applied broadly to any promotion of diversity with which they disagree or to attempts to advance

racial or gender equality. Characterizing all such action as illegal discrimination, President Trump

and his allies have pledged to fight against “DEI” and “DEIA” by working to dismantle or reverse

progress in the areas of civil rights and racial justice.

            57.   Second, President Trump and his Administration have publicly and vocally opposed

any recognition of the existence of transgender people, and they have steadfastly resisted any

efforts to recognize transgender people’s rights or afford them any government protections or

benefits.

            58.   Within days of taking office, President Trump issued the Executive Orders to

control and punish the speech of those who disagree with him on these race and gender justice

issues. Specifically, the Executive Orders illegally attempt to limit access to federal funds to

control and punish the speech of and discriminate against those who, like Plaintiffs, espouse



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viewpoints contrary to those of the Administration with respect to, first, addressing (and

acknowledging the existence of) continued disparities in advancement and opportunity based on

race and gender and, second, affirming the existence of transgender individuals and safeguarding

their civil rights.

                  1.     A. The Anti-Diversity1 Order Terminates “Equity-Related”
                         Contracts orand Grants.

          59.     51. On Inauguration Day, January 20, 2025, President Trump issued the Anti-

Diversity1 Order, titled “Ending Radical and Wasteful Government DEI Programs and

Preferencing.” The Anti-Diversity1 Order expresses a viewpoint that “diversity, equity, inclusion,

and accessibility,” “DEIA,” orand related programs are “illegal and immoral discrimination

programs.”108

          60.     52. To impose the Administration’s viewpoint, Section 2(b) of the Anti-Diversity1

Order (“the Equity Termination Provision”) directs “[e]ach agency, department, or commission

head” to “terminate, to the maximum extent allowed by law, all DEI, DEIA, and ‘environmental

justice’ offices and positions (including but not limited to ‘Chief Diversity Officer’ positions); all

‘equity action plans,’ ‘equity’ actions, initiatives, or programs, ‘equity-related’ grants or contracts;

and all DEI or DEIA performance requirements for employees, contractors, or grantees.” In

Section 2(b)(ii)(C) (“the List Provision”), the Anti-Diversity1 Order directs agencies to give the

OMB Director a list of all “Federal grantees who received Federal funding to provide or advance

DEI, DEIA, or ‘environmental justice’ programs, services, or activities since January 20, 2021.”

          61.     53. The Anti-Diversity1 Order does not define “DEI,” “DEIA,” “diversity,”

“equity,” “inclusion,” or “accessibility.”




        108
              Anti-Diversity1 Order §§ 1–2.


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         62.     54. Because the Ant-Diversity1Anti-Diversity1 Order does not define these terms,

federal contractors and grantees, including Plaintiffs, who have “equity related”federal grants or

contracts, risk having contracts or grants that Defendants may consider to be “equity related”

terminated that support programs meant to equalize the playing field for underserved communities,

are fearful of having these funding streams cut pursuant to the Equity Termination Provision. The

sweep of Defendants’ prohibition and punitive action against “equity-related” grants appears to be

unduly broad, as they equate any “diversity, equity, inclusion, and accessibility” or “DEIA” efforts

with “equity” or “equity-related” grants or contracts to be terminated pursuant to the Order.

                 2.     B. The Anti-Diversity2 Order Restricts “Diversity, Equity, Inclusion,
                        and Accessibility” by Federal Contractors and Grantees.

         63.     55. On January 21, 2025, President Trump issued the Anti-Diversity2 Order, titled

“Ending Illegal Discrimination and Restoring Merit-Based Opportunity.” The Anti-Diversity2

Order states that “diversity, equity, and inclusion,” “DEI,” “diversity, equity, inclusion, and

accessibility,” orand “DEIA” policies are “illegal,” “dangerous,” and “immoral” and can violate

federal civil rights laws.119 As expressed in its title, the Anti-Diversity2 Order also characterizes

DEIA efforts as contrary to merit-based opportunity.

         64.     56. TheSection 1 of the Anti-Diversity2 Order, as expressed in Section 1, states

that “diversity, equity, and inclusion,” “DEI,” “diversity, equity, inclusion, and accessibility,” and

“DEIA” are “dangerous, demeaning, and immoral race- and sex-based preferences”; “illegal” in

violation of “the text and spirit of . . . Federal civil-rights laws”; “undermine our national unity”;

“deny, discredit, and undermine the traditional American values of hard work, excellence, and

individual achievement in favor of an unlawful, corrosive, and pernicious identity-based spoils

system”; “threaten the safety of American men, women, and children across the Nation by


       119
             Anti-Diversity2 Order § 1.


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diminishing the importance of individual merit, aptitude, hard work, and determination when

selecting people for jobs and services in key sectors of American society”; are “illegal, pernicious

discrimination that has prioritized how people were born instead of what they were capable of

doing”; and are “illegal preferences and discrimination.”

         65.    57. Section 2 of the Anti-Diversity2 Order directs “all executive departments and

agencies . . . to terminate all discriminatory and illegal preferences, mandates, policies, programs,

activities, guidance, regulations, enforcement actions, consent orders, and requirements” to

“protect the civil rights of all Americans and to promote individual initiative, excellence, and hard

work” and “to enforce our longstanding civil-rights laws and to combat illegal private-sector DEI

preferences, mandates, policies, programs, and activities.”

         66.    58. Section 3(b) of the Anti-Diversity2 Order instructs the OFCCP to “immediately

cease . . . ” “[p]romoting ‘diversity’”; “[h]olding Federal contractors and subcontractors

responsible for taking ‘affirmative action’”; and “[a]llowing or encouraging Federal contractors

and subcontractors to engage in workforce balancing based on race, color, sex, sexual preference,

religion, or national origin.”

         67.    59. The Anti-Diversity2 Order then imposes new requirements on government

contractors.   Section 3(b) further(iv)(B) of the Anti-Diversity2 Order (the “Certification

Provision”) requires each agency head to “include in every contract or grant award: (A) a term

requiring the contractual counterparty or grant recipient to agree that its compliance in all respects

with all applicable Federal anti-discrimination laws is material to the government’s payment

decisions for purposes of section 3729(b)(4) of title 31, United States Code,” and, concerningly,

“(B) a term requiring such counterparty or recipient to certify that it does not operate any programs

promoting DEI that violate any applicable Federal anti-discrimination laws.”




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         68.   By directing agencies to require every federal contractor or grantee to certify, as a

condition for receiving funding, that they do not “operate any programs promoting DEI,” the

Certification Provision purports to authorize cancellation of Plaintiffs’ funding for their expression

of views with which the Administration disagrees about race, sex, gender, and various concepts

that it characterizes as DEIA or DEIA-related, even if that speech occurs apart from a government

contract or grant program. It does this by directs.

         69.   60. Section 3(c) of the Anti-Diversity2 Order requires the Director of the OMB to

“(i) Review and revise, as appropriate, all Government wide processes, directives, and guidance;

(ii) Excisecontains several problematic provisions. First, section 3(c)(ii) (“the Contract Terms

Provision”) orders the Director of OMB to “[e]xcise references to DEI and DEIA principles, under

whatever name they may appear, from Federal acquisition, contracting, grants, and financial

assistance procedures to streamline those procedures, improve speed and efficiency, lower costs,

and comply with civil-rights laws; and . Section 3(c)(iii) Terminate(“the Government Mandates

Provision”) instructs the director to “[t]erminate all ‘diversity,’ ‘equity,’ ‘equitable decision-

making,’ ‘equitable deployment of financial and technical assistance,’ ‘advancing equity,’ and like

mandates, requirements, programs, or activities, as appropriate.”

         70.   61. Section 4(a) of the Anti-Diversity2 Order directs the heads of all agencies to

“take all appropriate action with respect to the operations of their agencies to advance in the private

sector the policy of individual initiative, excellence, and hard work,” which the Executive Order

asserts is inconsistent with DEIA.

         71.   62. Section 4(b) of the Anti-Diversity2 Order (“the Report Provision”) directs the

Attorney General to submit a report “containing recommendations for enforcing Federal civil-

rights laws and taking other appropriate measures to encourage the private sector to end illegal




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discrimination and preferences, including DEI.” In addition, the Anti-Diversity2 OrderIt states

that the Attorney General’s report must “contain a proposed strategic enforcement plan identifying:

(i) Key sectors of concern within each agency’s jurisdiction; (ii) The most egregious and

discriminatory DEI practitioners in each sector of concern; (iii) A plan of specific steps or measures

to deter DEI programs or principles (whether specifically denominated ‘DEI’ or otherwise) that

constitute illegal discrimination or preferences,” and it says that “[a]s a part of this plan, each

agency shall identify up to nine potential civil compliance investigations of publicly traded

corporations, large non-profit corporations or associations, foundations with assets of 500 million

dollars or more, State and local bar and medical associations, and institutions of higher education

with endowments over 1 billion dollars”; “(iv) Other strategies to encourage the private sector to

end illegal DEI discrimination and preferences and comply with all Federal civil-rights laws;

(v) Litigation that would be potentially appropriate for Federal lawsuits, intervention, or

statements of interest; and (vi) Potential regulatory action and sub-regulatory guidance.”

       63. Taken together, the Anti Diversity1 and Anti Diversity2 Orders express the viewpoint

that policies, programs, and activities that Defendants determine to be related to DEIA do not

comply with federal civil rights laws, do not advance federal civil rights laws, and must cease.

Defendants thus disfavor federal grant recipients and contractors, including Plaintiffs, whose

speech, trainings, research, and/or mission driven services express or reflect viewpoints that

support DEIA efforts, and who seek to assist people of color, women, LGBTQ people, and people

with disabilities, including people living with HIV, in overcoming systemic barriers to equality

resulting from past and current discrimination.

               3.      C. The Anti-Gender Order Forbids Contractors and Grantees from
                       Acknowledging the Existence of Transgender People and Their Legal
                       Right to Equality and Respect.




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         72.   64. On January 20, 2025, President Trump issued the Anti-Gender Order, titled

“Defending Women From Gender Ideology Extremism and Restoring Biological Truth to the

Federal Government.” The Anti-Gender Order expresses a disparaging, demeaning, idiosyncratic,

and unscientific viewpoint about transgender people and gender identity, denying. It denies that

transgender people exist, deemingdeems them “false,” orderingorders their exclusion from

government recognition and protection in numerous aspects of their lives, and demandingdemands

that others do the same.

       73.     65. Section 2 of the Anti-Gender Order states that a person’s “sex” is an “immutable

biological classification as either male or female.”

         66. It The definitions contained within the Anti Gender Order deny the existence of

gender identities that differ from a person’s sex assigned at birth and repudiate the existence of

people who are transgender altogether.        Specifically, Section 2 of the Anti Gender Order

establishes that it is the “policy of the United States to recognize two sexes, male and female,”

which “are not changeable and are grounded in fundamental and incontrovertible reality.” Section

2 further states that “the Executive Branch will enforce all sex-protective laws to promote this

reality,” and the followingsubsequently sets forth definitions shallto govern all Executive

interpretation of and application of Federal law and administration policy.”

               a.      67. Female: Section 2 of the Anti-Gender Order defines “Female” to mean

       “a person belonging, at conception, to the sex that produces the large reproductive cell,.”

       and

               b.      Male: It defines “Male” to mean “a person belonging, at conception, to the

       sex that produces the small reproductive cell.”




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               c.      68. Gender Ideology: Section 2 of the Anti-Gender Order defines what it

       terms “gender ideology” as “replac[ing] the biological category of sex with an ever-shifting

       concept of self-assessed gender identity, permitting the false claim that males can identify

       as and thus become women and vice versa, and requiring all institutions of society to regard

       this false claim as true.” It further states that “[g]ender ideology includes the idea that there

       is a vast spectrum of genders that are disconnected from one’s sex. Gender ideology is

       internally inconsistent, in that it diminishes sex as an identifiable or useful category but

       nevertheless maintains that it is possible for a person to be born in the wrong sexed body.”

               d.      69. Gender Identity: In addition, Section 2 of the Anti-Gender Order defines

       what it terms “gender identity” as “reflect[ing] a fully internal and subjective sense of self,

       disconnected from biological reality and sex and existing on an infinite continuum, that

       does not provide a meaningful basis for identification and cannot be recognized as a

       replacement for sex.”

       70. Section 3(b) of the Anti Gender Order directs each agency to “give the terms ‘sex’,

‘male’, ‘female’, ‘men’, ‘women’, ‘boys’ and ‘girls’” the meanings defined in the Executive Order

“when interpreting or applying statutes, regulations, or guidance and in all other official agency

business, documents, and communications.”

       71. Section 3(d) of the Anti Gender Order directs the Secretaries of State and Homeland

Security to implement changes to require that government issued identification documents,

including passports, visas, and Global Entry cards, reflect solely the holder’s sex assigned at birth,

pursuant to the definitions in Section 2 of the Order thus preventing transgender people from

carrying federal identity documentation that accords with their gender identities.




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         74.   72. Section 3(e) of the Anti-Gender Order (“the Gender Funding Termination

Provision”) further directs agencies to “remove all statements, policies, regulations, forms,

communications, or other internal and external messages that promote or otherwise inculcate

gender ideology,” and shall instructs them to “cease issuing such statements, policies, regulations,

forms, communications or other messages.” It also demands that agencies “take all necessary

steps, as permitted by law, to end the Federal funding of gender ideology.”

       73. Section 3(f) of the Anti Gender Order disagrees with the legal position that “the

Supreme Court’s decision in Bostock v. Clayton County (2020), which addressed Title VII of the

Civil Rights Act of 1964, requires gender identity based access to single sex spaces under, for

example, Title IX of the Educational Amendments Act.” This section further directs the Attorney

General to “immediately issue guidance to agencies to correct the misapplication of the Supreme

Court’s decision in Bostock v. Clayton County (2020) to sex based distinctions in agency

activities” and “issue guidance and assist agencies in protecting sex based distinctions, which are

explicitly permitted under Constitutional and statutory precedent.”

         75.   74. Section 3(g) of the Anti-Gender Order (“the Promoting Gender Ideology

Provision”) prohibits the use of federal funds “to promote gender ideology” and directs each

agency to “assess grant conditions and grantee preferences and ensure grant funds do not promote

gender ideology.”

         76.   75. Section 7 of the Anti-Gender Order requires each agency to submit an update

on implementation of the Executive Order within 120 days, including “agency-imposed

requirements on federally funded entities, including contractors, to achieve the policy of” the

Executive Order. Section 7(a)(ii) of the Anti-Gender Order (“the Agency Requirements

Provision”) then directs agency heads to report to the President on requirements the agency has




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imposed on contractors “to achieve the policy of this order,” thus suggesting other, unspecified

agency tracking of—and action concerning—contractors and grantees like Plaintiffs.

          76. Defendants, therefore, disfavor federal contractors and grantees, including Plaintiffs,

whose speech, trainings, research, and/or mission driven services express or reflect viewpoints

that acknowledge the existence of transgender people and/or advocate for their equality.

          77. Moreover, when taken together with the Anti-Diversity1 and Anti-Diversity2 Orders,

Plaintiffs risk the loss of federal funding for the contracts and/or grants to the extent any of

Plaintiffs’ programs, policies, or activities recognize and/or advance the rights of transgender

people.

II. ENFORCEMENT OF THE EXECUTIVE ORDERS

          D.     The President Departed from Standard Procedure in the Issuance and
                 Implementation of the Executive Orders.

           77.   Presidents historically follow specific procedural steps for issuing executive orders,

which ensure that they are properly reviewed, vetted, and implemented. Some of these steps can

be found in the provisions of 1 C.F.R. § 19.2—“Routing and approval of drafts”—which lays out

procedures for review of an executive order by OMB, the Attorney General, and the Office of the

Federal Register to ensure legality before submission of the executive order to the President for

signature.

           78.   These procedures are typically referenced in the executive order itself, along with

provisions for amendment to reconcile the executive order with past orders, as well as instructions

to the relevant cabinet Secretary to draft rules and regulations for implementation. 10




          10
          See, e.g., Exec. Order No. 13672, 79 Fed. Reg. 42,971 (July 21, 2014) (instructing the
Secretary of Labor to “prepare regulations to implement the requirements” of the order).


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         79.   Additionally, executive orders that affect government contracting are typically

submitted to the Federal Acquisition Regulatory Council for development of proposed

implementing regulations to be published in the Federal Register and, upon adoption, incorporated

into federal government contracts.

         80.   The challenged Executive Orders reflect a radical departure from past executive

orders and from these standard procedures. For example, unlike prior workplace discrimination-

related executive orders, the Anti-Diversity2 Order does not instruct the Secretary of Labor to

undertake further rulemaking to implement the requirements of the Order. Instead, the Anti-

Diversity2 Order merely instructs the DOL to cease “promoting diversity,” “holding contractors

and subcontractors responsible for ‘taking affirmative action,’” and allowing contractors to

“engage in workforce balancing.”

         81.   In another departure from ordinary substance and procedure, the Anti-Diversity2

Order lacks any mechanism for modifying the Federal Acquisition Regulation (“FAR”), which is

incorporated as binding terms in all federal procurement contracts. 11 The FAR is codified in title

48 of the Code of Federal Regulations. Ordinarily, to amend the FAR (and the binding terms for

government contracts specified therein)—by, for instance, including the language required by an

executive order—agencies must go through general rulemaking procedures, which include

publication of the proposed “procurement policy, regulation, procedure, or form and provide for a

public comment period for receiving and considering the views of all interested parties on the

proposal.” 12 The procurement policy or regulation “may not take effect until 60 days after it is




       11
          48 C.F.R. § 1.301(a)(1).
       12
          41 U.S.C. § 1707(b); see also 48 C.F.R. § 1.301(b); 48 C.F.R. Subpart 1.5. The length
of the comment period may not be less than 30 days. Id.


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published for public comment in the Federal Register” unless “there are compelling circumstances

for the earlier effective date.” 13

          82.   Contrary to these procedures, there was no notice of the Anti-Diversity2 Order’s

changes to government contracting requirements published in the Federal Register. Thus, federal

contractors were not afforded an opportunity to comment on the Anti-Diversity2 Order’s terms

before they were incorporated into federal contracts.

          83.   Although waiver of the notice would be permitted if “urgent and compelling

circumstances make compliance with [those] requirements impracticable,” 14 on information and

belief, there has been no specific articulation as to the “urgent and compelling circumstances” that

would render the notice and comment requirements impracticable here.

          84.   Individual federal agencies also can issue FAR “deviations”—i.e., variations from

standard FAR provisions and clauses—in accordance with specified procedures “when necessary

to meet the specific needs and requirements of each agency.” 15 On February 15, 2025, the Civilian

Agency Acquisition Council (“CAAC”) issued a Memorandum for Civilian Agencies (CAAC

Letter 2025-01) authorizing individual civilian agencies to “issue a class deviation to ensure

compliance with [the Anti-Diversity2 Order and the Anti-Gender Order].” 16 Among other things,

the class deviation authorizes the removal of a series of standard FAR clauses prescribed under

FAR subpart 22.8, entitled “Equal Employment Opportunity.” On February 15, 2025, the U.S.




        13
           Id. § 1707(a).
        14
           Id. § 1707(d).
        15
           48 C.F.R. § 1.402.
        16
           GSA, Memorandum for Civilian Agencies, CAAC Consultation to Issue a Class
Deviation From the Federal Acquisition Regulation (FAR) Regarding Executive orders 14173
and 14168 (Feb. 15, 2025),
https://www.acquisition.gov/sites/default/files/caac/CAAC Letter 2025-01.pdf.


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General Services Administration (“GSA”) issued a FAR class deviation in reliance on the CAAC

Memorandum for Civilian Agencies. 17

         85.   As discussed further below, memoranda issued by OPM and OMB purporting to

implement the Executive Orders also did not go through standard procedures. Under regulatory

planning rules, agencies are required to submit all significant regulatory actions to the Office of

Information and Regulatory Affairs (“OIRA”) for review before issuing them to the public. As of

the date of this complaint, OIRA has not listed OPM’s memorandum on their list of completed18

or pending reviews. 19

       E.      The Trump Administration Has Implemented the Executive Orders
               by Targeting All DEIA.

         86.   78. In the days following the release of the Executive Orders, the Trump

Administration took multiple actions that penalized and attacked speech and viewpoints that, in

the Administration’s view, are related to DEIA. These actions further confirm that the purpose of

the Executive Orders iswas to establish the Administration’s viewpoint on DEIA; to intimidate and

instill fear in federal contractors who promote what the Administration considers to be DEIA in

their operations; to coerce public and private compliance with the Administration’s viewpoints

with threats of civil and criminal liability; to suppress and chill speech and viewpoints with which

the Trump Administration disagrees and to inflict harms against people of color, women, LGBTQ

people, and people with disabilities by denying them the support of the federal government even




       17
           GSA, Press Release, GSA Announces FAR Class Deviations, Guidance for Contracting
Officers (Feb. 18, 2025), https://www.gsa.gov/about-us/newsroom/news-releases/gsa-announces-
far-class-deviations-guidance-for-contracting-officers-02182025.
        18
           See OIRA, Executive Order Reviews Completed Between January 01, 2025 to May 31,
2025, https://www.reginfo.gov/public/do/eoHistReviewSearch (last visited June 23, 2025).
        19
           See OIRA, Executive Order Submissions Under Review,
https://www.reginfo.gov/public/do/eoReviewSearch (last visited June 23, 2025).


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though they confront ongoing inequalities and barriers to equal opportunity., while silencing

private entities that express disfavored viewpoints.

         87.   79. On January 21, 2025, the acting directorActing Director of OPM released a

memorandum titled “Initial Guidance Regarding DEIA Executive Orders” (the “January 21 OPM

Memo”) that purported to implement the Anti-Diversity1 Order.1220 The January 21 OPM Memo

directed agencies to take “prompt actions” against “DEIA initiatives and programs,” including

requiring agencies—within 24 hours—to “terminate any DEIA-related contractors,” among other

actions.1321 The January 21 OPM Memo further demanded a report within 48 hours of “all DEIA-

related agency contracts.”1422

         88.   80. The January 21 OPM Memo also sought to root out what OPM characterized

as efforts to evade the Trump Administration’s policy. The memorandum included an email

template for agency heads to send to their employees, notifying them that the Trump

Administration iswas “aware of efforts by some in government to disguise these [DEIA] programs

by using coded or imprecise language.”1523 The email directed employees who knowknew about

such efforts to report them to an email address “DEIAtruth@opm.gov” and threatensthreatened

unspecified “adverse consequences” for not doing so. 16The January 21 OPM Memo also

demanded a “list” of “contract descriptions or personnel position descriptions” that had been

recently “changed” to “obscure their connection to DEIA programs.”1724




       1220
             OPM, Initial Guidance Regarding DEIA Executive Orders (Jan. 21, 2025),
https://www.opm.gov/media/e1zj1p0m/opm-memo-re-initial-guidance-regarding-deia-executive-
orders-1-21-2025-final.pdf.
        1321
             Id. at 1–2.
        1422
             Id. at 12.
        1523
             Id. at 3.
        16
           Id.
        1724
             Id. at 2.


                                                33
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         89.   81. On January 22, 2025, the White House released “Fact Sheet: President Donald

J. Trump Protects Civil Rights and Merit-Based Opportunity by Ending Illegal DEI.” 1825 This

“Fact Sheet” explainsexplained that the Anti-Diversity2 Order terminatesterminated “radical DEI

preferencing in federal contracting” and directsdirected “federal agencies to relentlessly combat

private sector discrimination.” It claimsclaimed that “DEI has dangerously tainted many of our

critical businesses and influential institutions,” that “DEI’s foundational rhetoric and ideas foster

intergroup hostility and authoritarianism,” and that “[b]illions of dollars are spent annually on DEI,

but rather than reducing bias and promoting inclusion, DEI creates and then amplifies prejudicial

hostility and exacerbates interpersonal conflict.”

         90.   82. On January 23, 2025, at the World Economic Forum, President Trump

announced that his Administration had “has taken action to abolish all discriminatory diversity,

equity, and inclusion nonsense—and these are policies that were absolute nonsense—throughout

the government and the private sector.”1926

         91.   83. On January 27, 2025, the Acting Director of OMB issued a memorandum titled

“Temporary Pause of Agency Grant, Loan, and Other Financial assistance Programs” (“OMB

Memo M-25-13”).2027 OMB Memo M-25-13 purported to implement a series of executive orders

signed by President Trump, including the Anti-Diversity1 Order and the Anti-Gender Order, and



       1825
              The White House, Fact Sheet: President Donald J. Trump Protects Civil Rights and
Merit-Based Opportunity by Ending Illegal DEI (Jan. 22, 2025),
https://www.whitehouse.gov/fact-sheets/2025/01/fact-sheet-president-donald-j-trump-protects-
civil-rights-and-merit-based-opportunity-by-ending-illegal-dei/.
         19
            Remarks by26 President Trump at theGives Virtual Remarks to World Economic
Forum (Jan. 23, 2025), https://www.whitehouse.gov/remarks/2025/01/remarks by president
trump-at-the-world-economic-forum/https://www.whitehouse.gov/videos/president-trump-gives-
virtual-remarks-to-world-economic-forum.
         2027
              OMB, Memorandum For Heads of Executive Departments and Agencies, M-25-13,
Temporary Pause of Agency Grant, Loan, and Other Financial Assistance Programs (Jan. 27,
2025), https://dcg.usc.edu/wp-content/uploads/2025/01/OMB-Memo-Pause.pdf.


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directed agencies to freeze “all activities related to obligation or disbursement of all Federal

financial assistance, and other relevant agency activities that may be implicated by the executive

orders, including but not limited to . . . DEI, [and] woke gender ideology.”2128 OMB Memo M-

25-13 contained a footnote explaining that “Medicare or Social Security benefits” were the only

federal assistance programs that it did not cover.2229

       84. The Trump Administration posted a “Q&A” that purported to clarify the scope of OMB

Memo M 25 13. 23The Q&A explained “any program that provides direct benefits to Americans is

explicitly excluded from the pause” directed in OMB Memo M 25 13, but the Q&A reiterated that

the funding pause did apply to “programs, projects, and activities implicated by the President’s

Executive Orders, such as ending DEI.”

       85. The extensive scope of OMB Memo M-25-13 spurred widespread chaos and confusion.

The next day, multiple groups sued to enjoin its enforcement for violating the APA. In National

Council of Nonprofits v. OMB, No. 1:25 CV 00239 (D.D.C.) and New York v. Trump, No. 1:25

cv 00039 (D.R.I.), district courts took immediate action to stay enforcement of OMB Memo M

25 13. On January 28, 2025, in National Council of Nonprofits, the U.S. District Court for the

District of Columbia issued a temporary stay pending its consideration of plaintiffs’ motion for a

temporary restraining order, during which it ordered the government defendants to “refrain from

implementing OMB Memorandum M 25 13 with respect to the disbursement of Federal funds

under all open awards.” 24On January 31, 2025, in New York, the U.S. District Court for the District



       2128
            Id. at 2.
       2229
            Id. at 1 n.2.
        23
           OMB, Fact Sheet: OMB Q&A Regarding Memorandum M 25 13 (Jan. 28, 2025),
https://web.archive.org/web/20250129143354/https:/www.whitehouse.gov/fact
sheets/2025/01/omb q a regarding memorandum m 25 13/.
        24
           National Council of Nonprofits v. OMB, No. 1:25 CV 00239, 2025 WL 314433, at *2
(D.D.C. Jan. 28, 2025).


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of Rhode Island granted the plaintiff states’ motion for a temporary restraining order, holding that

the states were likely to succeed on the merits of their claims that the OMB Memo M 25 13

violated the APA and a host of constitutional provisions, and enjoining the government defendants

from freezing federal funding to the states, as threatened in OMB Memo M 25 13. 25In holding

that the plaintiff states were likely to prevail on their claims, the court highlighted that the

executive branch’s attempt to unilaterally suspend funds was arbitrary and capricious,

unauthorized by law, and “threaten[ed] the States’ ability to conduct essential services.” 26Then,

on February 3, 2025, the U.S. District Court for the District of Columbia granted a temporary

restraining order in National Council of Nonprofits, enjoined the defendants from freezing funding,

and directed the defendants to release any funds they had paused. 27

         92.   86. On January 29, 2025, OMB rescinded OMB Memo M-25-13.2830 However, in

a public statement, the White House Press Secretary said that OMB only rescinded OMB Memo

M-25-13 to “end any confusion caused by the[a] court’s injunction,” that the recission of the

Memorandum was “NOT a rescission of the federal funding freeze,” and that the “President’s EO’s

[sic] on federal funding remain in full force and effect, and will be rigorously implemented.”2931

       87. As the U.S. District Court for the District of Rhode Island recognized, the “alleged

rescission of the OMB Directive was in name only” and “[t]he substantive effect of the directive




       25
           New York v. Trump, No. 1:25 CV 00039, 2025 WL 357368 (D.R.I. Jan. 31, 2025).
       26
           Id. at *2.
        27
           National Council of Nonprofits v. OMB, No. 1:25 CV 00239, 2025 WL 368852
(D.D.C. Feb. 3, 2025).
        2830
             OMB, Memorandum for Heads of Executive Departments and Agencies, M-25-14,
Recission of M-25-13 (Jan. 29, 2025), https://www.cogr.edu/sites/default/files/OMB%20M-25-
14.pdf.
        2931
             Karoline Leavitt (@PressSec), X (Jan. 29, 2025, 1:40 p.m.),
https://x.com/PressSec/status/1884672871944901034.


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carries on.” 30The court also noted that the rescission “may have been issued simply to defeat the

jurisdiction of the courts.” 31Accordingly, the court rejected the government defendants’ argument

that the rescission rendered plaintiffs’ claims moot, explaining that “[b]ased on the Press

Secretary’s unequivocal statement and the continued actions of Executive agencies, the Court finds

that the policies in the OMB Directive that the States challenge here are still in full force and effect

and thus the issues presented in the States’ TRO motion are not moot.” 32Similarly, the U.S. District

Court for the District of Columbia said that “[t]he rescission, if it can be called that, appears to be

nothing more than a thinly veiled attempt to prevent this court from granting relief.” 33

         93.    88. On January 29, 2025, the acting directorActing Director of OPM issued a

memoanother memorandum titled “Initial Guidance Regarding President Trump’s Executive

Order Defending Women” (the “January 29 OPM Memo”) that purportspurported to implement the

Anti-Gender Order.3432 The January 29 OPM Memo iswas similar to the January 21 OPM Memo

implementing the Anti-Diversity1 Order, insofar as it gave agencies forty-eight hours to

“terminate” all programs, contracts, and grants and “[c]ancel any trainings that inculcate or

promote gender ideology or have done so in the past,” among other things.3533

         94.    89. To implement the President’s Executive Orders in compliance with these

memoranda, Defendant agencies have begun issuingissued stop-work orders or contract

termination notices, forcing organizations to “cease and desist” performance of contracts,



        30
           New York, 2025 WL 357368, at *4.
        31
           Id.
        32
           Id. at *5.
        33
           National Council of Nonprofits, 2025 WL 368852, at *7.
        3432
             OPM, Memorandum for Heads and Acting Heads of Departments and Agencies,
Initial Guidance Regarding President Trump’s Executive Order Defending Women (Jan. 29,
2025), https://chcoc.gov/content/initial-guidance-regarding-president-trump%E2%80%99s-
executive-order-defending-women.
        3533
             Id. at 1–2.


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programs, and activities that, in the Administration’s view, relate to DEIA. Plaintiffs are among

those who have received such stop-work orders or termination notices.

         95.   90. OnFor example, on January 22, 2025, Defendant DOL sent all Employment and

Training Administration (“ETA”) recipients, including Plaintiff NUL, a memorandum titled

“Immediate Implementation of Executive Orders ‘Ending Radical and Wasteful Government DEI

Programs and Preferencing’ and ‘Ending Illegal Discrimination and Restoring Merit-Based

Opportunity.’” 36Specifically, the 34   The memorandum stated:, “Effective immediately, all

recipients of federal financial assistance awards are directed to cease all activities related to

‘diversity, equity, and inclusion’ (DEI) or ‘diversity, equity, inclusion, and accessibility’ (DEIA)

under their federal awards, consistent with the requirements of the EOs titled ‘Ending Radical and

Wasteful Government DEI Programs and Preferencing,’ issued on January 20, 2025, and ‘Ending

Illegal Discrimination and Restoring Merit-Based Opportunity,’ issued on January 21, 2025.”3735

The memorandum continued: “All awardees must immediately cease all award activities related

to DEI or DEIA. All other award activities should continue.”3836

       91. On January 23, 2025, Defendant HUD sent Plaintiff NFHA an email with the subject

“Immediate Action - STOP WORK ORDER,” directing it to “cease and desist all work activities

associated with environmental justice, diversity, equity, and inclusion (DEI).”




       36
           DOL, Training and Employment Notice 21-24, at 1 (Jan. 22, 2025),
https://www.dol.gov/sites/dolgov/files/ETA/advisories/TEN/2024/TEN%2021 24/TEN%2021
24.pdf.
        34
           DOL, Training and Employment Notice 21-24, at 1 (Jan. 22, 2025),
https://www.dol.gov/sites/dolgov/files/ETA/advisories/TEN/2024/TEN%2021-24/TEN%2021-
24.pdf.
        3735
             Id.
        3836
             Id. at 2.


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        92. On January 24, 2025, NFHA received a follow-up email from HUD, advising that, with

respect to some HUD funding, any grants with certain terms deemed to have a “conceptual

relationship” to the Executive Orders would receive greater scrutiny. Such terms included “racial,”

“underserved,” “affirmatively,” “systemic,” “adversely,” “accessible,” and “disparate,” among

others. These terms appear in some of the very laws and regulations about which NFHA and its

members seek to educate the public and which they enforce, such as the Fair Housing Act and the

Equal Credit Opportunity Act. 39

         96.    93. On January 29, 2025, Defendants CDC and HHS sent the city of Chicago, which

subcontracts CDC and HHS grants to Plaintiff AFC, a letter directing it to “immediately terminate,

to the maximum extent, all programs, personnel, activities, or contractors promoting ‘diversity,

equity, and inclusion’ (DEI) at every level and activity . . . that are supported with funds from this

award.” The letter further stated that, “[a]ny vestige, remnant, or re-named piece of any DEI

programs funded by the U.S. government under this award are immediately, completely, and

permanently terminated.” The city of Chicago confirmed receipt of these notices tonotified

Plaintiff AFC of its receipt of this letter on February 1, 2025, and that theyconfirmed it would

affect its subcontracts.

         97.    94. Also on January 29, 2025, in a press briefing, Press Secretary Karoline Leavitt

stated, “[I]t is the responsibility of this president and this administration to be good stewards of




        39
          See, e.g., 42 U.S.C. § 3604(f)(3)(C)(i) (requiring public and common use areas of
dwellings to be “readily accessible to and usable by” persons with disabilities and a dwelling to
be “accessible” in numerous other ways under the Fair Housing Act); id. § 3608(e)(5) (requiring
HUD secretary to “administer the programs and activities relating to housing and urban
development in a manner affirmatively to further the policies” of the Fair Housing Act); 24
C.F.R. § 100.500(a) (providing that practice “has a discriminatory effect where it actually or
predictably results in a disparate impact”); 15 U.S.C. § 1691(d) (providing protections for
applicants who receive an “adverse action” from creditors).


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taxpayer dollars. That is something that President Trump campaigned on. That’s why he has

launched DOGE, the Department of Government Efficiency, who is working alongside OMB. And

that’s why OMB sent out this memo last night, because the president signed an executive order

directing OMB to do just this. And the reason for this is to ensure that every penny that is going

out the door is not conflicting with the executive orders and actions that this president has taken.

So, what does this pause mean? It means no more funding for illegal DEI programs. It means no

more funding for the Green New Scam that has ta- — cost [sic] American taxpayers tens of billions

of dollars. It means no more funding for transgenderism and wokeness across our federal

bureaucracy and agencies.”4037

         98.   95. On February 5, 2025, OPM Acting Director issued a memorandum titled

“Further Guidance Regarding Ending DEIA Offices, Programs and Initiatives” instructing federal

agencies to terminate all DEIA offices, policies, and programs that allegedly “unlawfully

discriminate” in employment actions based on protected characteristics, including race, sex,

national origin, and disability.4138 It definesdefined “unlawful discrimination relating to DEI” to

“include[] taking action motivated, in whole or in part, by protected characteristics. To be

unlawful, a protected characteristic does not need to be the sole or exclusive reason for an agency’s

action.”4239




       4037
              The White House, Press Briefing By Press Secretary Karoline Leavitt (Jan. 29,
2025), https://www.whitehouse.gov/briefings-statements/2025/01/press-briefing-by-press-
secretary-karoline-leavitt/.
         4138
              OPM, Memorandum to the Heads and Acting Heads of Departments and Agencies,
Further Guidance Regarding Ending DEIA Offices, Programs and Initiatives (Feb. 5, 2025),
https://www.chcoc.gov/content/further-guidance-regarding-ending-deia-offices-programs-and-
initiatives.
         4239
              Id. at 1.


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         99.   96. On February 5, 2025, Attorney General Pam Bondi issued a memorandum to

all DOJ employees titled, “Ending Illegal DEI and DEIA Discrimination and Preferences (“DOJ

Memo 1”). 43It purports 40     It purported to implement the Anti-Diversity2 Order, which it

describesdescribed as “making clear that policies relating to [DEI] and [DEIA] ‘violate the text

and spirit of our longstanding Federal civil-rights laws’ and ‘undermine our national unity.’”4441

       100.    97. DOJ Memo 1 directsdirected the Department’s Civil Rights Division to

investigate and penalize entities in both the private sector and federally funded educational

institutions that engage in DEI and DEIA policies and programs.

         98. DOJ Memo 1 also directsdirected the DOJ’s Civil Rights Division and the Office of

Legal Policy to submit a report by March 1, 2025, recommending enforcement actions against DEI

and DEIA policies. TheIt stated that the report must include, among other things, a plan for

deterring DEI and DEIA policies through criminal investigations and civil compliance actions,

including up to nine targeted investigations.4542

         101. 99. Also, on February 5, 2025, the Attorney General issued a memorandum titled,

“Eliminating Internal Discriminatory Practices” (“DOJ Memo 2”) directingconcerning the

elimination of DOJ DEI and DEIA programs, policies, and related initiatives.4643




       43
           Office of the Attorney General, DOJ, Memorandum to All Department Employees,
Ending Illegal DEA and DEIA Discrimination and Preferences (Feb. 5, 2025),
https://www.justice.gov/ag/media/1388501/dl?inline.
        40
           Office of the Attorney General, DOJ, Memorandum to All Department Employees,
Ending Illegal DEA and DEIA Discrimination and Preferences (Feb. 5, 2025),
https://www.justice.gov/ag/media/1388501/dl?inline.
        4441
             Id. at 1.
        4542
             Id. at 1–2.
        4643
             Office of the Attorney General, DOJ, Memorandum to All Department Employees,
Eliminating Internal Discriminatory Practices (Feb. 5, 2025),
https://www.justice.gov/ag/media/1388556/dl.


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         102. 100. DOJ Memo 2 further directsdirected DOJ to eliminate its own DEI and DEIA

programs. It also directed DOJ, by March 15, 2025, to assist OMB in reviewing and revising

government-wide policies to eliminate references to DEI and DEIA in federal acquisition,

contracting, grants, and financial assistance procedures.

         103. 101. On February 6, 2025, the White House published “Memorandum for the Heads

of Executive Departments and Agencies.”4744 In this public-facing memorandum, the President

declaresdeclared that “[i]t is the policy of my administration to stop funding NGOs that undermine

the national interest” and that the agencies “shall align future funding decisions with the interests

of the United States and with the goals and priorities of my Administration, as expressed in

executive actions.”4845

         104. 102. These agency actionsgovernment directives have eliminated what the agencies

deem to be DEIA programs and activities—and demonstrate an intent to eliminate more of such

programs and activities in the future—without defining what types of programs and activities are

banned as “DEI” or DEIA” and without any prior determinations of their illegality.

         105. 103. Likewise, these agency actionsdirectives cut off federal funding, through

contracts or grants, to any program or activity that the agencies have determined is or will

determine to be “DEI” or “DEIA”—or related to “DEI” or “DEIA”—without any prior

determination of (a) why they are considered to be “DEI” or “DEIA” or (b) why they are illegal

pursuant to criteria that is articulable, discernible, and publicly known.




       4744
             The White House, Memorandum for the Heads of Executive Departments and
Agencies, Advancing United States Interests When Funding (Feb. 6, 2025),
https://www.whitehouse.gov/presidential-actions/2025/02/memorandum-for-the-heads-of-
executive-departments-and-agencies/.
        4845
             Id.


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       104. These actions are arbitrary and capricious and do not follow administrative procedures

established pursuant to federal law.

         106. Rather than implementing any kind of process to make a determination as to

whether a specific DEIA practice is permissible, the Administration has repeatedly made clear that

it views all DEIA as discriminatory and unlawful, without reference to standards under existing

precedent.

         107. On January 22, 2025 the Federal Trade Commission (“FTC”) issued a press release

in which FTC Chairman Andrew N. Ferguson cited the Anti-Diversity1 and 2 Orders and

announced that “DEI is Over at the FTC.” In doing so, he stated generally that “DEI is a scourge

on our institutions,” that “[i]t promotes invidious discrimination,” and that “it violates federal and

natural law,” without clarifying whether he was referring to all programs labeled as DEI, or only

some that are unlawful under existing precedent. 46

         108. On January 23, 2025, the U.S. Department of Education issued a similar press

release that cited the Anti-Diversity2 Order and stated that it would “Eliminate DEI.” The

Department said that it had “removed or archived hundreds of guidance documents, reports, and

training materials that include mentions of DEI from its outward facing communication channels.”

The Department gave no indication that in doing so, it had limited its actions to eradicating efforts

that were unlawful under existing precedent. 47




       46
           FTC Chairman Ferguson Announces that DEI is Over at the FTC, Fed. Trade Comm’n
(Jan. 22, 2025), https://www.ftc.gov/news-events/news/press-releases/2025/01/ftc-chairman-
ferguson-announces-dei-over-ftc.
        47
           U.S. Department of Education Takes Action to Eliminate DEI, U.S. Dep’t of Educ.
(Jan. 23, 2025), https://www.ed.gov/about/news/press-release/us-department-of-education-takes-
action-eliminate-dei.



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         109. On March 6, 2025, President Trump delivered a joint address to Congress. He said,

“We’ve ended the tyranny of so-called diversity, equity and inclusion policies all across the entire

federal government and indeed the private sector and our military. And our country will be woke

no longer.” In doing so, he suggested that the “diversity, equity, and inclusion” that he had “ended”

through his Executive Orders was equivalent to the broad category of policies he criticized as

“woke”—not just policies that are unlawful under existing precedent. 48

         110. On March 11, 2025, HUD issued a press release in which Defendant Turner stated

unequivocally, “[L]et me be clear DEI is dead at HUD. We will not provide funding to any

program or grantee that does not comply with President Trump’s executive orders.” In proclaiming

“DEI” to be “dead,” Turner made no distinction between legal and potentially illegal programs. 49

         111. On April 29, 2025, the U.S. Department of Treasury issued a press release

announcing that had “ended a wasteful contract with LinkedIn as the company continues to

champion DEI in recruiting practices that prioritize identity over merit.” In stating this, the

Department of Treasury did not clarify whether it believed that LinkedIn’s use of “DEI in recruiting

practices” was “discriminatory” in the way it said its own policies were, or if so, whether it

believed LinkedIn’s practices were unlawful under existing precedent. 50

         112. On May 19, 2025, DOJ issued a memorandum announcing its “Civil Rights Fraud

Initiative.” The memorandum invoked the Anti-Diversity2 Order and set forth DOJ’s plan for

“vigorous enforcement of the False Claims Act” against federal funding recipients “violating civil



       48
           Read President Trump’s 2025 address to a joint session of Congress, NPR (Mar. 5,
2025), https://www.npr.org/2025/03/05/nx-s1-5316232/trump-congress-joint-address-speech.
        49
           Secretary Turner Denounces DEI Criteria in Asheville’s Draft Disaster Plan, U.S.
Dep’t of Housing & Urban Dev., (Mar. 11, 2025) https://www.hud.gov/news/hud-no-25-040.
        50
           U.S. Department of the Treasury Announces Achievements in the First 100 Days of the
Trump Administration, U.S. Dep’t of Treasury (April 29, 2025),
https://home.treasury.gov/news/press-releases/sb0117.


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rights laws,” which purported to include those “engaging in racist . . . diversity, equity, and

inclusion (DEI) programs.” It left unclear whether DOJ believes that most or all DEI programs

are “racist” civil rights violations. But it suggested that DOJ does. For instance, it asserted that

“many” corporations and schools engage in such “racist” practices. The memorandum did not

explain which practices it was referring to or how they are unlawful under existing precedent. 51

          113. On May 30, 2025, President Trump announced on Truth Social that he was firing

Kim Sajet, the Director of the National Portrait Gallery in part because she is “a strong supporter

of DEI, which is totally inappropriate for her position.” In considering her support of DEI

“inappropriate” and grounds for termination, he did not specify that she supported programs that

were unlawful under existing precedent. 52

          114. 105. In addition, theThese agency actions and statements by the Trump

Administration corroborateappear to criticize all DEIA, not merely activity that is unlawful under

existing precent. In doing so, they suggest that the purpose of the Executive Orders as suppression

ofis to suppress speech and viewpoints supportive of DEIA efforts with which the Administration

disagrees, to the detriment of people of color and/or LGBTQ people, including those served by

Plaintiffs.

        F.     Similarly Situated Plaintiffs Have Successfully Challenged Various
               Provisions of the Executive Orders.

          115. In National Association of Diversity Officers in Higher Education v. Trump, the

U.S. District Court for the District of Maryland granted the plaintiffs’ motion for a preliminary



        51
            Civil Rights Fraud Initiative, Office of the Deputy Att’y Gen., U.S. Dep’t of J. (May
19, 2025),
https://www.justice.gov/dag/media/1400826/dl?inline=&utm medium=email&utm source=gov
delivery.
         52
            Donald J. Trump (@realDonaldTrump), Truth Social (May 30, 2025, 1:30 pm),
https://truthsocial.com/@realDonaldTrump/posts/114597966895334541.


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injunction enjoining the enforcement of the Equity Termination Provision, the Certification

Provision, and the Report Provision. See 767 F. Supp. 3d 243, 291 (D. Md. 2025). The court held

that the Equity Termination Provision was likely void for vagueness under the Fifth Amendment,

id. at 276–78; the Certification Provision likely violated the First Amendment, id. at 281–83; and

the Report Provision likely violated the First Amendment and was also unconstitutionally vague,

id. at 284, 286.

         116. The Fourth Circuit stayed the decision pending appeal. See Nat’l Ass’n of Diversity

Officers in Higher Educ. v. Trump, No. 25-1189, ECF No. 29 (4th Cir. Mar. 14, 2025). According

to the Fourth Circuit panel, the plaintiffs had not alleged any actual enforcement of the Orders

against them, leading the three members of the panel to suggest claims would be proper if and

when such actions do occur. See id. at 4 n. 1 (Diaz, C.J., concurring) (“I . . . reserve judgment on

how the Administration enforces these executive orders, which may well implicate cognizable

First and Fifth Amendment concerns.”), 7 (Harris, J., concurring) (“But my vote to grant the stay

comes with a caveat” that agency enforcement actions “may well raise serious First Amendment

and Due Process concerns”), 9 (Rushing, J., concurring) (expressing view that claims were not

justiciable where “this case does not challenge any particular agency action implementing the

Executive Orders”).

         117. In Chicago Women in Trades v. Trump, the U.S. District Court for the Northern

District of Illinois granted a temporary restraining order enjoining the DOL from enforcing the

Certification Provision on a nationwide basis and from enforcing the Equity Termination Provision

against the plaintiff. See No. 25 C 2005, 2025 WL 933871, at *10–13 (N.D. Ill. Mar. 27, 2025)

(“CWIT I”). In a subsequent decision on the plaintiff’s motion for a preliminary injunction, the

court reaffirmed its ruling that the Certification Provision likely violated the First Amendment, but




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it changed its ruling as to the Equity Termination Provision, finding that the provision likely did

not violate the First or Fifth Amendments. See No. 25 C 2005, 2025 WL 1114466, at *11–16 (N.D.

Ill. Apr. 14, 2025) (“CWIT II”).

         118. In San Francisco AIDS Foundation v. Trump, the U.S. District Court for the

Northern District of California granted the plaintiffs’ motion for a preliminary injunction in part,

enjoining the defendants from enforcing the Equity Termination Provision, the Gender

Termination Provision, and the Promoting Gender Ideology Provision against the plaintiffs. See

No. 25-CV-1824, 2025 WL 1621636 (N.D. Cal. June 9, 2025). The court found that the plaintiffs

were likely to succeed on their claim that each of these three provisions violated the First

Amendment, id. at *16–18; that the Equity Termination Provision was likely void for vagueness

in violation of the Fifth Amendment, id. At *20–22; and that the Gender Termination and

Promoting Gender Ideology Provisions were likely to violate the Equal Protection Clause of the

Fifth Amendment, id. at *13. Further, the court held that the Equity Termination Provision violates

the Separation of Powers as applied to grants the plaintiffs receive pursuant to statutory authority,

and that the Gender Termination Provision and Promoting Gender Ideology Provision violate the

Separation of Powers “by contravening the antidiscrimination provisions of the [Affordable Care

Act] and [Public Health Service Act].” Id. at *25–27.

         119. In Thakur v. Trump, the U.S. District Court for the Northern District of California

similarly granted plaintiffs’ motion for a preliminary injunction barring termination of grants under

various executive orders, including the three Executive Orders at issue here. The court held that

plaintiffs were “likely to succeed on their claims that the termination of grants for research

involving blacklisted topics like ‘diversity’ and ‘equity’ violates the First Amendment and runs

contrary to Congress’s specific directives to support research concerning—and foster greater




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involvement in the sciences of—underrepresented groups.             Although a new presidential

administration is entitled to develop programs with its chosen priorities, the Executive may not set

out to suppress ideas it deems dangerous by trying to drive them out of the marketplace of ideas,

and may not do so by canceling grants on the basis that they serve the very purposes for which

Congress appropriated the funds.” No. 25-cv-04737-RFL, 2025 WL 1734471, at *1 (N.D. Cal.

June 23, 2025). The court explained that grant terminations pursuant to the executive orders,

including the three Executive Orders at issue here, constituted an impermissible penalty on

disfavored viewpoints in violation of the Constitution. Id. at 9.

       G.      The Executive Orders Are Vague, Both on Their Face and As Applied
               to Plaintiffs.

III. THE PRESIDENT DEPARTED FROM STANDARD PROCEDURES IN ISSUANCE
       AND IMPLEMENTATION OF THE EXECUTIVE ORDERS.

       106. Presidents historically follow specific procedural steps for issuing executive orders,

which ensure that they are properly reviewed, vetted, and implemented. One example of this

procedure can be found in the provisions of 1 C.F.R. § 19.2     “Routing and approval of drafts”

which lays out procedures for review by OMB, the Attorney General, and the Office of the Federal

Register, in order to ensure legality and language before submission of the executive order to the

President for signature.

       107. These procedures are typically referenced in the executive order itself with provisions

for amendment to reconcile the executive order with past orders, as well as instructions to the

relevant cabinet Secretary to draft rules and regulations for implementation. 49

       108. Additionally, executive orders that affect government contracting are typically

submitted to the Federal Acquisition Regulatory Council for development of proposed


       49
          See, e.g., Exec. Order No. 13672, 79 Fed. Reg. 42,971 (Dec. 9, 2014) (instructing the
Secretary of Labor to “prepare regulations to implement the requirements” of the order).


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implementing regulations to be published in the Federal Register and, upon adoption, incorporated

into federal government contracts.

       109. The challenged Executive Orders reflect a radical departure from past executive orders

and from these standard procedures. For example, unlike prior workplace discrimination related

executive orders, the Anti Diversity2 Order does not instruct the Secretary of Labor to undertake

further rulemaking to implement the requirements of the Order. Instead, Anti-Diversity2 Order

merely instructs the DOL to cease “promoting diversity,” “holding contractors and subcontractors

responsible for ‘taking affirmative action,’” and allowing contractors to “engage in workforce

balancing.”

       110. In another departure from the ordinary procedural attributes of executive orders

concerning workplace discrimination, the Anti-Diversity2 Order lacks any mechanism for

rulemaking to modify the Federal Acquisition Regulation (“FAR”), applicable provisions of which

are incorporated as binding terms in all federal procurement contracts. 50The FAR is codified in

title 48 of the Code of Federal Regulations. Ordinarily, to amend the FAR (and the binding terms

for government contracts specified therein) e.g., to include the language required by the Anti

Diversity2 Order agencies must go through general rulemaking procedures, which include

publication of the proposed “procurement policy, regulation, procedure, or form and provide for a

public comment period for receiving and considering the views of all interested parties on the

proposal.” 51The length of the comment period may not be less than 30 days. 52Further, the

procurement policy or regulation “may not take effect until 60 days after it is published for public




       50
          48 C.F.R. § 1.301(a)(1).
       51
          41 U.S.C. § 1707(b); see also 48 C.F.R. § 1.301(b); 48 C.F.R. Subpart 1.5.
       52
          Id.


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comment in the Federal Register” unless “there are compelling circumstances for the earlier

effective date.” 53

        111. Contrary to these procedures, there was no notice published in the Federal Register of

the Anti Diversity2 Order’s changes to government contracting requirements. Thus, federal

contractors have not been afforded an opportunity to comment on the Anti Diversity2 Order’s

terms before they are incorporated into federal contracts.

        112. Although waiver of the notice would be permitted if “urgent and compelling

circumstances make compliance with [those] requirements impracticable,” 54on information and

belief, there has been no specific articulation as to the “urgent and compelling circumstances” that

would render the notice and comment requirements impracticable here.

        113. Individual federal agencies also can issue FAR “deviations” i.e., variations from

standard FAR provisions and clauses     in accordance with specified procedures “when necessary

to meet the specific needs and requirements of each agency.” 55On February 15, 2025, the Civilian

Agency Acquisition Council (“CAAC”) issued a Memorandum for Civilian Agencies (CAAC

Letter 2025 01) authorizing individual civilian agencies to “issue a class deviation to ensure

compliance with [the Anti-Diversity2 Order and the Anti-Gender Order].” 56Among other things,

the class deviation authorizes the removal of a series of standard FAR clauses prescribed under

FAR subpart 22.8, entitled “Equal Employment Opportunity.” On February 15, 2025, the U.S.




        53
          Id. § 1707(a).
        54
          Id. § 1707(d).
       55
          48 C.F.R. § 1.402.
       56
          GSA, Memorandum for Civil Agencies, CAAC Consultation to Issue a Class Deviation
From the Federal Acquisition Regulation (FAR) Regarding Executive orders 14173 and 14168
(Feb. 15, 2025), https://www.acquisition.gov/sites/default/files/caac/CAAC_Letter_2025 01.pdf.


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General Services Administration (“GSA”) issued a FAR class deviation in reliance on the CAAC

Memorandum for Civilian Agencies. 57

       114. The memoranda issued by OPM and OMB purporting to implement the Executive

Orders also did not go through standard procedures. Under regulatory planning rules, agencies are

required to submit all significant regulatory actions to the Office of Information and Regulatory

Affairs (“OIRA”) for review before issuing them to the public. 58It is unlikely that such submission

occurred here; as of the date of this complaint, OIRA has not listed the memoranda on their list of

completed reviews.

IV. THE EXECUTIVE ORDERS ARE VAGUE.

         120. 115. The challenged Executive Orders are replete with vague and undefined terms

and phrases, thewhose precise meanings of which are necessary to understand the scope of itstheir

prohibitions. Under the terms of the challenged Executive Orders, there is no objective way to

determine which speech activities are permitted and which are prohibited, creating a broad chilling

effect and inviting unpredictable, uneven, and discriminatory enforcement against recipients of

federal funding, including Plaintiffs.

         121. 116. For example, nowhereThe language of the Executive Orders is vague on its

face, as they contain myriad undefined ambiguous terms and fail to provide either enforcing

agencies or Plaintiffs with guidance on what is prohibited and how to comply. Nowhere do the

Executive Orders even define the central terms of “diversity, equity, and inclusion,” “DEI,”

“diversity, equity, inclusion, and accessibility,” or “DEIA.”




       57
           GSA, Press Release, GSA Announces FAR Class Deviations, Guidance for Contracting
Officers (Feb. 18, 2025), https://www.gsa.gov/about us/newsroom/news releases/gsa announces
far class deviations guidance for contracting officers 02182025.
        58
           Exec. Order No. 12,866, 58 Fed. Reg. 51,735 (Oct. 4, 1993).


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       117. Similarly, the Executive Orders do not define the term “equity” when used

independently from “diversity, equity, inclusion, and accessibility,” even though Section 2(b) of

the Anti Diversity1 Order terminates “equity related” grants and contracts, along with other DEI

and DEIA activities.

         122. The Executive Orders’ lack of adequate definitions makes the provisions that

Plaintiffs challenge impossible to comprehend. For example, the Equity Termination Provision of

the Anti-Diversity1 Order directs termination of “equity-related” grants and contracts, but the

Executive Orders do not define the terms “equity-related” or “equity” when used independently

from “diversity, equity, inclusion, and accessibility” (or as part of DEIA, for that matter).

         123. 118. Section 3(c)The Contract Terms Provision of the Anti-Diversity2 Order uses

even broader vagueundefined terms, mandating that OMB to “[e]xcise references to DEI and DEIA

principles, under whatever name they may appear, from Federal acquisition, contracting, grants,

and financial assistance procedures.”       Anti-Diversity2 Order § 3(c)(ii) (emphasis added).

Plaintiffs, therefore, are left speculating on what speech or activity might be considered DEI or

DEIA “principles” even without using the actual terms “DEI” or “DEIA.”

         124. Similarly, the Promoting Gender Ideology Provision of the Anti-Gender Order

states that “[f]ederal funds shall not be used to promote gender ideology,” but fails to define what

it means by “promote.”

         125. 119. When prohibiting certain speech and conduct, the Executive Orders use words

that fail to make clear what Plaintiffs are unable to do. Thus, for example, it is unclear what is

meant by “workforce balancing on race, color, sex, sexual preference, religion, or national origin,”

which is prohibited by Section 3(b) of the Anti Diversity2 Order. Likewise, it is unclear what it

means to “promote” gender ideology, for which Section 3 of the Anti Gender Order prohibits the




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use of federal funds.    Given these ambiguities, the Executive Orders fail to provide adequate

notice as to which concepts may or may not be promoted or included in the performance of federal

grants and/or contracts and have the effect of chilling Plaintiffs’ protected speech activity.

       126.     120. Additionally, while the Anti-Diversity1 and Anti-Diversity2 Orders are

explicit in their condemnation of DEIA policies, programs, and activities and in their expression

of the viewpoint that all such policies, programs, and activities violate federal anti-discrimination

law, the Orders create additional ambiguity by distinguishing at times between DEIA that is “legal”

from that which is “illegal.,” without defining what constitutes “legal” or “illegal” DEI. For

example, in Section 2 of the Anti-Diversity2 Order, President Trump expresses a policy of

terminating all “discriminatory and illegal preferences” and “combat[ting] illegal private-sector

DEI preferences, mandates policies, program, and activities.” Similarly, Section 3(b) of the Anti-

Diversity2 Orderthe Certification Provision requires every federal contract or grant to include a

certification from the contractor or grantee that “it does not operate any programs promoting DEI

that violate any applicable Federal anti-discrimination law.”

         121.     The language in these provisions regarding illegality fails to specify who

determines whatwhich DEIA policies, programs, and activities are legal, as opposed to illegal, and

pursuant to what criteria. Nevertheless,

         127. President Trump’s hostility toward DEIA, and the Trump Administration’s actions

already taken by the Trump Administration to eliminate whatever they considerit considers to be

DEIA from the federal workplace, demonstrate a strong likelihood that anything labeled DEIA,

anything that uses terms that relate to historic or systemic racism, sexism, sexual orientation, or

access for people with disabilities, and anything connected to core civil rights policies, programs,




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and activities may be considered illegal by this Administration without an investigation or other

due process.

         128. 122. This is especially true because the Executive Orders provide no clear, objective

standards for enforcement. In the absence of any objective standards, the Executive Orders give

the Trump Administration unfettered discretion to enforce the prohibitions against federal

contractors and grantees, inviting arbitrariness and discrimination that is subject to the whims of

the decisionmaker.

         129. The expansive, uncertain scope of the Executive Orders’ terms have rendered the

Executive Orders vague as applied to Plaintiffs by failing to provide them with fair notice of what

speech or activities are prohibited. This lack of guidance has caused Plaintiffs to spend countless

hours trying to ascertain what the Executive Orders may or may not mean, and it has ultimately

caused Plaintiffs to refrain from engaging in protected speech and activity in hopes of mitigating

enforcement and related penalties.

         130. The Executive Orders are also vague as applied to Plaintiffs because the Orders

have already invited arbitrary, selective action against Plaintiffs and their existing funding. In

particular, the Equity Termination Provision’s directive to terminate all “equity-related” contracts

is entirely unclear to Plaintiffs because it fails to define “equity-related,” which has left Plaintiffs

guessing at which of their grants or contracts are at risk, including: for NUL, the Urban Seniors

Jobs Program grant from the DOL, the Project Ready Mentor grant from the DOJ, the

Apprenticeships Building America grant from the DOL, the Urban Youth Pathways grant from the

DOL, the Growth Opportunities grant from the DOL, the Urban Construction Jobs Program grant

from the DOL, the Project Heartwood Youth Conservation Corporation grant from the USDA, and




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the Comprehensive Housing Counsel grant from HUD; and, for AFC, the Continuum of Care Grant

from HUD and the Housing Opportunities for Persons with AIDS grant from HUD.

          131. The lack of clarity and breadth of the Equity Termination Provision has authorized

the government to take arbitrary adverse action against NUL, as evidenced by the termination of

its EPA grant.    On May 1, 2025, the EPA terminated a grant in support of NUL’s Urban

Environmental Justice Collaborative Program. The purpose of the Urban Environmental Justice

Collaborative Program was similar to the central purpose of many of the grants listed above: to

advance equity for marginalized communities. This termination has heightened NUL’s confusion

and fears around which grants are at risk of being terminated for being equity-related. This

termination—coupled with the fact that on May 2, 2025, the Trump Administration targeted NUL

as an example of a “leftist, DEI-promoting entity” in its “skinny budget” proposal—demonstrates

that the Administration is using the Executive Orders to selectively target NUL for its protected

speech and its views in support of DEIA.

          132. Additionally, the Certification Provision’s requirement that contractors and

grantees certify they do not “operate any programs promoting DEI” in violation of federal law is

unclear to Plaintiffs, as the word “promote” is an unclear and expansive term, and the Executive

Orders provide no guidance about what it means to “promote” DEI in a manner that violates federal

law.

          133. Relatedly, the Promoting Gender Ideology Provision’s failure to define “promote”

in connection with its prohibition against the use of federal funds “to promote gender ideology”

similarly leaves Plaintiffs without any way of knowing how to conform their conduct and

operations to the requirements of the Anti-Gender Order. The Enforcement Threat Provision and

List Provision also create uncertainty for Plaintiffs, as the provisions direct officials to identify




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organizations suspected of engaging in “discriminatory DEI” or “provid[ing] or advanc[ing] DEI,

DEIA,” but fail to define those terms.

          134. 123. The vaguenessuncertain meaning of the Executive Orders’ prohibitions, and

the lack of discernible standards by which to determine violations of the Orders, are demonstrated

by communications that Plaintiffs have received from federal agencies directing them to cease and

terminate work activities “associating with” or “promoting” DEI, without providing a definition

of DEI.     In particular, Defendant HUD advised Plaintiff NFHA that terms like “racial,”

“underserved,” “affirmatively,” “systemic,” “adversely,” “accessible,” and “disparate,” among

others, may receive greater scrutiny because of their “conceptual relationship” with DEI. has

resulted in chilling of Plaintiffs’ protected speech. For instance, to mitigate the risk of enforcement

under the Anti-Gender Order’s Promoting Gender Ideology Provision, AFC considered

eliminating all public-facing content referencing diversity, equity, inclusion, and transgender

health—an approach that would have effectively silenced its organizational voice on core issues.

AFC ultimately decided to wall off its Policy and Communications departments from federally

funded activities and explicitly label all policy communications as privately funded, in an effort to

preserve both its speech and federal funding.

          135. Despite these precautions, AFC continues to face a persistent threat that HUD or

other agencies may cancel its contracts based on any allegation—substantiated or not—that the

organization has violated the Executive Orders.         The chilling effect on AFC’s speech and

programming remains ongoing and severe.

          136. Following the issuance of the Executive Orders, AFC undertook a sustained and

labor-intensive effort to analyze their content, scope, and potential applicability to its federally




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funded programs. Despite these extensive efforts, AFC has been unable to determine with any

clarity what the Executive Orders require or prohibit.

         137. AFC’s leadership team spent dozens of staff hours developing scenario plans,

reviewing contract language, and debating whether it was possible to continue operating programs

and publishing communications that acknowledged racial and gender disparities without running

afoul of the Orders’ prohibitions on “promoting DEI” or “gender ideology.” These efforts were

detailed in internal presentations and slide decks prepared for organizational decision-making.

         138. Despite these efforts, AFC has been unable to obtain any guidance from HUD,

HHS, or any other federal agency clarifying how to comply with the Executive Orders. The federal

government has issued no rules, definitions, FAQs, or interpretive materials to define key operative

terms such as “illegal DEI,” “gender ideology,” or what it means to “promote” them.

         139. As a result of this ambiguity, AFC remains in a perpetual state of legal and

operational uncertainty. The organization is unable to determine whether continued collection of

data about transgender clients, acknowledgement of racial disparities in health outcomes, or

training on cultural humility and trauma-informed care may subject it to grant cancellation or

enforcement action.

         140. The confusion created by the Executive Orders has caused AFC to question whether

routine and previously mandated practices, such as tracking the gender identity of clients for HUD

reporting, referring clients to transgender-affirming healthcare providers, or documenting

discrimination based on gender identity, could now be construed as violations of federal contract

terms.

         141. AFC has received conflicting directives: for example, HUD requires continued

reporting of client gender identity data for program monitoring, while simultaneously




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incorporating contract language prohibiting the use of funds to “promote gender ideology.” This

contradiction has placed AFC in an impossible position, where either course of action—collecting

or not collecting data—risks noncompliance.

         142. The lack of federal clarity has not only chilled AFC’s speech and compromised its

programming, but has also imposed a substantial opportunity cost. Time that would otherwise

have been spent on client care, policy advocacy, fundraising, or program development has instead

been diverted toward decoding vague and contradictory Executive directives.

         143. The lack of federal guidance has exacerbated these harms. In addition to the

operational costs, AFC has had to significantly change a large number of their programs. This is

exemplified by AFC engaging in extensive editing of its Annual Report excising terms and ideas

core to their mission for fear of violating the executive orders.

         144. Because of the Executive Orders, NUL leadership has similarly spent dozens of

hours navigating tensions between its commitment to deploying diversity, equity, inclusion, and

accessibility in aiding vulnerable communities, and the fear of being subjected to the Equity

Termination Provision.

         145. NUL has already been chilled by the vagueness of the Orders. On February 12,

2025, the Department of Labor emailed NUL and directed the organization not to address the

“equity portion of the question” in Section IV of its Quarterly Grant Narrative Report. On

information and belief, this request was made in connection with DOL’s implementation of the

Equity Termination Provision. Since then, NUL has stopped addressing everything that could be

considered “equity” in any of its quarterly reporting in an effort to mitigate the risk of enforcement

under the Equity Termination Provision.




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         146. NUL has further been chilled by the Report Provision and List Provision, which

threaten to make NUL a potential target of government investigations for engaging in undefined

DEIA-related programming—whatever the government means by “discriminatory DEI” or

practices that “promote or advance DEI.”

         147. NUL’s concerns about retribution in connection with the Report and List Provisions

is further reasonable, in view of the Trump Administration’s May 2, 2025 targeting of NUL as an

example of a “leftist, DEI-promoting entity” in its “skinny budget” proposal. This revealed that

NUL is already on the Administration’s radar for holding viewpoints on DEIA that are contrary to

the President’s viewpoints and agenda.

         148. To date, despite months of diligent effort, Plaintiffs have been unable to resolve the

ambiguities in the Executive Orders and remain at risk of losing essential funding due to

enforcement actions premised on interpretations of undefined terms and undisclosed compliance

standards.

         149. 124. Despite being vague,Compounding the chilling effect on Plaintiffs’ speech is

the fact that the Executive Orders includeimpose a range of serious penalties for non-compliance

with their vague demands, including cancellation of existing contracts and grants, loss of eligibility

for future government contracts and grants, and potential civil investigations, regulatory actions,

and/or litigation. Thus, the vagueness of the Executive Orders’ terms exacerbates the censorship

of Plaintiffs’ speech activities by producing an even greater chilling effect.

         150. 125. Because thePlaintiffs are harmed by the vagueness of the Executive Orders

because their provision of effective and comprehensive housing and health care services, support,

education, and advocacy for people of color, women, LGBTQ people, and people livingindividuals

with HIV necessarily requires education and awareness of the historical and ongoing inequities




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resulting from, among other things, a person’s race, ethnicity, sex, gender identity, and/or

disability, yet Plaintiffs have no way to discern how to differentiate between the acceptable

provision of services in furtherance of their mission and the unacceptable “operation and

promotion of DEI” programs and activities or unacceptable promotion of ““advanc[ing] DEI,”

“promoting DEI,” or “promoting gender ideology.”

V. THE EXECUTIVE ORDERS CHILL AND CENSOR PLAINTIFFS’ SPEECH AND
     VIEWPOINTS.

       H.      The Executive Orders Restrict and Chill Plaintiffs’ Speech and
               Viewpoints.

         151. 126. The Executive Orders threaten a range of adverse consequencespenalties

against Plaintiffs for engaging in speech or expression about diversity, equity, inclusion,

accessibility, and transgender people that the Trump Administration disfavors, including but not

limited to terminating their grant funding, cancelling their contracts, and threatening civil

enforcement actions and lawsuits.      The net result intended by the Executive Orders is an

impermissible chilling of Plaintiffs’ protected speech. Each Plaintiff has been significantly harmed

in this way.

       127. Sections 1 and 2(a) of the Anti Diversity1 Order make clear that the Trump

Administration will end funding to organizations like Plaintiffs who express views with which the

Administration disagrees about topics such as race, sex, gender, and various concepts that it

characterizes as DEIA or DEIA related, even if that speech occurs apart from a government

contract or grant program. For example, Section 3(b)(iv)(B) of the Anti Diversity2 Order directs

agencies to require every federal contractor or grantee to certify, as a condition for receiving

funding, that they do not “operate any programs promoting DEI” (emphasis added).

         152. NUL has been chilled from collecting and sharing information about equity by the

Equity Termination Provision and the Diversity Termination Provision. As noted above, NUL did


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not address equity in any of its quarterly grant reporting after, on February 12, 2025, DOL

expressly instructed NUL not to address the “equity portion of the question” in Section IV of its

Quarterly Narrative Report.

         153. AFC has also been chilled from sharing information by the Equity Termination

Provision and the Diversity Termination Provision. In fear of having its funding terminated due

to the restriction on equity-related activity, AFC has changed specific language used in its Annual

Report. It removed language about funding to “Black-led organizations” and replaced it with

language about funding to “organizations primarily on the south and west sides” of Chicago.

         154. Likewise, AFC has been chilled from providing appropriate supportive housing by

the Anti-Gender Order’s Promoting Gender Ideology Provision. In April 2025, HUD issued AFC

a renewed $2.5 million Continuum of Care grant contract that incorporated provisions from

Executive Orders 14151 and 14168, the Anti-Diversity1 Order and the Anti-Gender Order.

Specifically, the contract stated that AFC “shall not use funds to promote ‘gender ideology,’ as

defined in E.O. 14168.” In response to the new contractual language, AFC was forced to engage

in extensive internal deliberations regarding its communications and programming.           Senior

leadership and the Board of Directors convened to assess whether AFC could continue to publicly

discuss issues of race, gender identity, and LGBTQ health disparities without risking loss of this

federal funding. AFC leadership documented that these deliberations caused significant internal

distress and operational disruption, and consumed substantial organizational time and resources.

         155. AFC also participates as a subgrantee under a Special Project of National

Significance (SPNS) funded by HHS’s Health Resources and Services Administration (“HRSA”),

known as the SURE Housing Program. On February 13, 2025, HRSA instructed that, in response

to the Anti-Gender Order, AFC must (a) replace the term “gender” with “sex” in program materials;




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(b) remove all references to “gender-affirming care,” and (c) change the term “LGBTQIA” to

“LBG.” AFC was later told to remove all references to “gender identity” from required client

questionnaires and chart review forms “due to federal executive orders.” These directives included

eliminating questions related to gender identity and hormone therapy, censoring important aspects

of transgender healthcare and service delivery.

         156. Additionally, in May of 2025, HUD altered a required narrative reporting form used

by AFC to eliminate language referencing equity and to remove a question about how grantees

promote cultural humility and equitable access in program delivery.           These changes were

implemented without explanation, and AFC believes they reflect HUD’s effort to align with the

Executive Orders’ restrictions on so-called “illegal DEI” and “gender ideology.”

         157. Around the same time, in a slide presentation shared through the Chicago

Continuum of Care (CoC), HUD staff indicated that it would further revise data collection

requirements for grantees like AFC in Fall 2025. Specifically, HUD announced its intent to remove

questions relating to transgender identity and replace the sex/gender question with a binary

“male/female” option, eliminating any option to reflect the lived experiences of transgender,

nonbinary, or gender nonconforming individuals. These imposed changes have forced AFC to

erase essential data about the health experiences of transgender clients, directly contradicting best

practices in public health and HIV care and contract requirements. AFC leadership determined

that these changes compromised the organization’s ability to provide culturally competent care and

undermined data collection needed for effective program evaluation.

         158. The language of the Executive Orders and their implementation by Defendants

illustrate that the Orders were plainly designed to target, punish, intimidate, and silence




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organizations with viewpoints contrary to those of the Administration on issues of racial and

gender justice.

         159. 128. Each of theThe Executive Orders contain provisions purporting to cancel

federal contracts and grants that relate, in any way, to viewpoints that the Trump Administration

opposes. For example, Section 2(b)(i) of the Anti Diversity1 Order directs executive branch

officials to “terminate, to the maximum extent allowed by law, all . . . ‘equity-related’ grants or

contracts.” Section 3(e) of the Anti Gender Order directs agencies to “take all necessary steps, as

permitted by law, to end the Federal funding of gender ideology,” and Section 3(g) provides that

“[f]ederal funds shall not be used to promote gender ideology.” Section 3(c)(iii) of the Anti

Diversity2 Order directs the OMB director to “explicitly call for denying funding to those

organizations on the opposite sides of the racial and gender justice issues from that preferred by

the Administration. For example, The Equity Termination Provision directs officials to terminate

all “equity related” grants and contracts, “[e]xcise references to DEI and DEIA principles” from

“contracts” and “grants,” and “[t]erminate all ‘diversity,’ ‘equity,’ ‘equitable decision

makingdecision making,’ ‘equitable deployment of financial and technical assistance,’ ‘advancing

equity,’ and like mandates, requirements, programs, or activities.”

       129. These provisions effectively force Plaintiffs to either silence their speech and

viewpoints relating to issues that are of great societal importance and central to Plaintiffs’

missions, even outside of the government contract or grant program, or to forgo federal funding.

That choice is nearly an impossible one: while Plaintiffs cannot perform their work without

addressing views and ongoing concerns related to the communities they serve, they also rely on

federal funding to do that work. For example, part of NFHA’s work is to promote integrated

inclusive communities, which they do by promoting fair housing and educating people about the




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importance of fair housing opportunities. Thus, the Executive Orders place Plaintiffs, like NFHA,

in an untenable bind that can result in a chilling effect of their speech and viewpoints.

       130. The penalties that the Orders threaten also go beyond loss of funding. The Anti

Diversity2 Order invokes the False Claims Act (“FCA”) 59and its harsh treatment of “material”

false statements to the government. 60Section 3(b)(iv)(A) of the Anti Diversity2 Order requires

that, “for purposes of section 3729(b)(4) of title 31, United States Code,” contractors and grantees

agree that compliance with the Administration’s understanding of applicable Federal anti

discrimination law is “material” to the government’s payment decisions. By invoking the FCA,

the Anti Diversity2 Order exposes Plaintiffs to private lawsuits, government prosecution, and stiff

penalties of up to three times the amount of the government’s damages. 61

         160. Similarly, the Gender Funding Termination Provision directs agencies to take “all

necessary steps, as permitted by law, to end the Federal funding of gender ideology,” and provides

that “federal funds shall not be used to promote gender ideology,” while directing that each agency

“assess grant conditions and grantee preferences and ensure grant funds do not promote gender

ideology.”

         161. On information and belief, based directly on these provisions, federal agencies have

already frozen or terminated numerous funding sources for organizations similarly situated to

Plaintiffs (and with respect to Plaintiffs, EPA has terminated one of NUL’s grants), and agencies

have promulgated additional regulations that threaten Plaintiffs’ funding. The agencies’ actions

reveal that the purpose of the challenged Executive Orders is to target disfavored speech, not

merely to curb actions that violate federal law.



       59
          31 U.S.C. §§ 3729 33.
       60
          Id. § 3729(1)(a)(B).
       61
          Id. §§ 3729(1), 3730.


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         162. The Administration’s actions with respect to the challenged Executive Orders were

not consistent with congressional intent in appropriating funds or as necessary to enforce federal

law. In none of those cases did the Administration suggest that canceling contracts based on words

on a website was consistent with congressional intent, nor could it—indeed, it is likely inconsistent

with congressional intent, as fulfilment of many equity-related grants would require the use of

equity-related terms—and it is clearly not illegal to use such words. Instead, the Administration

has used the Executive Orders to deny funds to punish and dissuade future use of words and terms

it does not like.

         163. As is demonstrated by the Administration’s cancelation of contracts and grants

based on searches for “offending” words on websites and social media, whether or not the use of

such words was tied to grant money, the Administration seeks to use denial of federal funds to

punish and coerce speech unrelated to the funding itself.

         164. This attempt to silence non–federally funded speech is also apparent from the

Certification Provision of the Anti-Diversity2 Order, which requires federal grantees to “certify”

that they do “not operate any programs promoting DEI that violate any applicable Federal anti-

discrimination laws” and “agree” that “compliance in all respects with all applicable Federal anti-

discrimination laws is material to the government’s payment decisions for purposes” of the False

Claims Act.

         165. 131. The chilling effectlanguage of the Executive Orders is magnified by their

provisions directing officials to affirmatively identify private individuals and organizations

suspected of opposing the Administration’s views. As part of a plan to “deter DEI programs or

principles,” Section 4(b)(iii) directs each agency to make a list of “up to nine” private entities

whose use of “DEI programs or principles” makes them potential targets of investigation. Section




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2(b)(ii) of the Anti-Diversity1 Order directs agency, department, and commission heads to provide

the Director of OMB with a “list” of contractors “who have provided DEI training or DEI training

materials to agency or department employees” and grantees “who received Federal funding to

provide or advance DEI, DEIA, or ‘environmental justice’ programs, services, or activities” in the

last four years. Section 7(a)(ii) of the Anti Gender Order directs agency heads to report to the

President on requirements the agency has imposed on “contractors” “to achieve the policy of the

order,” thus suggesting other, unspecified agency tracking of and action concerning   contractors

and grantees like Plaintiffs. themselves, as well as agency actions interpreting the Executive

Orders, makes plain that, from the perspective of the Administration, even plainly legal attempts

to discuss and promote racial and gender justice will likely be characterized as violating federal

law for this purpose. The plain text of the Anti-Diversity1 Order, for example, which discusses

“illegal and immoral discrimination programs, going by the name ‘diversity, equity, and inclusion’

(DEI),” makes clear that the Administration considers all “DEI” and “DEIA”—however they

decide to define those terms—to be “illegal.” Anti-Diversity1 Order § 1. Relatedly, as evidenced

by Administration officials freezing funds and canceling contracts based merely on the results of

word searches on the internet, the Administration considers the use of terms aligned with racial

and gender justice to run afoul of the Executive Orders, even though they purport to concern

themselves with combating only “illegal DEIA.”

         166. The DOJ’s recent announcements bolster this expansive reading of the Orders. On

May 19, 2025, the Department of Justice announced the establishment of the Civil Rights Fraud

Initiative to enforce the Anti-Diversity Executive Orders. The DOJ memorandum and related press

release announced an intent to “utilize the False Claims Act to investigate and, as appropriate,

pursue claims against any recipient of federal funds that knowingly violates federal civil rights




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laws,” which seemingly includes “public institutions [that] codify inherently divisive policies like

DEI” and is not limited to those that use federal funds for that purpose. Further, on June 11, 2025,

the recently confirmed Assistant Attorney General for the Civil Division at DOJ, Brett Shumate,

issued a memorandum directing the Civil Division lawyers to prioritize investigations and

enforcement actions “combatting discriminatory policies and practices.” The memo makes clear

that “combatting discriminatory policies and practices” means going after what the Trump

Administration considers to be “illegal private-sector DEI preferences, mandates, policies,

programs, and activities.” 53

         167. The launch of the Civil Rights Frauds Initiative and Shumate’s memorandum have

heightened Plaintiffs’ fears, intensified the chilling effect, and made that chilling even more

reasonable.

         168. The requirement in the Anti-Diversity2 Order’s Certification Provision that

Plaintiffs certify that they do not “operate any programs promoting DEI that violate any applicable

Federal anti-discrimination laws” is thus functionally a requirement that Plaintiffs certify that they

do not engage in any kind of speech or activity—even with funding that does not come from the

government—that the Administration could possibly interpret as related to advancing racial or

gender justice. The choice for Plaintiffs is, therefore, to completely abandon speech central to their

missions or else risk future civil penalties.

         169. The Executive Orders also contain multiple provisions calculated to intimidate

Plaintiffs and other organizations into abandoning such core speech by threatening to place them

on a list or in a report that would likely lead to future civil penalties and/or future economic reprisal




        53
        Office of the Assistant Attorney General, Memorandum to All Civil Division
Employees, Civil Division Enforcement Priorities (June 11, 2025).


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or hostility. First, the List Provision of Anti-Diversity1 Order directs officials to provide the

director of OMB with “list of all . . . federal grantees who received funding to provide or advance

DEI, DEIA, or ‘environmental justice’ programs, services, or activities since January 20, 2021.”

Second, the Report Provision of Anti-Diversity2 Order directs the Attorney General or the

Department of Justice to work with Administration officials to submit a report with

“recommendations” to end DEI in the “private sector” and asks officials to compile a list

identifying “[t]he most egregious and discriminatory DEI practitioners in each sector of concern”

and a plan of action to “deter DEI programs or principles.” Anti-Diversity2 Order § 4(b).

         170. Given the language of the Executive Orders, actions taken by members of the

Administration pursuant to the orders, and the current political climate, Plaintiffs reasonably

believe that they will be harmed by placement on such a list or report and that the threat of such

placement is calculated to intimidate Plaintiffs into abandoning speech and activity that is core to

their missions.

         171. In the context of the Orders, which threaten loss of federal funding and potential

liability under the False Claims Act for anyone advancing viewpoints on DEIA with which the

Administration disagrees, the risk of funding loss or civil penalties is obvious. Subsequent agency

action makes the danger more apparent and disturbing—the May 19, 2025, DOJ memorandum and

press release, for example, not only threaten investigation and prosecution, but also “strongly

encourage[]” members of the public to file qui tam actions under the False Claims Act against

federal funding recipients engaging in “discrimination,” which they equate with “inherently

divisive policies like DEI.”

         172. Moreover, irrespective of these threats of funding loss or FCA liability, the charged

and divisive nature of the issue as it has been framed by the Administration creates an environment




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in which being listed as one of “[t]he most egregious and discriminatory DEI practitioners” will

very likely lead to harassment, hostility, or reprisal from members of the public who agree with

Trump’s view on matters of racial justice.

       132. The threat of these lists has an enormous deterrent effect on speech. Individuals and

organizations, including Plaintiffs, are concerned that speaking in public or in private will place

them at risk of being placed on these lists. And if Plaintiffs are placed on these lists, they will be

further deterred   either directly by subsequent adverse government action or indirectly through

negative consequences such as reputational harms. Moreover, the Executive Orders do not make

clear whether such lists will be made public. If so, the lists would invite targeted harassment,

hostility, and threats by members of the public.

       I.      VI. THE EXECUTIVE ORDERS INJURE PLAINTIFFSThe
               Executive Orders Are Discriminatory.

       133. Plaintiffs NUL, NFHA, and AFC advance equal opportunity and elevate the standard

of living for historically marginalized communities, with a particular focus on access to jobs,

housing, healthcare, and education, among other essential needs. Collectively, Plaintiffs’ day to

day work and organizational missions advance our civil rights laws, promote the equal rights of

people of color, women, LGBTQ people, and people with disabilities, and combat the HIV/AIDS

epidemic.

         173. During the early days of his second administration, President Trump devoted

substantial federal resources to attacking and eliminating DEIA programs, which had been

implemented in response to the country’s increased focus on diversity, equity, inclusion, and

accessibility in the aftermath of George Floyd’s killing and the ensuing mass demonstrations

against anti-Black racism. That discriminatory sentiment—to oppose efforts to eradicate systemic




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racial discrimination suffered by Black people in the United States— motivated the issuance of

the Anti-Diversity1 and Anti-Diversity2 Orders.

         174. In May 2020, the world watched in horror as video footage showed George Floyd

cry for help and ultimately die while former Officer Derek Chauvin kneeled on his neck. In the

weeks following George Floyd’s killing, 15–26 million people in 4,700 demonstrations across the

United States protested against anti-Black racism and police violence. 54          Outrage spread

worldwide, as tens of thousands of protesters marched against structural racism in cities across the

globe. At the height of the largest movement, half a million people in the United States marched

in 550 locations on a single day—June 6, 2020. 55 In addition, over 170 Confederate symbols—

which have long been associated with the enslavement of Black people in the United States—were

removed from public spaces or renamed. 56

         175. Public acknowledgment of anti-Black racism and the urgent need to remedy its

ongoing harms proliferated in the private sector. Professional sports associations like the National

Football League and NASCAR voiced their support for Black Lives Matter 57 and the need to




       54
           John Eligon, Black Lives Matter Has Grown More Powerful, and More Divided, N.Y.
Times (June 4, 2021), https://www.nytimes.com/2021/06/04/us/black-lives-matter.html.
        55
           Larry Buchanan et al., Black Lives Matter May Be the Largest Movement in U.S.
History, N.Y. Times (July 3, 2020), https://www.nytimes.com/interactive/2020/07/03/us/george-
floyd-protests-crowd-size.html.
        56
           Damien Cave et al., Huge Crowds Around the Globe March in Solidarity Against
Police Brutality, N.Y. Times (June 9, 2020),
https://www.nytimes.com/2020/06/06/world/george-floyd-global-protests.html; see also Alan
Taylor, The Statues Brought Down Since the George Floyd Protests Began, The Atlantic (July 2,
2020), https://www.theatlantic.com/photo/2020/07/photos-statues-removed-george-floyd-
protests-began/613774/.
        57
           Tonya Pendleton, NASCAR Stands for ‘Black Lives Matter’ in Video, The Grio (June 8,
2020), https://thegrio.com/2020/06/08/nascar-black-lives-matter/; Mark Maske and Adam
Kilgore, What made Roger Goodell say ‘Black Lives Matter’ and where it leaves the NFL, Wash.
Post (June 6, 2020), https://www.washingtonpost.com/sports/2020/06/06/roger-goodell-black-
lives-matter/.


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remedy anti-Black racism nationwide. Numerous corporations expressed support for racial justice

protesters, their own Black employees, and the Black community writ large, as well as the urgent

need to eradicate racism. 58 In the midst of this climate, jobs related to the pursuit of DEIA rose by

55% between June and August 2020.

         176. President Trump made clear he disdained efforts to eliminate anti-Black racism.

On July 3, 2020, in response to protests against monuments of men who enslaved Black people,

President Trump signed an Executive Order to re-erect monuments of these men in a National

Garden of American Heroes. 59 On September 17, 2020, President Trump hosted the inaugural

White House Conference on American History, where he maligned Critical Race Theory and The

1619 Project—the New York Times’s historical account of American slavery and the contributions

of Black Americans—as “crusade[s] against American history,” “toxic propaganda,” and

“ideological poison that, if not removed, [would] . . . destroy our country.” 60 During his remarks,

President Trump explained that this was why he “banned trainings in this prejudiced ideology from

the Federal Government and banned it in the strongest manner possible.”

         177. Three days later, on September 22, 2020, President Trump issued an Executive

Order titled “Executive Order on Combating Race and Sex Stereotyping” (“EO 13950”), which

prohibited federal contractors and grantees from engaging in certain speech activities related to

what the Executive Order labeled “divisive concepts.” 61 Many of the so-called “divisive concepts”

pertained to systemic race and gender inequalities and/or efforts to acknowledge and remedy them.



       58
           Tiffany Hsu, Corporate Voices Get Behind ‘Black Lives Matter’ Cause, N.Y. Times
(May 31, 2020), https://www.nytimes.com/2020/05/31/business/media/companies-marketing-
black-lives-matter-george-floyd.html.
        59
           Exec. Order No. 13934, 85 Fed. Reg. 41165 (2020).
        60
           Remarks by Donald J. Trump at a White House Conference on American History (Sept.
17, 2020), https://www.govinfo.gov/content/pkg/DCPD-202000691/pdf/DCPD-202000691.pdf.
        61
           Exec. Order No. 13950, 85 Fed. Reg. 60683 (Sept. 22, 2020).


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         178. As President Trump explained in a tweet, “A few weeks ago, I BANNED efforts to

indoctrinate government employees with divisive and harmful sex and race-based ideologies.

Today, I’ve expanded that ban to people and companies that do business . . . with our Country, the

United States Military, Government Contractors, and Grantees. Americans should be taught to

take PRIDE in our Great Country, and if you don’t, there’s nothing in it for you!” 62

         179. When issuing EO 13950, President Trump presented an inaccurate narrative of

American history that minimized the outsized role of slavery, Jim Crow laws, and white supremacy

in the United States, thereby minimizing the ongoing harms and disadvantages to Black people

that remain unremedied. For example, in refusing to acknowledge the significant role of slavery

and white supremacy in the founding of the United States, EO 13950 pronounced that it was the

“belief in the inherent equality of every individual that inspired the Founding generation to risk

their lives, their fortunes, and their sacred honor to establish a new Nation . . . .” 63 This ahistorical

narrative continued in EO 13950’s assertion that the “racialized views of America” that “were

soundly defeated on the blood-stained battlefields of the Civil War” were likewise “rejected” by

our “Founding documents.” Id.

         180. On October 8, 2020, in a sweeping action expanding the reach of EO 13950,

Assistant Attorney General Lee Lofthus ordered DOJ leaders to suspend not only DEIA trainings,

but also any related “programs, activities, and events.” 64 A week later, during the first debate for




        62
            Donald J. Trump (@realDonaldTrump), Twitter (Sept. 22, 2020, 6:53 PM),
https://twitter.com/realDonaldTrump/status/1308539918075883523; Donald J. Trump
(@realDonaldTrump), Twitter (Sept. 22, 2020, 6:53 PM),
https://twitter.com/realDonaldTrump/status/1308539921829781504.
         63
            Exec. Order No. 13950 § 1.
         64
            Katie Benner, Justice Dept. Suspends All Diversity and Inclusion Training for Staff,
N.Y. Times (Oct. 9, 2020), https://www.nytimes.com/2020/10/09/us/politics/justice-department-
diversity-training.html.


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the 2020 presidential elections, President Trump was asked why he ended “racial sensitivity

training that addresses white privilege or Critical Race Theory,” and he responded, “I ended it

because it’s racist . . . [t]hey were teaching people to hate our country, and I’m not going to . . .

allow that to happen.” 65

         181. Only two months after President Trump issued EO 13950, a federal district court,

in Santa Cruz Lesbian and Gay Community Center v. Trump, enjoined its enforcement, concluding

that the plaintiffs were likely to succeed in showing that it violated their rights to free speech under

the First Amendment and due process under the Fifth Amendment. See 508 F. Supp. 3d 521 (N.D.

Cal. 2020). The plaintiffs in Santa Cruz were federal contractors and grantees, including AFC,

who were at risk of losing federal funding because their mission-driven work required them to

engage in speech and expression acknowledging that race and gender inequalities created barriers

to accessing quality healthcare services for people of color and LGBTQ individuals.

         182. Multiple federal courts have found state laws with prohibitions that are similar to

EO 13950 violative of the First Amendment and/or the Fourteenth Amendment’s Due Process

Clause. 66   Upon information and belief, no federal court has affirmed the legality of state

governmental restrictions similar to EO 13950.




        65
          PBS NewsHour, WATCH: Biden Urges Unity to ‘Defeat Racism’; Trump Decries
Racial Sensitivity Training, YouTube (Sept. 29, 2020),
https://www.youtube.com/watch?v=pqGyzLjXfjo.
        66
           See, e.g., Honeyfund.com, Inc. v. DeSantis, 622 F. Supp. 3d 1159 (N.D. Fla. 2022),
aff’d, 94 F.4th 1272 (11th Cir. 2024); Pernell v. Fla. Bd. of Governors of the State Univ. System,
641 F. Supp. 3d 1218 (N.D. Fla. 2022), appeal docketed, Pernell v. Lamb, No. 22-13992 (11th
Cir. 2023); Black Emergency Response Team v. Drummond, 737 F. Supp. 3d 1136 (W.D. Okla.
2024), appeal docketed, No. 24-6139 (10th Cir. 2024); Local 8027, AFT-N.H., AFL-CIO v.
Edelblut, No. 21-cv-1077-PB, 2024 WL 2722254 (D.N.H. May 28, 2024), appeal docketed, No.
24-1690 (1st Cir. 2024).


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         183. President Trump continued to condemn “diversity, equity, and inclusion” programs

and activities during his campaign for a second term in office. For example, on December 21,

2024, at Turning Point’s AmericaFest 2024 conference, President Trump stated, “I’ll end all of the

Marxist diversity, equity, and inclusion policies across the entire federal government immediately.

And at the same time, we will ban these unlawful policies from . . . the private sector as well.” 67

         184. Contrary to President Trump’s characterization of DEIA policies as “illegal,”

federal agencies have affirmed their legality. For example, 2006 guidance from the U.S. Equal

Employment Opportunity Commission (which remained in effect during President Trump’s first

administration) states that “Title VII permits diversity efforts designed to open up opportunities to

everyone.” 68 Moreover, in January 2023, the U.S. Department of Education issued guidance

stating that “[a]ctivities intended, in whole or in part, to further objectives such as diversity, equity,

accessibility, and inclusion are not generally or categorically prohibited under Title VI.” 69

         185. President Trump issued the challenged Executive Orders during the first week of

his second administration—some on his very first day. By issuing the Anti-Diversity1 and Anti-

Diversity2 Orders, President Trump effectuated his long-held intent to eradicate policies and

programs—many initiated in response to George Floyd’s killing and the ensuing racial justice

demonstrations—that aim to dismantle longstanding inequalities for Black people.




        67
           Trump Remarks at Turning Point’s AmericaFest 2024 (Transcript), Sinju Post (Dec.
23, 2024), https://singjupost.com/trump-remarks-at-turning-points-americafest-2024-
transcript/?singlepage=1.
        68
           U.S. Equal Emp. Opportunity Comm’n Directives Transmittal No. 915.003,
Compliance Manual Section 15: Race and Color Discrimination 15-31 (Apr. 19, 2006),
https://www.eeoc.gov/sites/default/files/migrated files/policy/docs/race-color.pdf.
        69
           Office for Civil Rights, U.S. Dep’t of Educ., Fact Sheet: Diversity & Inclusion
Activities Under Title VI 1 (Jan. 2023),
https://www.ed.gov/sites/ed/files/about/offices/list/ocr/docs/ocr-factsheet-tvi-dia-
202301.pdf?utm content=&utm name=&utm term=.


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         186. DEIA has been used often as a proxy for race, and the contention that DEIA results

in “racial preferences” for “unqualified” people is a common trope to disparage Black candidates.

Thus, the false presumption that DEIA and merit are mutually exclusive perpetuates pernicious

racial stereotypes of Black people that have been used to justify their exclusion and

underrepresentation.

         187. The false assumption that Black people lack merit fails to acknowledge the present-

day discrimination that prevents qualified Black candidates from having equal opportunities—a

form of racial discrimination that is well-documented.       For example, from 2019 to 2021,

researchers sent 80,000 resumes to apply for 10,000 jobs using resumes with equivalent

qualifications, but applicants’ names were changed to suggest that they were white or Black, and

male or female. 70 The research found that several companies asked to interview applicants with

Black or female names significantly less frequently than applicants with white or male names with

equivalent qualifications. Even increasing the qualifications of the Black applicants to be more

meritorious than the white applicants did not help—they were still less likely to be called back

than less-qualified white applicants. 71

         188. The racially biased stereotype of Black people being unqualified and lacking merit

is reflected in the Anti-Diversity2 Order’s official title: “Ending Illegal Discrimination and

Restoring Merit-Based Opportunity.” The Order perpetuates this stereotype by stating, “Illegal

DEI and DEIA . . . deny, discredit, and undermine the traditional American values of hard work,

excellence, and individual achievement in favor of an unlawful, corrosive, and pernicious identity-



       70
           Claire Cain Miller & Josh Katz, What Researchers Discovered When They Sent 80,000
Fake Resumes to U.S. Jobs, N.Y. Times (Apr. 8, 2024),
https://www.nytimes.com/2024/04/08/upshot/employment-discrimination-fake-
resumes.html?searchResultPosition=1.
        71
           Id.


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based spoils system. Hardworking Americans who deserve a shot at the American Dream should

not be stigmatized, demeaned, or shut out of opportunities because of their race or sex.” 72

         189. By inaccurately concluding that DEIA denies “merit-based opportunities,” the Anti-

Diversity2 Order refuses to acknowledge barriers to opportunities for Black people that have no

bearing on their qualifications or merit. The Trump Administration starts from the false premise

that there are no existing racial inequalities. With this false premise in place, it characterizes as

discriminatory any effort to mitigate the racial inequalities that exist through DEIA.

         190. While the Anti-Diversity1 and Anti-Diversity2 Orders claim to be enforcing federal

civil rights and anti-discrimination laws—and thus barring “illegal” DEIA, that claim does not

mitigate the Orders’ intent to discriminate; rather, it amplifies it. In addition to taking substantial

departures from the usual procedures to issue executive orders, see supra Section C, the Anti-

Diversity1 and Anti-Diversity2 Orders take the unusual stance of presuming—without evidence—

the illegality of DEIA programs and circumventing the normal process of investigating and

litigating claims of civil rights violations.

         191. It is the greatest irony that Black people, for whom many of our anti-discrimination

laws were enacted to benefit, have the heavy burden of actually proving racial discrimination,

despite irrefutable evidence that racial inequalities persist in virtually every sector of American

life. Yet, the Trump Administration presumes racial discrimination against white people and is

using the power and resources of the federal government to launch a full-scale assault on DEIA—

not only within federal agencies, but throughout the private sector as well.

         192. Notably, the Executive Orders and subsequent DOJ memoranda contemplate

possible investigations—both civil and criminal—of DEIA. Upon information and belief, the



        72
             Anti-Diversity2 Order § 1.


                                                  76
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Trump Administration has not issued similar plans to use comparable federal resources to

investigate and prosecute racial discrimination against Black people or other people of color.

           193. The Anti-Diversity1 Order’s rescission of Executive Order No. 11246 further

demonstrates the Trump Administration’s disregard of, and hostility toward, proactive efforts to

eradicate racial inequalities. In 1965, during the height of the Civil Rights Movement, President

Lyndon B. Johnson issued Executive Order No. 11246 to prohibit employment discrimination

based on race, color, religion, and national origin by recipients of federal contracts and

subcontracts and required affirmative action programs. Issued in the wake of the passage of Title

VII of the Civil Rights Act of 1964, Executive Order No. 11246 intended to address entrenched

and rampant unemployment and income inequality that disproportionately harmed Black people,

as well as people of other racial, ethnic, religious, and national origin groups in the United States.73

           194. President Trump rescinded Executive Order No. 11246 despite stark evidence of

persistent inequality in employment opportunities based on race. By rescinding this longstanding

executive order, President Trump signaled his intent to prevent targeted efforts to help workers,

who are underrepresented due to persistent discrimination and other unfair barriers, access equal

employment opportunities. That intent is embodied in the Anti-Diversity1 and Anti-Diversity2

Orders.

           195. The Anti-Diversity1 and Anti-Diversity2 Orders’ disproportionate harm to Black

people and other people of color is evident from Plaintiffs’ injuries. All of Plaintiffs’ mission-

driven work benefits Black people and other people of color, who are disproportionately harmed

by the racial wealth and income gap, lack of access to fair and adequate housing, and the



          73
          Heather Timmons, Why LBJ signed executive order 11246 that Trump rescinded,
Reuters (Jan. 23, 2025), https://www.reuters.com/world/us/why-president-johnson-signed-
executive-order-1965-that-trump-rescinded-2025-01-23/.


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HIV/AIDS epidemic. See supra Section J. By delegitimizing DEIA efforts to help Black people

and other people of color, and rendering those efforts illegal, the Anti-Diversity1 and Anti-

Diversity2 Orders necessarily harm them.

           196. While the Anti-Diversity1 and Anti-Diversity2 Orders were issued with the intent

to discriminate against Black people on the basis of race, the functional operation of the Orders

classifies benefits and harms by race and sex so that all people of color, as well as women and

LGBTQ people, are harmed by their prohibitions. As “DEI” has become a term used pejoratively

by President Trump and his Administration, it has morphed into a term signifying association with

racial minorities and women. At a minimum, the Anti-Diversity1 and Anti-Diversity2 Orders were

crafted to disproportionately benefit people of a particular race (white people) while

disproportionately harming people of other races (Black people, Indigenous people, Latino people,

and Asian American people, among others). The Anti-Diversity1 and Anti-Diversity2 Orders also

disproportionately benefit people of a particular sex, sexual orientation, and gender identity (men,

cisgender people, and heterosexual people), while disproportionately harming people of other

sexes, sexual orientations, and gender identities (women, transgender people, lesbian, and gay

people).

           197. People harmed by the Anti-Diversity1 and Anti-Diversity2 Orders—people of

color, women, and LGBTQ people—are the same people who face discrimination and other unfair

disadvantages that prevent them from having equal opportunities. The Orders, therefore, aim to

eliminate policies, programs, and activities that aim to benefit people of color, women, and

LGBTQ people by increasing their diversity and inclusion in the workforce, housing, and

healthcare, remedying the inequity of any unfair barriers to their access to resources or

opportunities, and ensuring their full inclusion in economic and educational spaces.




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         198. Finally, the Anti-Gender Order’s express terms, which seek to erase and remove

transgender people from public life, see supra Section C.3, unequivocally establish sex-based

discrimination and unlawful animus.

       J.      The Executive Orders Injure Plaintiffs.

         199. 134. Plaintiffs proudly embrace the principles of DEIA through words and deeds,

and they condemn any discriminatory act that violates the civil rights of anyone, regardless of who

they are. Plaintiffs also firmly support and embrace the dignity and humanity of transgender

people. The Executive Orders deprive Plaintiffs of the ability to continue performing work central

to their organizational missions, deprive them of scarce financial resources, and jeopardize

Plaintiffs’their ability to provide desperately needed services.

               1.      A. The Executive Orders and Related Agency Actions Irreparably
                       Harm NULHave Already Harmed, and Continue to Harm, NUL and
                       the Communities NUL Serves.

         200. 135. NUL was founded over one hundredone hundred years ago as a social services

organization with the goal of improving economic and social conditions for Black Americans.

Under its first director, George Haynes, NUL led the charge to help Black migrants find success

in cities by providing counseling, reading and writing classes, and childcare for workers, and by

encouraging employers across the country to hire Black Americans. During the 1930s and 1940s,

NUL continued to improve access to housing and employment opportunities for Black Americans

and advocated for federal anti-discrimination policies in the areas of housing, health, and welfare.

In the 1960s, NUL supported the March on Washington and was a key player in the advocacy that

led to the Civil Rights Act of 1964. Thus, addressing inequities experienced by Black people and

combatting anti-Black racism have always been central to NUL’s mission.

         201. 136. Over sixty years after passage of the Civil Rights Act of 1964, the fight for

racial equality is far from over. For example, in 2000, Black men earned 75 cents for every dollar


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earned by white men; by 2024, this figure had decreased to 71 cents. Similarly, in 2024, Black

women made 84 cents for every dollar earned by white women, slightly less than the 86 cents per

dollar earned in 2000. Black people remain relegated to lower wage jobs and less lucrative

industries compared to white people with similar levels of education.6274 The most common

occupation for white workers in 2019 was in management (at a median hourly wage of $32.69),

while Black workers were most commonly employed as cashiers (at a median hourly wage of

$9.62).6375 Black workers also face higher unemployment rates and lower wages than white

workers.6476

         202. 137. Given these persisting inequities, NUL’s present-day economic justice

programming and advocacy remain critical. One of NUL’s central objectives is for every American

to have access to jobsa job with a living wage and good benefits. Thus, NUL, in partnership with

staff at the local affiliates, manages direct services programs across several key areas: education

and youth development, jobs and workforce, entrepreneurship, housing, and health.

       138. NUL relies on federal funding to administer these community centered programs.

Since 1973, NUL has consistently received federal funds to combat inequality, and has consistently

used those funds to provide direct services and technical assistance to communities of color. NUL

currently has 19 individual active federal grants, totaling $62 million and comprising 35% of

NUL’s annual budget. NUL also intends to apply for federal funding in the future, which is

necessary for the continued viability of its programs.




       6274
             Id.
       6375
             See Rebecca Dixon & Amy M. Traub, Desegregating Opportunity: Why Uprooting
Occupational Segregation is Critical to Building a Good-Jobs Economy, NELPNat’l Emp. Law
Project (May 2024), https://www.nelp.org/app/uploads/2024/05/Desegregating-Opportunity-
May-2024.pdf.
        6476
             Id.


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           203. 139. NUL’s federal grants come from several agencies, including the DOL, the

CDC, HUD, the DOJ, the DOC, the EPA, and the USDA. NUL won almost all of its current

federal grants through a rigorous and competitive Request for Proposals process. Some of these

federal fundsgrants are statutorily authorized by, inter alia, the Housing and Urban Development

Act of 1968 and the Older Americans Act of 1965, which include requirements that some agency

staff may believe may fall within the Executive Orders’ rubric of DEIA.

          140. Principles of DEIA are plainly woven into, and highlighted by, every aspect of NUL’s

programming, including its federally funded work. In fact, a commitment to these principles is

central to NUL’s mission. NUL believes that representation is necessary to combat inequities in

education, wages, healthcare, housing, and the criminal legal system, among other things.

Importantly, NUL advocates not only for the advancement of Black people and other people of

color, but also for the full equality of people with multiple marginalized identities, including

LGBTQ people and people living with disabilities. For years, NUL has publicly supported the

LGBTQ community and condemned violence, hate, and discrimination against transgender

people.

           204. 141. Although NUL willingly serves anyoneNUL’s services are available to all

people, regardless of race or gender, the communities most served by NUL’s programs are.

Historically, those who have sought out NUL’s services are often people of color, especially Black

people, because of ongoing systemic inequalities. These inequalities demand the inclusion of

DEIA principles to ensure that the people most in need, who are disproportionately Black people

and other people of color, receive crucial services. NUL accomplishes these goals through lawful

activities that respect the rights of each individual person, regardless of their race, ethnicity, sex,

or gender identity.




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       142. The under-resourced and underserved communities receiving NUL’s services will

experience devastating consequences should Defendants terminate federal funding for these

services, resulting in substantial frustration of NUL’s mission. Examples of NUL’s critical work

for these underserved communities include the following.

       143. Urban Seniors Jobs Program is a program supported by the Senior Community

Service Employment Program grant from DOL. The grant is authorized by the Older Americans

Act. As part of NUL’s goal to ensure that every American has access to a job that pays a living

wage and good benefits, the Urban Seniors Jobs Program provides subsidized, service based

training for economically insecure people aged 55 years or older, who are unemployed but

committed to finding employment. The program serves a very vulnerable population       91% of all

participants in the program lived below the poverty level prior to entering the program, and 56%

of participants lacked a college education. By design, every person recruited by the Urban Seniors

Jobs Program experiences two or more “most in need” characteristics           they must have a

disability, live in an area with persistent unemployment and/or have limited employment

prospects, have limited English proficiency, have low literacy skills, reside in a rural area, be

homeless or at-risk of homelessness, or be veterans. Through the Urban Seniors Jobs Program’s

efforts funded by the DOL, thousands of in need seniors have been placed in jobs.

       144. Partnering for Vaccine Equity is a program funded by a grant from the CDC focused

on improving vaccination coverage across disproportionately affected populations through funded

partnerships. The effort targets Black adults who were not up to date on their COVID 19 and flu

vaccinations. In the first year of the program, more than 80,000 individuals across 38 local

affiliates were vaccinated against COVID 19.




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        145. Project Ready Mentor is a program funded by a grant from the DOJ that helps

disconnected, vulnerable, court involved, predominantly Black and Latino youth, ages 11 17,

develop social and emotional skills, aptitudes, and attitudes, foster anti bullying and social

connectedness, move from grade to grade on time, and graduate high school ready for college or

work without the need for remediation. Since 2020, Project Ready Mentor has served 9,446 young

people at 30 affiliate locations.

        146. Apprenticeships Building America is a program supported by the DOL that

facilitates the recruitment of individuals for preparatory training and pre apprenticeship with a

pathway into a registered apprenticeship program. As part of this program, NUL directly partners

with employers to advance DEIA efforts and provide technical assistance. This program serves a

population that is predominantly underutilized and underemployed, and majority people of color.

        147. Urban Youth Pathways is a program funded by DOL that expands access to livable

wage jobs and career opportunities by providing youth and young adults, ages 14 21, with

opportunities to connect with part time and full time job placements, internships, behind the

business tours, certification programs, and apprenticeship opportunities. This program serves

historically underserved and marginalized youth, especially Black and Latino youth, including

those involved with foster care, experiencing homelessness, and/or from income insecure

households.

        148. Growth Opportunities is a program funded by DOL that helps vulnerable youth

secure wrap around social services, including expungement, violence prevention workshops,

occupational skills training, and placement into work experiences such as internships,

apprenticeships, and part time and full time employment. The target service population for this




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grant program is economically insecure Black youth who are either justice-involved or impacted

by violent crimes.

       149. The Urban Construction Jobs Program is funded through a grant awarded to Trade

Futures from DOL. As a sub grantee, NUL uses the pass through money for this program to recruit

7,000 participants to enroll in a trade council's Apprenticeship Readiness Program (ARP), which

trains candidates to apply for apprenticeships, including classes in construction industry awareness

and math, health and safety, financial readiness. NUL’s local affiliates recruit and train members

of underrepresented communities, including Black people, formerly incarcerated people, and

women, to power the construction industry and build back their communities.

       150. Project Heartwood Youth Conservation Corp. is a program funded through a grant

from the USDA, which provides an educational summer employment experience in urban forest

planning, assessment, and management for disadvantaged youth, ages 15 to 18.

       151. Comprehensive Housing Counseling is funded by HUD and makes housing options

more accessible and sustainable by leveling the economic playing field for Black and other

minority renters, homeowners, and the homeless. NUL has served 329,046 individuals and

families through this program over the course of its funding from HUD, from 2009 through the

present.

           205. 152. DEIADEIA-related strategies are also central to NUL’s national advocacy.

NUL has been on the front lines of efforts to diversify America’s workforce for over 100 years.

Even before corporate leadership teams began including Diversity Officers or other similar

positions, NUL had already spent decades refining jobs and workforce programs thatto provide

direct support to diverse communities, whether living paycheck to paycheck, or navigating career

changes, or approaching retirement. Moreover, itsNUL’s leadership and staff regularly engage in




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public speaking events, including panels, conferences, and workshops, that center on DEIA topics.

SubjectThe subject matter discussed by NUL at these events includeincludes the history and

impact of systemic racism, privileges and disadvantages associated with race, implicit bias, and

the collective responsibility of people of all races to overcome and eradicate societal

discrimination.

         206. 153. Recently, NUL hosted an in-person event (which was also livestreamed and is

posted on their website) titled “The Demand Diversity Roundtable.” This event brought together

prominent civil rights leaders to discuss the critical need to safeguard DEIA principles, confront

regressive measures, and chart actionable strategies for advancing equal opportunity for all. NUL

also published an online resource called “Demand Diversity,”3 which lists ways for the public to

get involved with the fight to protect DEIA programs at their jobs, schools, and in their

communities at large.

         207. 154. NUL also publishes an annual report, the State of Black America (“SOBA”),

which is NUL’s seminal contribution to public policy research on Black America. SOBA has been

published each year uninterrupted since the 1970s. SOBA is a highly anticipated, and is report

used by researchers, policymakers, and advocates. As such, it is a critical part of the organization’s

identity and reputation. NUL and its members use SOBA research and analysis in support ofto

their federal legislative advocacy. SOBA is also a source of fundraising for the organization.

         208. The under-resourced and underserved communities receiving NUL’s services have

already experienced, and will continue to experience, devastating consequences as a result of the

enforcement and implementation of the Executive Orders. For example, Black communities in

Austin, Texas; Oklahoma City, Oklahoma; and Greenville, South Carolina, who are at risk of

significant health harms because of climate change, are being harmed by EPA’s cancellation of a




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grant awarded to NUL for the purpose of launching a program targeted at improving their health

outcomes. Due to the vague nature of the Anti-Diversity Orders, there is a high risk of harm posed

to the bulk of NUL’s programming, not only this EPA grant, and the Trump Administration’s

enforcement of these Orders is potentially boundless in scope.

         209. 155. As a legacy civil rights organization, NUL is concerned that, under the

Executive Orders, it wouldwill no longer be eligible for federal funding if it stays true to its history

and purpose and refuses to stop calling out the impacts of systematic discrimination. NUL is

concerned that its explicit promotion of DEIA is directly at odds with the Executive Orders.

Because all of the federal grants NUL receives are used to provide direct services with the purpose

of advancing “equity,” on information and belief, NUL has reason to believebelieves that all of its

federal funding is at risk.

         210. 156. Because of the vagueness and ambiguity of the terms of thesethe Executive

Orders, it is not clear to NUL’s leadership, with any certainty, what kind of equity- and/or DEIA-

related work would violateis permitted by the Orders and what would not. As a resultis not. This

concern is only exacerbated by the Certification Provision, which requires NUL to certify that “it

does not operate any programs promoting DEI that violate any applicable Federal anti-

discrimination law,” without clarifying what “promoting DEI” means, and without limiting the

certification to federally funded programs. Given that all of NUL’s work, and all of the work of

NUL’s affiliates, including non–federally funded work, is focused on advancing equity, NUL does

not know what it must refrain from saying or doing. NUL is also not sure whether to stay compliant

with the Executive Orders. The ambiguous language of the Certification Provision has caused

NUL to fear that the Executive Orders’ prohibitions extend to its non-grant-funded work relating

to DEIA, such as research, speaking engagements, trainings, webinars, reports, (including SOBA




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and its Equality Index), communications efforts like the Demand Diversity Roundtable, and

factsheets that are not supported by federal dollars.

         211. 157. This uncertainty leaves NUL with an impossible choice. It can continue doing

what it has been doing since its inception, which is demand diversity and call out inequities,

acknowledge this country’s history of racism and sexism and the existence of transgender people

and supportingsupport them, and focus its efforts on the most vulnerable communities. This

choice, however, would require forfeiting the federal funds NUL relies on to operate the service

programs that directly aid vulnerable communities, which are predominantly people of color. In

the alternative, NUL could cease to center DEIA principles in its work, which would fundamentally

alter its reputation and mission as an organization, in hopes of retaining federal funding. NUL has

already been chilled by the DOL, which on February 12, 2025, directed NUL not to address the

equity portion of a question in its annual reporting related to the development and implementation

of effective program strategies. Since then, NUL has not discussed equity in any of its quarterly

grant reporting.

         212. And unfortunately, NUL’s fears that its funding streams will be targeted have

proven to be reasonable by the Administration’s own actions. The government has already

enforced the Executive Orders directly against NUL, preventing it from accessing hundreds of

thousands of dollars, and in turn, harming NUL, its affiliates, and communities nationwide.

         213. Specifically, on March 12, 2025, NUL learned its grant from the EPA for its Urban

Environmental Justice Collaborative Program was suspended, and that it could no longer draw

funds for the program. The award amount was $500,000. This project, which was supposed to

operate from January 15, 2025, to January 14, 2028, would have allowed NUL to launch a program




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that directly serves Black communities in Austin, Texas; Oklahoma City, Oklahoma; and

Greenville, South Carolina, who are at risk of significant health harms because of climate change.

         214. Then, on May 1, 2025, NUL received a letter from the EPA completely terminating

the grant. According to the termination letter, “The EPA Administrator has determined that, per

the Agency’s obligations to the constitutional and statutory law of the United States, this priority

includes ensuring that the Agency’s grants do not conflict with the Agency’s policy of prioritizing

merit, fairness, and excellence in performing our statutory functions.” The Anti-Diversity Orders

make clear that the Administration believes DEI and DEIA policies “threaten the safety of

American men, women, and children across the Nation by diminishing the importance of

individual merit, aptitude, hard work, and determination.” On information and belief, EPA’s

decision to terminate NUL’s equity-related grant targeted at serving Black communities, is because

it is “prioritizing merit” and fairness, is the result of the Anti-Diversity Orders and the Equity

Termination and Government Mandates Provisions in particular.

         215. The EPA froze, and later terminated, this grant because of the project’s health equity

and environmental justice focuses. From March 12, 2025, when NUL first learned it could not

draw down funds, to May 1, 2025, when NUL learned the award was terminated, NUL could not

access even a single dollar of the $500,000 it was awarded. To date, NUL has still not been paid

for the initial start-up costs that went into preparing to launch the Urban Environmental Justice

Collaborative Program. This is countless hours of work that NUL relied on being paid for. NUL

cannot move forward with the launch of this long-planned and critical effort because its federal

funds are terminated. Losing access to $500,000 in federal funds significantly impacts the work of

NUL and affiliate staff across the country who were preparing to administer this new program.

Most critically, NUL’s inability to move forward with its Urban Environmental Justice




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Collaborative Program will have a disproportionate impact on the Black communities in need of

the program’s planned services.

           216. Its terminated EPA funding is not the only grant that NUL is imminently concerned

about losing. The Administration’s proposed “skinny budget” from May 2, 2025, suggests that

funding for NUL’s longstanding Urban Seniors Jobs Program is also at risk. The Urban Seniors

Jobs program is supported by the Senior Community Service Employment Program grant from

DOL, authorized by Congress through the Older Americans Act. The Urban Seniors Jobs Program

provides subsidized, service-based training for economically insecure people aged 55 years or

older, who are unemployed but committed to finding employment. The program serves a very

vulnerable population—91% of all participants in the program lived below the poverty level prior

to entering the program, and 56% of participants lacked a college education. By design, every

person recruited by the Urban Seniors Jobs Program must have two or more “most-in-need”

characteristics—they must have a disability, live in an area with persistent unemployment and/or

have limited employment prospects, have limited English proficiency, have low literacy skills,

reside in a rural area, be homeless or at-risk of homelessness, or be veterans. Through the Urban

Seniors Jobs Program’s efforts funded by the DOL, thousands of in-need seniors have been placed

in jobs.

           217. Recent events have made it clear that the Administration does not value efforts like

the Urban Seniors Jobs Program, and in fact, wants to cut them completely. In President Trump’s

May 2, 2025 Discretionary Budget Request (the President’s “skinny budget”), the Senior

Community Service Employment Program was called out as “effectively an earmark to leftist,




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DEI-promoting entities like the National Urban League.” 77 In making this call out, the

Administration not only voiced its disapproval of programs like SCSEP because, in the

Administration’s view, these programs are DEIA, but also expressly targeted Plaintiff NUL for

promoting a viewpoint the Administration disfavors. The Administration’s proposed budget

request took direct aim at NUL for promoting DEI. As a result, NUL is reasonably fearful that its

Senior Community Service Employment Program grant will be cut and that the organization at

large is at risk of targeted enforcement. On information and belief, NUL believes that the

Administration’s activity is the result of several provisions of the Executive Orders, including the

Equity Termination Provision. NUL is also concerned that its mention in the skinny budget makes

it more likely that the List Provision will also be enforced against it.

         218. Given what is happening with its DOL and EPA grants, and what is happening with

the grants of several peer organizations, NUL is concerned that several of its other grants that

similarly advance equal opportunity will be targeted next. Many of NUL’s flagship programs,

which focus on advancing opportunities for people from communities who have experienced

pervasive and systemic discrimination, are supported by federal funds and have been for decades

         219. For example, Project Ready Mentor is a program funded by a grant from the DOJ

that helps disconnected, vulnerable, court-involved, predominantly Black and Latino youth, ages

11–17, develop social and emotional skills, aptitudes, and attitudes, foster anti-bullying and social

connectedness, move from grade to grade on time, and graduate high school ready for college or

work without the need for remediation. Apprenticeships Building America is a program supported

by the DOL that facilitates the recruitment of individuals for preparatory training and pre-



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          Major Discretionary Funding Changes, Executive Office of the President 28 (May 2,
2025) https://www.whitehouse.gov/wp-content/uploads/2025/05/Fiscal-Year-2026-
Discretionary-Budget-Request.pdf (emphasis added).


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apprenticeship with a pathway into a registered apprenticeship program. Urban Youth Pathways

is a program funded by DOL that expands access to livable wage jobs and career opportunities by

providing youth and young adults, ages 14–21, with opportunities to connect with part-time and

full-time job placements, internships, behind-the-business tours, certification programs, and

apprenticeship opportunities.

         220. 158. NUL is currently applying for and finalizing federal grants and federal grant

renewals. However, because there is no clarity regarding which grants are covered by the

Executive Orders, there is uncertainty regarding NUL’s eligibility to qualify for or fulfill future

contracts or grants. This includes a federal grant from the EPA, for which NUL has been selected

but has not yet been finalized with a fully executed agreement. This uncertainty harms NUL’s

ability to project future budgets and programming. Even before a grant agreement is finalized,

NUL must take actionsaction in anticipation of the grant. After the announcement of the initial

award or renewal, but before the agreement is fully finalized, NUL must expend resources to

prepare for the work required by the grant. In anticipation of beginning a grant, NUL must prepare

to hire staff, build out organizational capacity, adjust organizational priorities, and shift existing

resources to accommodate future work. Because of the Executive Orders, NUL is apprehensive

about planning programming in fear federal funding will be cancelled at any point, like the EPA

grant.

         221. 159. Without the additional support of federal funding, NUL and its local affiliates

would be forced to significantly divert resources. For example, without its current federal funding,

NUL would need to cut staff. Currently, NUL has 39 employees whose positions are paid in part

by federal funding. If NUL no longer qualifies for federal funding, the continued employment of

these federally funded employees is alsowould be at risk.




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         222. 160. Without federal funding and without adequate staffing, NUL would also be

forced to cut community programming and direct assistance to the vulnerable populations it serves.

Cutting NUL’s programming at the local level would have catastrophic consequences across the

300 communities that the affiliate movement serves. Because NUL’s national affiliate movement

allows it to have an especially large impact, it is unlikely that every person seeking these services

will be able to access them elsewhere. Without NUL’s operations, participantsThe people who

cannot will likely be pushed further into poverty. BecauseSince many of NUL’s federally funded

programs target people of color, the loss of these services at the community level will

disproportionately impact Black people and other historically underserved groups.

       B. The Executive Orders and Related Agency Action Irreparably Harm
              NFHA.

       161. NFHA’s mission is to promote and to assist its members in promoting, residential

integration and combat discrimination in housing based on race, national origin, disability, sex,

religion, familial status, source of income, and other protected statuses covered by federal, state,

and local fair housing laws, including the federal Fair Housing Act. NFHA recognizes the

importance of home as a component of the American Dream and aids in the creation of diverse,

barrier-free communities throughout the nation. Specifically, NFHA works to eliminate housing

discrimination and enforce fair housing and fair lending laws to ensure equitable housing

opportunities for all people and communities. NFHA does this work through its education and

outreach, member services, public policy, advocacy, housing and community development,

responsible AI, enforcement, and consulting and compliance programs.

       162. To address the urgent need for fair housing, NFHA’s operating members also conduct

activities to advance fair housing for all and to enforce fair housing and fair lending laws, including

engaging in fair housing advocacy, enforcement, education, and outreach; communicating with



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local community leaders on fair housing rights; and conducting training about fair housing rights

and responsibilities, the harmful effects of segregation, and the need to counteract this historical

practice. One of NFHA’s core activities is to assist its members in accomplishing these tasks in

various ways, including with the provision of technical assistance and training. NFHA and its

members’ educational activities and trainings educate the public on issues concerning fair housing,

racial segregation, the continuing impact of racial segregation on housing in America, the United

States’ history of systemic racism and its continuing effects, explicit and implicit bias, racial

privilege, and the importance of increasing diversity and access to fair housing and high

opportunity neighborhoods for persons impacted by historic and ongoing discrimination in the

housing market, including racial and ethnic minorities, women, LGBTQ people, people with

disabilities, families with children, and others.

       163. NFHA and its members’ education activities and trainings also advocate for fair

housing for the LGBTQ community, such as by providing advocacy around how the Fair Housing

Act protects people against discrimination based on sex, including sexual orientation and gender

identity. The organization is committed to exploring ways to build bridges with organizations that

serve the LGBTQ community and steps that fair housing groups and industry partners can take to

make their workplaces more inclusive of people from the LGBTQ community. For example,

NFHA’s national media campaign in 2021 (which received federal funding) was almost entirely

about discrimination based on LGBTQ status, and NFHA has continued to devote resources to

promote awareness that the Fair Housing Act bars such discrimination. NFHA helped coordinate

a webinar regarding how to investigate such discrimination, and it has included speakers at its

annual conferences from organizations devoted to combatting LGBTQ discrimination in housing.




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       164. To do its broad range of work, NFHA regularly receives funding from the federal

government through contracts and grants. NFHA is set to receive approximately $1.3 million in

the 2024 Fiscal Year and $2.5 million in the 2025 Fiscal Year, which would account for nearly

16.85% of NFHA’s Fiscal Year 2024 annual budget and 27.25% of NFHA’s Fiscal Year 2025

annual budget, respectively. Some of these federal funds are statutorily authorized by, inter alia,

the Housing and Community Development Act of 1987, which created funds for private fair

housing enforcement organizations to help enforce compliance with the Fair Housing Act, 65and

includes requirements that, based on actions thus far, Defendants seem to construe to fall within

the Executive Orders’ rubric of DEIA. When signing this legislation into law, President Ronald

Reagan said it was necessary because “[t]oo often one case is too many               families and

individuals seeking to buy or rent homes still confront bigotry and discrimination. Well, the fair

housing initiative program section of this bill will help ensure that such racism will not be

tolerated.” 66NFHA also intends to apply for future federal funding that is necessary for the

continued viability of its programs.

       165. NFHA programs currently funded by federal contracts or grants include the following.

       166. Fair Housing Initiatives Program (“FHIP”) is a HUD initiative with which NFHA

partners to fund its fair housing enforcement work, which includes investigating and halting

violations of fair housing and anti discrimination laws, recovering compensation for victims of

housing discrimination, and preventing future discriminatory conduct. NFHA has received grants

through this HUD program many times over for several decades. NFHA also receives other types



       65
           President Ronald Reagan, Remarks on Signing the Housing and Community
Development Act of 1987 (Feb. 5, 1988), transcript available at
https://www.reaganlibrary.gov/archives/speech/remarks signing housing and community
development act 1987.
        66
           Id.


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of FHIP grants, including grants to educate the public and to assist in establishing new fair housing

organizations. NFHA has asked OMB if FHIP funding is affected by the Executive Orders but,

thus far, has not received a response.

       167. Cloudburst Consulting Group has a contract with HUD and is subcontracting with

NFHA to provide training to cultivate strong financial management of FHIP fair housing partners

to ensure timely, thorough, and comprehensive financial management and reporting. According

to the work order for this subcontract, “The [training] outline will include a foundation of cultural

competency that addresses the diversity, equity, and inclusion necessary in all fair housing work,

and how to recognize and address individual and collective biases.” HUD issued a stop work order

and the remaining work for the contract was terminated following the Executive Order, even

though the work product already performed (including a training) did not address diversity, equity,

and inclusion.

       168. In addition, NFHA has established a Responsible AI Lab with a focus on equity in

technology concerning human made discrimination that is replicated and embedded in algorithmic

models assessing credit and insurance scoring, underwriting, and pricing models in housing and

financial services. NFHA views developing and advocating for DEIA within automation as part

and parcel of its fight for equitable access to housing opportunities. In June 2023, NFHA produced

industry leading research, including a public joint report with Tech Equity Collaborative about

how technology could add to the history of housing providers “disproportionately screening out

members of a certain group or groups in violation of the Fair Housing Act, Equal Credit

Opportunity Act, or another anti-discrimination law.” 67The report’s overall goal was to “outline



       67
        Hannah Holloway et al., Privacy, Technology and Fair Housing           A Case for
Corporate and Regulatory Action, NFHA 5 (Aug. 22, 2023),



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ethical standards for responsible tech, advance effective policies for regulating AI tools, and

increase diversity and inclusion in the tech field.” 68

        169. As part of its core work to achieve fair housing for all, NFHA regularly holds

conferences, symposia, and speaking events each year where speakers from various backgrounds

present on these aforementioned topics.        Attendees include employees of NFHA members,

representatives from the housing and lending industry, representatives from federal, state, and local

government agencies, and representatives from civil rights organizations. On average, NFHA

conducts at least two such events every year, and in recent years has regularly held more. For

example, in 2024, NFHA held a conference titled “Housing Equity Now: Building an Inclusive

and Just Future,” where member organizations, fair housing advocates, and subject matter experts

from around the country engaged in discussions on a range of fair housing issues. The conference

had panels that highlighted, among other things, the racial wealth gap and large disparities in rates

of homeownership between Black and white families and the connection between housing equity

and principles of diversity, equity, and inclusion. 69

        170. As an organization focused on preventing housing discrimination and providing

underserved populations with equal access to housing opportunities and otherwise working for

equity in the housing and lending markets, NFHA appreciates the importance of embedding DEIA

in everything it does. Therefore, within its own organizational plan, NFHA requires regular




https://nationalfairhousing.org/resource/privacy technology and fair housing a case for
corporate and regulatory
action/?utm_medium=referral&utm_source=TechEquity&utm_campaign=Privacy Housing
Paper.
        68
           Id. at 4.
        69
           Adelaide del Angel, Insights from the 2024 National Fair Housing Alliance
Conference, Open Cmtys. (July 23, 2024), https://www.open communities.org/post/insights
from the 2024 national fair housing alliance conference.


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policies and practices supporting DEIA, including but not limited to training for all staff. For

example, all staff received a three hour training on DEIA at NFHA’s 2022 staff retreat. Before

NFHA’s 2022 annual conference, NFHA provided training for members and staff on how fair

housing organizations can embrace a culture of DEIA and create workplaces where future

generations of fair housing advocates can thrive and be leaders. NFHA also holds education and

outreach events and trainings with other non-profit organizations and housing and lending

stakeholders, including fair housing organizations, academics, think tanks, non profit

organizations, financial services institutions, governmental entities, real estate sales organizations,

and housing and lending industry trade associations on issues of systemic racism, structural

inequities, sexism, unconscious bias, and intersectionality. These events and trainings explain the

continuing significance of residential segregation in many communities; the underlying cause of

racial disparities with respect to arrest and conviction rates; the relationship between segregation

and disparate health, housing, credit, and criminal justice outcomes; and programs and policies

that should be implemented to address continuing racial inequality.

       171. One of NFHA’s primary publications is its annual Fair Housing Trends Report. The

Fair Housing Trends Report describes the universe of fair housing complaints received by private

fair housing organizations and government agencies, broken down by state, protected class, type

of housing or lending transaction, and more. It describes emerging and longstanding issues in fair

housing, covering issues like residential segregation and its intersection with structural inequality,

environmental injustice, criminal injustice, and climate change. The report often also deals with

issues that impact fair housing, such as implicit bias, systemic racism, and sexism, and is used by

a wide group of stakeholders, including NFHA operating members and employees. NFHA’s data,

compiled from private non profit fair housing organizations, HUD, state and local Fair Housing




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Assistance Program agencies, and DOJ, are instructive in educating the public and policy makers

that housing discrimination continues to be a serious problem, it perpetuates racial and ethnic

inequality in communities throughout the nation, and it merits considerably more attention and

remedies.

       172. NFHA also engages in public policy and advocacy around fair housing, the

elimination of discrimination, and the promotion of equitable outcomes in housing and lending.

NFHA’s leadership team testifies before Congress several times a year, and the organization’s

recommendations have helped, for example, usher in new policies at federal agencies to promote

a more fair and inclusive housing finance system.           NFHA advocated for more inclusive

representation in the federal government    such as ensuring that the Federal Reserve Board had its

most diverse slate of nominees, which resulted in the first Black women and first Latina to serve

in the Board’s 109 year history. A major part of NFHA’s public policy advocacy has been to

advocate for explicit protections in the Fair Housing Act to prohibit discrimination on the basis of

sexual orientation, gender identity, and marital and familial status.

       173. Within its own organization, NFHA has a mutual interest with its employees in

ensuring DEIA in its workplace so that all employees, regardless of their race, ethnicity, sex,

gender, sexual orientation, or gender identity, feel welcome and valued. In fact, having a more

diverse and inclusive workplace increases employee satisfaction and productivity, produces

greater innovation and ideas, and helps NFHA better serve its mission overall. NFHA is concerned

that the Executive Orders will have a detrimental impact not only on the communities it serves,

but also on its employees of color, female employees, and LGBTQ employees, who may not be

able to challenge the Executive Orders themselves.




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       174. As a direct result of the Executive Orders, NFHA and its members have experienced

and continue to experience a negative financial impact, a chilling effect on their ability to carry

out core activities, and the need to divert resources to combat these negative effects. NFHA is

concerned that the Executive Orders create a tension in which NFHA must either continue its work

addressing housing discrimination without references to DEIA or any concepts that the Trump

Administration deems to be equivalent      or lose federal funding for all its existing and future

programs. Given those concepts’ inextricable relationship to ending discrimination based on race,

sex, and other protected classes, NFHA is not able to stop engaging in speech about diversity,

inclusion, equity, and accessibility or topics related to these broad concepts          while fully

carrying out its work combating housing discrimination. Effective anti discrimination advocacy

requires discussing the very concepts that the Executive Orders appear to eliminate from the

federal government and the private organizations, like NFHA, that it funds.

       175. NFHA’s viewpoint is that effective enforcement or description of the Fair Housing

Act, Equal Credit Opportunity Act, and other relevant laws is impossible without reference to

many of these terms. If use of such routine terminology of federal law causes grants to be subject

to heightened scrutiny and recipients of federal grants and contracts to be subject to potential

termination, it will be considerably more difficult for NFHA and its members to apply for and

receive federal funding and to carry out core activities in furtherance of their missions. NFHA and

its members will be forced to change the way they discuss these laws, which are central to their

missions, in order to minimize the risk to their federal funding. In fact, NFHA has serious concerns

that the Executive Orders’ reach has been extended broadly to govern core activities in promoting

compliance with and enforcing federal and state fair housing and civil rights laws. On information




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and belief, the Trump Administration may use its attack on DEIA to constrict enforcement of

federal civil rights laws, including the Fair Housing Act.

         176. Every year, there are over 4 million incidents of housing discrimination, with most

going unreported. 70In 2023, private, non profit fair housing organizations, like NFHA, processed

the majority of housing discrimination complaints at 75.52%. Private fair housing agencies like

NFHA serve on the frontlines, guiding everyday individuals and families impacted by unlawful

discrimination to seek the appropriate remedy to their harms. NFHA’s core business activities will

be hindered and its mission will be frustrated if its ability to engage the public and the government

about discrimination is barred, and if it is punished for such speech by a termination of vital federal

funds.

         177. Since January 20, 2025, NFHA’s senior leadership has been spending hours each day

guiding affiliate members who do not know how to interpret the Executive Orders and are hesitant

to continue their work. The resources spent responding to the government’s Executive Orders are

diverted not only from the actual anti discrimination services that NFHA provides across the

country, but also from public education activities about the importance of its fair housing work.

         178. If NFHA cannot continue its work addressing discrimination, bias, and harassment in

all areas of housing, the reluctance of communities of color, women, the LGBTQ community, and

people with disabilities to report the harms they experience will only be exacerbated. By its plain

terms, the Executive Orders threaten to bar enforcement and discussion of the Fair Housing Act

and other civil rights laws that make our country more equitable. If the Executive Order mean




         70
          Janelle Brevard, Housing Discrimination Complaints Continue to Trend Upward,
NFHA (July 10, 2024), https://nationalfairhousing.org/housing discrimination complaints
continue to trend upward/.


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something else, it is not clear, and NFHA has no way of ascertaining whether its grants directly

fall within the category of grants that would be terminated.

       179. On a local level, predatory landlords and organizations engaged in implicit and

explicit bias against various underserved communities will be empowered to continue illegal

discrimination without the enforcement functions that organizations like NFHA and its members

provide in partnership with the federal government. These harms compound other inequities in

accessing fair housing in the United States. For example, in 2022, a record high 22.4 million renter

households were “cost burdened,” meaning they spent more than 30% of their income on rent and

utilities. Black and Latino renters were more likely than white renters to be cost burdened. These

disparities make it more difficult for Black and Latino renters to build wealth and save for down

payments for homeownership. Further, despite important efforts to close racial homeownership

gaps, the white homeownership rate is nearly 67% higher than the Black homeownership rate, 45%

higher than the Latino homeownership rate, and 20% higher than the rate for the Asian American

community.

       180. NFHA has also advocated for the expansion of the Fair Housing Act to explicitly

prohibit discrimination on the basis of sexual orientation, gender identity, marital status, and

source of income. NFHA has taken the position that, following the Supreme Court’s decision in

Bostock, the Fair Housing Act bars housing discrimination based on sexual orientation or gender

identity; accordingly, NFHA and its members have investigated and brought complaints regarding

allegations of such discrimination. NFHA is not certain whether any of this activity falls under

the definition of “gender ideology,” a term that has no established meaning and is not clearly

defined in the Executive Order. On top of the vagueness of the Administration’s use of the term

“gender ideology,” HUD already appears to view the Anti Gender Order as compelling it not to




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enforce existing legal protections for transgender persons. NFHA’s ability to carry out its mission

and core business operations will be adversely affected by this Executive Order if NFHA and its

member organizations must stop promoting fair housing for the LGBTQ community including

by enforcing the Fair Housing Act in accordance with established case law or lose federal

funding.

       181. The Executive Orders interfere with NFHA’s ability to carry out its core business

activities in pursuit of its mission, which is to combat unequal access to housing opportunities.

NFHA’s mission is rooted around the belief that where people live matters because it affects access

to schools, to jobs, to good health, and to everything people need to succeed. NFHA believes that

only by speaking clearly about what has happened to protected classes in the pursuit of housing

can we make progress toward fairer housing markets. Given that NFHA’s core mission is to work

to dismantle illegal, systemic discrimination, Plaintiff NFHA is irreparably harmed by the

Executive Orders.

                2.      C. The Executive Orders and Related Agency Action Irreparably
                        Harm AFCHave Harmed, and Continue to Harm, AFC and the
                        Communities It Serves.

           223. 182. AFC brings together service providers and funders to develop systems that

meet the needs of people living with HIV or AIDS. Since its inception, AFC has led both state

state-wide and city-wide efforts to coordinate essential medical and support services for people

living with HIV/AIDS in Illinois and the greater ChicagolandChicago area. Preventing new cases

of HIV is at the core of AFC’s work.

           224. 183. Every dayyear, AFC supports almost 7,000 people living with or vulnerable to

HIV who need support to achieve their health and life goals. This work includes intentionally

focusing on the communities and populations that are disproportionately impacted by the HIV

epidemic. In Chicago, and across the nation, the populations most impacted by the HIV epidemic


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includeare the Black, Latino, and transgender communities. Currently, of all of the clients in

AFC’s programs, 57.5% are Black, 26.8% are Latino, and 2.5% identify as Indigenous, Asian, or

multicultural. Additionally, 35% of AFC’s clients are gay or lesbian, 7% are bisexual, 1.2% are

queer, and 8.5% are transgender, non-binary, or genderqueer.

        225. 184. AFC is committed to prioritizing marginalized populations that are

disproportionately impacted by social determinants that contribute to health disparities in

HIV/AIDS. HIV and chronic conditions disproportionately impact marginalized populations. As

an organization that has been doing thisHIV-prevention work for 40 years, AFC recognizes that it

will have the greatest impact on the HIV epidemic by focusing its efforts on thosethe people most

impacted by HIV, based on epidemiological data and unmet need: young Black gay and bisexual

men, transgender women of color, Black women living in areas with high diagnoses of HIV, and

Latino gay and bisexual men.

        226. 185. AFC receives a majority of its funding from HHS and HUD. This federal

funding supports a range of critical services, including HIV prevention, treatment, case

management, and supportive housing programs for people living with HIV.

        227. 186. Specifically, AFC receives federalHHS grants through from various HHS

agencies—the CDC, the NIH, HRSA, and the ACL, —and through the 340B Drug Discount

Program.    Additionally, AFC administers federal pass-through funding from the Illinois

Department of Public Health (IDPH) and the Chicago Department of Public Health (CDPH).

        228. 187. AFC also receives HUDfederal funding through theHUD’s Housing

Opportunities for Persons with AIDS (“HOPWA”) program, which supports rental subsidies,

permanent supportive housing, and homelessness prevention services for individuals living with

HIV.




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            229. 188. Federal funding accounts for approximately 83.4% of AFC’s total budget    ,

amounting to $34.8 million annually. The loss of this funding would force AFC to cease

operations, eliminatingwhich would eliminate services for nearly 7,000 people annually, including

1,300 households currently receiving housing assistance.

            230. AFC has already begun experiencing irreparable harm from the Executive Orders.

First, the lack of clear guidance from federal agencies on what the Executive Orders prohibit has

created confusion, fear, and instability among AFC service providers, funders, and community

partners.

            231. 189. Second, AFC has been harmed by government suspension of its funding in

response to the Executive Orders. On January 28, 2025, AFC attempted to draw down federal

grant funds to continue providing housing and case management services, but it was unable to

process the request due to a federal administrative lock on funds. AFC was subsequently able to

draw down on funds the following week after a TRO was issued against the Administration’s

freeze.

          190. AFC plays a key role in coordinating case management for over 30 Chicago based

organizations serving people living with HIV. As part of this effort, AFC trains approximately

160 case managers across 31 agencies, equipping them to provide trauma informed, culturally

competent services tailored to Black, Latino, and transgender communities who are

disproportionately affected by HIV.

            232. 191. AFC’s Welcome Home Program has been directly affected by the funding

freeze. AFC’s Welcome Home program helps people living with HIV who are leaving prison or

jail to connect with stable housing. Transgender women are disproportionately represented in this

population. Homelessness is extremely high among transgender people; a 2024 CDC report




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indicated that 31% of transgender people in one survey reported being unhoused for up to 11

months in the previous year.7178 The program’s ability to offer gender-affirming housing and

healthcare referrals is now in jeopardy.

         233. 192. AFC’s Women’s Connection Program, which provides HIV services tailored

to Black cisgender and transgender women, has also been disrupted. This initiative focuses on

domestic violence advocacy, healthcare access, and economic stability, all of which require

cultural competency training and service delivery that the Executive Orders now threaten.

         234. 193. AFC’s ability to train case managers and service providers in cultural

competency, trauma-informed care, and gender-affirming practices is now in question, further

exacerbating existing health disparities. AFC plays a key role in coordinating case management

for over 30 Chicago-based organizations serving people living with HIV. As part of this effort,

AFC trains approximately 160 case managers across 31 agencies, equipping them to provide

trauma-informed, culturally competent services tailored to Black, Latino, and transgender

communities who are disproportionately affected by HIV.

         235. 194. TheA further loss of federal funding would not only harm AFC’s ability to

provide direct services, but would also impair AFC’s ability to engage in critical public health

advocacy. This advocacy includes ongoing work with the Illinois Getting to Zero initiative, a

statewide effort to end the HIV epidemic by 2030.

         236. 195. AFC has also been harmed by the Executive Orders’ restrictions on its speech

and activity. The Executive Orders limit federal data collection on gender identity, making it




       7178
           Ruthanne Marcus et al., Transgender Women Experiencing Homelessness —
National HIV Behavioral Surveillance Among Transgender Women, Seven Urban Areas, United
States, 2019–2020, CDC (Jan. 25, 2024),
https://www.cdc.gov/mmwr/volumes/73/su/su7301a5.htm?s_cid=su7301a5_w.


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impossible for AFC to track and respond to public health crises affecting marginalized populations.

Without access to federal funding for data collection, AFC will not be able tocannot identify

emerging HIV outbreaks, develop targeted testing initiatives, or implement effective prevention

strategies.

         237. 196. The Executive Orders also prevent AFC from acknowledging or addressing

transgender health disparities in HIV populations, forcing AFC to violate best practices in HIV

prevention and care. For example, transgenderTransgender women in the United States have a

21.6% HIV prevalence rate, which is exponentially higher than for other populations. Culturally

competent services are essential for increasing engagement in HIV care and achieving viral

suppression in this population. The Anti-Gender Order’s repudiation of “gender identity” and

prohibition of the promotion of “gender ideology” directly impedes Plaintiff AFC’s mission as an

HIV services organization by preventing it from effectively serving the transgender community—

a group disproportionately impacted by HIV.

         238. 197. TheMost notably, the Anti-Gender Order’s language preventing recipients of

federal funds from even acknowledging the existence of transgender people renders it impossible

for Plaintiff AFC to provide culturally competent and affirming services, including targeted HIV

prevention, testing, and treatment, and housing services that are critical for transgender people.

         239. 198. For example, AFC must refer transgender people to healthcare providers who

have received transgender cultural competency training and medical training in providing

healthcare services to transgender people.         Medical providers make transgender clients

comfortable with disclosing their transgender status through actions like using their chosen name

and correct pronouns. If transgender people do not disclose their transgender status, important




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health conditions could be missed; for example, older transgender women who have prostates need

regular screening to detect cancer. When identifying housing for

         240. transgender people, AFCIn addition, AFC must consider transgender status when

assisting clients with finding housing. AFC staff must take into account the need for transgender

people to be placed in neighborhoods where they will be safe, since “transgender[t]ransgender

people are over four times more likely than cisgender people to experience violent

victimization.”7279

         241. 199. By forcing recipients of federal funds, including Plaintiff AFC, to omit

essential aspects of transgender identity in outreach, programming, and services, the Anti-Gender

Order not only undermines Plaintiff AFC’s mission to combat HIV among vulnerable populations,

but also contributes to further marginalization of a community already facing significant health

disparities. The percentage of transgender women who are virally suppressed is 67%,7380 which

is far lower than the 90% rate that AFC achieves among people living with HIV who are receiving

case management funded by the Ryan White Program.

         242. 200. The Executive Orders also jeopardize AFC’s life-saving programs for people

with HIV by banning any reference to systemic racism, gender bias, or LGBTQ discrimination in

federally funded trainings, service delivery, and public health outreach. As a result, AFC’s core

programming is now in direct conflict with federal funding restrictions.




       72
           Andrew R. Flores et al., Gender Identity Disparities in Criminal Victimization:
National Crime Victimization Survey, 2017 2018, Am. J. of Pub. Health79 Press Release, UCLA
Williams Institute, Transgender People Over Four Times More Likely Than Cisgender People
To Be Victims of Violent Crime (Mar. 23, 2021),
https://williamsinstitute.law.ucla.edu/press/ncvs-trans-press-release/.
        7380
             Jeffrey S. Becasen et al., HIV Care Outcomes Among Transgender Persons with HIV
Infection in the United States, 2006–2021, Nat’l Library of Med. (Feb. 1, 2022),
        https://pmc.ncbi.nlm.nih.gov/articles/PMC10680039/.


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         243. 201. AFC’s ability to fulfill its mission, which is to mobilize communities to create

equity and justice for people living with and vulnerable to HIV, is now under direct threat because

of the Executive Orders. Without immediate intervention, AFC will be forced to scale back or shut

down vital programs, leaving thousands of people without essential HIV care and housing services.

       202. AFC has already begun experiencing irreparable harm due to the Executive Orders

and the subsequent federal funding freeze. The lack of clear guidance from federal agencies has

created confusion, fear, and instability among service providers, funders, and community partners.

         244. 203. AFC cannot comply with the Executive Orders without fundamentally

undermining its mission. The forced elimination of DEI-related programming would result in the

loss of life-saving services for Black, Latino, and transgender communities, worsening health

disparities that AFC has spent decades working to reduce.

         245. AFC faces constant uncertainty because the government has provided no clear

guidance on how exactly to comply with vague mandates prohibiting the promotion of “gender

ideology.” This lack of clarity creates ongoing anxiety and operational disruption. AFC remains

under persistent threat that HUD could arbitrarily cancel its housing grants at any time, disrupting

services for 512 clients who depend on stable housing to maintain their health.

         246. Compliance pressures have forced AFC to consider stopping certain types of

critical services or altering service documentation, such as referrals to gender-affirming medical

care, significantly risking adverse health outcomes for vulnerable transgender clients. AFC’s

leadership has articulated that these Executive Orders threaten their core mission by potentially

removing the critical support structures needed for client health and safety. Thus, the federal

government’s attempt to silence HIV service providers like AFC is not just unconstitutional; it is

potentially deadly.




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          204. The federal government’s attempt to silence HIV service providers is not just

unconstitutional; it is deadly. AFC cannot be silent in the face of policies that jeopardize the health

and safety of the communities it serves.

VII. THE EXECUTIVE ORDERS ARE DISCRIMINATORY.

          205. During these early days of his second administration, President Trump is devoting

substantial federal resources to attacking and eliminating DEIA programs. President Trump was

vociferous in his opposition to the increased focus on diversity, equity, and accessibility in the

aftermath of George Floyd’s killing and the ensuing mass demonstrations against anti Black

racism.        That discriminatory sentiment    to oppose efforts to eradicate systemic racial

discrimination suffered by Black people in the United States      motivated the issuance of the Anti

Diversity1 and Anti Diversity2 Orders.

          206. In May 2025, the world watched in horror as video footage showed George Floyd cry

for help and ultimately die while former Officer Derek Chauvin kneeled on his neck. In the weeks

following George Floyd’s killing, 15 26 million people in 4,700 demonstrations across the United

States protested against anti Black racism and police violence. 74Outrage spread worldwide, as tens

of thousands of protesters marched against structural racism in cities across the globe. At the

height of the largest movement, half a million people in the United States marched in 550 locations

on a single day      June 6, 2020. 75In addition, over 170 Confederate symbols       which have long




          74
          John Eligon, Black Lives Matter Has Grown More Powerful, and More Divided, N.Y.
Times (June 14, 2021), https://www.nytimes.com/2021/06/04/us/black lives matter.html.
       75
          Larry Buchanan et al., Black Lives Matter May Be the Largest Movement in U.S.
History, N.Y. Times (July 3, 2020), https://www.nytimes.com/interactive/2020/07/03/us/george
floyd protests crowd size.html.


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been associated with the enslavement of Black people in the United States       were removed from

public spaces or renamed. 76

       207. Public acknowledgment of anti Black racism and the urgent need to remedy its

ongoing harms proliferated in the private sector. Professional sports associations like the National

Football League and NASCAR voiced their support for Black Lives Matter 77and the need to

remedy anti-Black racism nationwide. Numerous corporations expressed support for racial justice

protesters, their own Black employees, and the Black community writ large, as well as the urgent

need to eradicate racism. 78In the midst of this climate, jobs related to the pursuit of DEIA rose by

55% between June and August 2020.

       208. In the midst of the widespread support for eradicating anti Black racism, President

Trump made his disdain for that effort clear. On July 3, 2020, in response to protests against

monuments of men who enslaved Black people, President Trump signed an Executive Order to re

erect monuments of these men in a National Garden of American Heroes. 79On September 17,

2020, President Trump hosted the inaugural White House Conference on American History, where

he maligned Critical Race Theory and The 1619 Project       the New York Times’ historical account



       76
           Damien Cave et al., Huge Crowds Around the Globe March in Solidarity Against
Police Brutality, N.Y. Times (June 9, 2020),
https://www.nytimes.com/2020/06/06/world/george floyd global protests.html; see also Alan
Taylor, The Statues Brought Down Since the George Floyd Protests Began, Atlantic (July 2,
2020), https://www.theatlantic.com/photo/2020/07/photos statues removed george floyd
protests-began/613774/.
        77
           Tonya Pendleton, NASCAR stands for ‘Black Lives Matter’ in video, The Grio (June 8,
2020), https://thegrio.com/2020/06/08/nascar black lives matter/; Mark Maske and Adam
Kilgore, What made Roger Goodell say ‘Black Lives Matter’ and where it leaves the NFL, Wash.
Post (June 6, 2020), https://www.washingtonpost.com/sports/2020/06/06/roger goodell black
lives-matter/.
        78
           Tiffany Hsu, Corporate Voices Get Behind ‘Black Lives Matter’ Cause, N.Y. Times
(May 31, 2020), https://www.nytimes.com/2020/05/31/business/media/companies marketing
black lives matter george floyd.html.
        79
           Exec. Order No. 13934, 85 C.F.R. 41165 (2020).


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of American slavery and the contributions of Black Americans      as “crusade[s] against American

history,” “toxic propaganda,” and “ideological poison that, if not removed, [would] . . . destroy

our country.” 80During his remarks, President Trump explained that this was why he “banned

trainings in this prejudiced ideology from the federal government and banned it in the strongest

manner possible.”

       209. Three days later, on September 22, 2020, President Trump issued an Executive Order

titled “Executive Order on Combating Race and Sex Stereotyping” (“EO 13950”), which

prohibited federal contractors and grantees from engaging in certain speech activities related to

what the Executive Order labeled “divisive concepts.” 81Many of the so called “divisive concepts”

pertained to systemic race and gender inequalities and/or efforts to acknowledge and remedy them.

       210. As President Trump explained in a tweet, “A few weeks ago, I BANNED efforts to

indoctrinate government employees with divisive and harmful sex and race based ideologies.

Today, I’ve expanded that ban to people and companies that do business . . . with our Country, the

United States Military, Government Contractors, and Grantees. Americans should be taught to

take PRIDE in our Great Country, and if you don’t, there’s nothing in it for you!” 82

       211. When issuing EO 13950, President Trump presented an inaccurate narrative of

American history that minimized the outsized role of slavery, Jim Crow laws, and white supremacy

in the United States, thereby minimizing the ongoing harms and disadvantages to Black people




       80
            Remarks by Donald J. Trump at a White House Conference on American History (Sept.
17, 2020), https://www.govinfo.gov/content/pkg/DCPD 202000691/pdf/DCPD 202000691.pdf.
         81
            Exec. Order 13950, Combating Race and Sex Stereotyping, 85 Fed. Reg. 60683 (Sep.
22, 2020).
         82
            Donald J. Trump (@realDonaldTrump), Twitter (Sept. 22, 2020, 6:53 PM),
https://twitter.com/realDonaldTrump/status/1308539918075883523; Donald J. Trump
(@realDonaldTrump), Twitter (Sept. 22, 2020, 6:53 PM),
https://twitter.com/realDonaldTrump/status/1308539921829781504.


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that remain unremedied. For example, in refusing to acknowledge the significant role of slavery

and white supremacy in the founding of the United States, EO 13950 pronounced that it was the

“belief in the inherent equality of every individual that inspired the Founding generation to risk

their lives, their fortunes, and their sacred honor to establish a new Nation . . . .” 83This ahistorical

narrative continued in EO 13950’s assertion that the “racialized views of America” that “were

soundly defeated on the blood-stained battlefields of the Civil War” were likewise “rejected” by

our “Founding documents.” Id.

        212. On October 8, 2020, in a sweeping action expanding the reach of EO 13950, Assistant

Attorney General Lee Lofthus ordered DOJ leaders to suspend not only DEIA trainings, but also

any related “programs, activities, and events.” 84A week later, during the first debate for the 2020

presidential elections, President Trump was asked why he ended “racial sensitivity training that

addresses white privilege or Critical Race Theory,” and he responded, “I ended it because it’s

racist . . . [t]hey were teaching people to hate our country, and I’m not going to . . . allow that to

happen.” 85

        213. Only two months after President Trump issued EO 13950, a federal district court, in

Santa Cruz Lesbian and Gay Community Ctr. v. Trump, No. 20-CV-7741 (N.D. Cal.), enjoined its

enforcement, concluding that the plaintiffs were likely to succeed in showing that it violated their

rights to free speech under the First Amendment and due process under the Fifth Amendment. See

Santa Cruz, 508 F. Supp. 3d 521 (N.D. Cal. 2020). The plaintiffs in Santa Cruz were federal



        83
           EO 13950 § 1.
        84
           Katie Benner, Justice Dept. Suspends All Diversity and Inclusion Training for Staff,
N.Y. Times (Oct. 9, 2020), https://www.nytimes.com/2020/10/09/us/politics/justice-department-
diversity training.html.
        85
           PBS NewsHour, WATCH: Biden urges unity to ‘defeat racism’; Trump decries racial
sensitivity training, YouTube (Sept. 29, 2020),
https://www.youtube.com/watch?v=pqGyzLjXfjo.


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contractors and grantees, including AFC, who were at risk of losing federal funding because their

mission driven work required them to engage in speech and expression acknowledging that race

and gender inequalities created barriers to accessing quality health care services for people of color

and LGBTQ individuals, and related health disparities.

       214. Multiple federal courts have found state laws with prohibitions that are similar to EO

13950 violative of the First Amendment and/or the Fourteenth Amendment’s Due Process

Clause. 86Upon information and belief, no federal court has affirmed the legality of state

governmental restrictions similar to EO 13950.

       215. President Trump continued to condemn “diversity, equity, and inclusion” programs

and activities during his campaign for a second term in office. For example, on December 21,

2024, at Turning Point’s AmericaFest 2024 conference, President Trump stated, “I’ll end all of the

Marxist diversity, equity, and inclusion policies across the entire federal government immediately.

And at the same time, we will ban these unlawful policies from . . . the private sector as well.” 87

       216. Contrary to President Trump’s characterization of DEIA policies as “illegal,” federal

agencies have affirmed their legality.       For example, 2006 guidance from the U.S. Equal

Employment Opportunity Commission (which remained in effect during President Trump’s first

administration) states that “Title VII permits diversity efforts designed to open up opportunities to




       86
            See, e.g., Honeyfund.com, Inc. et al. v. DeSantis et al., 622 F. Supp. 3d 1159 (N.D. Fla.
2022), aff’d, 94 F.4th 1272 (2024); Pernell et al. v. Fla. Bd. of Governors of the State Univ.
System et al., 641 F. Supp. 3d 1218 (N.D. Fla. 2022), appeal docketed, Pernell v. Lamb, No. 22
13992 (11th Cir.); Black Emergency Response Team et al. v. Drummond et al., 737 F. Supp. 3d
1136 (W.D. Okla. 2024), appeal docketed, No. 24 6139 (10th Cir.); Local 8027 et al. v. Edelblut
et al., No. 21-CV-1077-PB, 2024 WL 2722254 (D.N.H. May 28, 2024), appeal docketed, No.
24 1690 (1st Cir.).
         87
            Trump Remarks at Turning Point’s AmericaFest 2024 (Transcript), Sinju Post (Dec.
23, 2024), https://singjupost.com/trump remarks at turning points americafest 2024
transcript/?singlepage=1.


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everyone.” 88Moreover, in January 2023, the U.S. Department of Education issued guidance,

stating that “[a]ctivities intended, in whole or in part, to further objectives such as diversity, equity,

accessibility, and inclusion are not generally or categorically prohibited under Title VI.” 89

        217. President Trump issued the Executive Orders during the first week of his second

administration    some on his very first day. By issuing the Anti Diversity1 and Anti Diversity2

Orders, President Trump effectuated his long-held intent to eradicate policies and programs

many initiated in response to George Floyd’s killing and the ensuing racial justice

demonstrations     that aim to dismantle longstanding inequalities for Black people.

        218. DEIA has been used often as a proxy for race, and the contention that DEIA results in

“racial preferences” for “unqualified” people is a common trope to disparage Black candidates.

Thus, the false presumption that DEIA and merit are mutually exclusive perpetuates pernicious

racial stereotypes of Black people that have been used to justify their exclusion and

underrepresentation.

        219. The false assumption that Black people lack merit fails to acknowledge the present

day discrimination that prevents qualified Black candidates from having equal opportunities             a

form of racial discrimination that is well-documented.            For example, from 2019 to 2021,

researchers sent 80,000 resumes to apply for 10,000 jobs using resumes with equivalent

qualifications, but applicants’ names were changed to suggest that they were white or Black, and




        88
           U.S. Equal Emp. Opportunity Comm’n, Section 15 Race and Color Discrimination, in
Directives Transmittal: (EEOC No. 915.003) 15 31 (2006),
https://www.eeoc.gov/sites/default/files/migrated_files/policy/docs/race-color.pdf.
        89
           Office for Civil Rights, U.S. Dep’t of Educ., Fact Sheet: Diversity & Inclusion
Activities Under Title VI 1 (Jan. 2023),
https://www.ed.gov/sites/ed/files/about/offices/list/ocr/docs/ocr factsheet tvi dia
202301.pdf?utm_content=&utm_name=&utm_term=.


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male or female. 90The research found that several companies asked to interview applicants with

Black or female names significantly less frequently than white and male applicants with equivalent

qualifications. Even increasing the qualifications of the Black applicants to be more meritorious

than the white applicants did not help they were still less likely to be called back than less

qualified white applicants. 91

       220. The racially biased stereotype of Black people being unqualified and lacking merit is

reflected in the Anti Diversity2 Order’s official title: “Ending Illegal Discrimination and Restoring

Merit Based Opportunity.” The Order perpetuates this stereotype by stating, “Illegal DEI and

DEIA . . . deny, discredit, and undermine the traditional American values of hard work, excellence,

and individual achievement in favor of an unlawful, corrosive, and pernicious identity based spoils

system. Hardworking Americans who deserve a shot at the American Dream should not be

stigmatized, demeaned, or shut out of opportunities because of their race or sex.” 92

       221. By inaccurately concluding that DEIA denies “merit based opportunities,” the Anti

Diversity2 Order refuses to acknowledge barriers to opportunities for Black people that have no

bearing on their qualifications or merit. The Trump Administration starts from the false premise

that there are no existing racial inequalities. With this false premise in place, it characterizes as

discriminatory any effort to mitigate the racial inequalities that exist through DEIA.

       222. The Anti Diversity1 and Anti Diversity2 Orders claim to be enforcing federal civil

rights and anti discrimination laws    and thus barring “illegal” DEIA but that claim does not




       90
           Claire Cain Miller & Josh Katz, What Researchers Discovered When They Sent 80,000
Fake Resumes to U.S. Jobs, N.Y. Times (Apr. 8, 2024),
https://www.nytimes.com/2024/04/08/upshot/employment discrimination fake
resumes.html?searchResultPosition=1.
        91
           Id.
        92
           Anti Diversity2 Order § 1.


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mitigate the Orders’ intent to discriminate; rather, it amplifies it. In addition to the substantial

departures from the usual procedures to issue executive orders, see supra Section III, the Anti

Diversity1 and Anti Diversity2 Orders take the unusual stance of presuming       without evidence

the illegality of DEIA programs and circumventing the normal process of investigating and

litigating claims of civil rights violations.

        223. It is the greatest irony that Black people, for whom many of our anti-discrimination

laws were enacted to benefit, have the heavy burden of actually proving racial discrimination,

despite irrefutable evidence that racial inequalities persist in virtually every sector of American

life. Yet, the Trump Administration presumes racial discrimination against white people and is

using the power and resources of the federal government to launch a full scale assault on DEIA

not only within federal agencies, but throughout the private sector as well.

        224. Notably, the Executive Orders and subsequent DOJ memoranda contemplate possible

investigations   both civil and criminal        of DEIA. Upon information and belief, the Trump

Administration has not issued similar plans to use comparable federal resources to investigate and

prosecute racial discrimination against Black people or other people of color.

        225. The Anti-Diversity1 Order’s rescission of Executive Order No. 11246 further

demonstrates the Trump Administration’s disregard of, and hostility towards, proactive efforts to

eradicate racial inequalities. In 1965, during the height of the Civil Rights Movement, President

Lyndon B. Johnson issued Executive Order No. 11246 to prohibit employment discrimination

based on race, color, religion, and national origin by recipients of federal contracts and

subcontracts and required affirmative action programs. Issued in the wake of the passage of Title

VII of the Civil Rights Act of 1964, Executive Order No. 11246 intended to address entrenched




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and rampant unemployment and income inequality that disproportionately harmed Black people,

as well as people of other racial, ethnic, religious, and national origin groups in the United States. 93

          226. President Trump rescinded Executive Order No. 11246 despite stark evidence of

persistent inequality in employment opportunities based on race. By rescinding this longstanding

executive order, President Trump signaled his intent to prevent targeted efforts to help workers,

who are underrepresented due to persistent discrimination and other unfair barriers, access equal

employment opportunities. That intent is embodied in the Anti Diversity1 and Anti Diversity2

Orders.

          227. The Anti Diversity1 and Anti Diversity2 Orders’ disproportionate harm to Black

people and other people of color is evident from Plaintiffs’ injuries. All of Plaintiffs’ mission

driven work benefits Black people and other people of color, who are disproportionately harmed

by the racial wealth and income gap, lack of access to fair and adequate housing, and the

HIV/AIDS epidemic. See supra Section VI. By delegitimizing DEIA efforts to help Black people

and other people of color, and rendering those efforts illegal, the Anti Diversity1 and Anti

Diversity2 Orders necessarily harm them.

          228. While the Anti-Diversity1 and Anti-Diversity2 Orders were issued with the intent to

discriminate against Black people on the basis of race, the functional operation of the Orders

classifies benefits and harms by race and sex so that all people of color, as well as women and

LGBTQ people, are harmed by their prohibitions. At a minimum, the Anti Diversity1 and Anti

Diversity2 Orders were crafted to disproportionately benefit people of a particular race (white

people) while disproportionately harming people of another race (Black people, Indigenous



          93
          Heather Timmons, Why LBJ signed executive order 11246 that Trump rescinded,
Reuters (Jan. 23, 2025), https://www.reuters.com/world/us/why president johnson signed
executive order 1965 that trump rescinded 2025 01 23/.


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people, Latino people, and Asian American people, among others). The Anti-Diversity1 and Anti-

Diversity2 Orders additionally benefit people of a particular sex, sexual orientation, and gender

identity (men, cisgender people, and heterosexual people), while disproportionately harming

people of other sexes, sexual orientations, and gender identities (e.g., women, transgender people,

lesbian, and gay people).

       229. People harmed by the Anti-Diversity1 and Anti-Diversity2 Orders       people of color,

women, and LGBTQ people are the same people who face discrimination and other unfair

disadvantages that prevent them from equal opportunities. The Orders, therefore, aim to eliminate

policies, programs, and activities that aimed to benefit people of color, women, and LGBTQ

people by increasing their diversity and inclusion in the workforce, housing, and healthcare,

remedying the inequity of any unfair barriers to their access to resources or opportunities, and

ensuring their full inclusion in economic and educational spaces.

       230. Finally, the Anti Gender Order’s express terms, which seek to erase and remove

transgender people from public life, see supra Section I.C., unequivocally establish sex based

discrimination and unlawful animus.

                                    CLAIMS FOR RELIEF

                             FIRST CLAIM FOR RELIEF
                        VIOLATION OF THE FIRST AMENDMENT

                            Violation of the First Amendment
                (Viewpoint and Content Discrimination and Chilled Speech)

 (Plaintiff NUL as to Defendants Trump, Kennedy, Jr., MiconeChavez-DeRemer, Lutnick,
  Turner, Monarez, Bondi, Rollins, Zeldin, Vought, SchlossEschbach, HHS, DOL, DOC,
                    HUD, CDC, DOJ, USDA, EPA, OMB, and OFCCP)

  (Plaintiff NFHA as to Defendants Trump, Turner, Bondi, Vought, Schloss, HUD, DOJ,
                                  OMB, and OFCCP)




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        (Plaintiff AFC as to Defendants Trump, Kennedy, Jr., Turner, EspinosaEngels,
 Monarez, Memoli, NichollsBhattacharya, Lazare, Bondi, Vought, SchlossEschbach, HHS,
                HUD, HRSA, CDC, NIH, ACL, DOJ, OMB, and OFCCP)

          247. 231. Plaintiffs repeat and incorporate by reference each and every allegation

contained in the preceding paragraphs as if fully set forth herein.

          248. All Plaintiffs state this cause of action against all Defendants and challenge the

Executive Orders and any agency action seeking to implement the Executive Orders both facially

and as applied.

          249. 232. Plaintiffs’ claim for relief arises from the principle of non-statutory review to

enjoin Executive Officers and Departments from seeking to enforce illegal, ultra vires Presidential

action.

          250. 233. The First Amendment provides that the government “shall make no law . . .

abridging the freedom of speech.” U.S. Const. amend. I.

          251. 234. The First Amendment provides strong protection against government attempts

to control the topics discussed—and even more so, the views expressed—in public discourse. As

the Supreme Court has put it, “If there is any fixed star in our constitutional constellation, it is that

no official, high or petty, can prescribe what shall be orthodox in politics, nationalism, religion, or

other matters of opinion.” W. Va. State Bd. of Educ. v. Barnette, 319 U.S. 624, 642 (1943).

Accordingly, laws that restrict speakers from expressing certain viewpoints are a “blatant” and

“egregious” form of government speech control that is “presumed to be unconstitutional.”

Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S. 819, 828–29 (1995); see also id. at 828

(“It is axiomatic that the government may not regulate speech based on its substantive content or

the message it conveys.”).

          252. 235. Plaintiffs engage in speech and advocacy to combat systemic racism, sexism,

and anti-LGBTQ discrimination and to advance equity. Such speech and advocacy constitute core


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political speech that is critical to their missions and necessary to effectively provide their services.

Plaintiffs wish to continue engaging in such speech and advocacy.

         253. 236. Plaintiffs engage in such speech and advocacy in multiple ways. They conduct

certain training offor their own staff, the staff of other federally funded entities, and others on

topics relating to implicit bias, health disparities, and the needs of specific communities they serve.

They do not conduct these trainings on behalf of the government itself, but for their own

employees, their clients, or the populations they serve. They receive federal funding both directly

and indirectly, including through other federal contractors and grantees. TheyPlaintiffs also

perform outreach to populations that experience systemic obstacles to accessing medical care,

housing, and other services, including through systemic racism, sexism, and anti-transgender bias.

Plaintiffs’ decision to conduct trainings that advance DEIA and acknowledge the personhood of

transgender people constitutes protected First Amendment activity, as does their decision to

perform outreach and acknowledge and address these issues in the provision of their services.

         254. 237. The purpose and effect of the Executive Orders is to suppress constitutionally

protected First Amendment activity by targeting specific content and viewpoints through a range

of mechanisms. The Executive Orders endorse idiosyncratic, fringe, unscientific, and counter-

factual viewpoints with respect to (among other things) the purpose and effect of DEIA programs;

the continued existence of systemic obstacles to equality for members of populations that have

historically experienced discrimination historically; whether discrimination against these

populations continues to the present day; whether advocating for an end to such discrimination

and related disparities is a worthy exercise; whether transgender people even exist; and the legal

landscape surrounding enforcement of civil rights laws.




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         255. 238. Defendants then use the Executive Orders to engage in impermissible

viewpoint and content discrimination by penalizing Plaintiffs’ speech that expresses a contrary

viewpoint to that of the government, including Plaintiffs’ core protected speech.

         256. 239. The Executive Orders penalize Plaintiffs for engaging in protected First

Amendment activity on topics disfavored by the Administration, primarily by leveraging the

federal funding that is key to theirPlaintiffs’ ability to operate and execute their missions.

         257. The Anti-Diversity1 Order requires agencies to terminate “equity-related” grants.

         258. 240. The Executive Orders further require agencies to terminate equity related

grants and ensureAnti-Gender Order ensures that no federal funding goes to grantees or contractors

for the promotion of an understanding that transgender people exist.

         259. 241. The Anti-Diversity2 Order imposes coercive funding conditions that

weaponize the False Claims Act (31 U.S.C. §§ 3729 et seq.) to deter protected speech and

expression related to DEIA. See, e.g., Anti-Diversity2 Order § 3(b)(iv)(A).

         260. 242. Section 3(b)(iv)Specifically, the Certification Provision of the Anti-Diversity2

Order requires that all federal contracts and grants include a provision certifying that recipients do

not engage in DEI activities that violate civil rights laws. Given the racially coded, vague and

undefined nature of the Trump Administration use of the term “illegal DEI,” this condition creates

a coercive and unconstitutional chilling effect by forcing federal grantees and contractors to either

self-censor or risk prosecution under the False Claims Act.

         261. 243. The threat of civil investigations, potential False Claims Act liability, and the

risk of funding termination restricts Plaintiffs and other non-profit organizations from advocating

for racial, gender, and LGBTQ equality.




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          262. 244. TheseThe penalties and threats to funding set forth above are intended to chill

the Plaintiffs from engaging in speech and related advocacy central to their missions and to coerce

them to refrain from engaging in services and research essential to the health and welfare of the

populations they serve.

          263. 245. Discrimination against speech based on its content and viewpoint is a violation

of the First Amendment. Efforts to suppress speech based on the government’s opposition to the

speaker’s view are unconstitutional.

          264. 246.   Further,   viewpoint   and      content   discrimination   are presumptively

unconstitutional, requiring the government to justify its discrimination.

          265. 247. The government is unable to circumvent these First Amendment protections

by acting through private, third parties or conditioning government spending on restrictions to

speech.

          266. 248. Here, the Executive Orders and any related federal policy and directives

violate the Free Speech Clause of the First Amendment in at least four respects.

          267. 249. First, Defendants’ threats under the Executive Orders and any related federal

policy directives impermissibly burden and chill Plaintiffs’ exercise of constitutionally protected

speech, expression, and expressive conduct based on the content and viewpoint of their speech.

          268. 250. Second, Defendants intend the Executive Orders and any related federal policy

directives to coerce Plaintiffs to adopt, endorse, and comply with the government’s own viewpoint

as if it were their own. The forced-choice framework imposed by the Executive Orders is to

comply with viewpoint-based restrictions or lose federal funding. Plaintiffs are being forced to

either abandon their missions or risk financial ruin, effectively silencing advocacy for racial

justice, LGBTQ rights, and public health protections.




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          269. 251. Third, as to those plaintiffs who refuse to be chilled or coerced to comply with

the government’s favored viewpoint, the Executive Orders and any related federal policy directives

discriminate against them for engaging in protected speech and expression of their own viewpoint.

Here, the Executive Orders and related actions make clear that they have the purpose of rooting

out views about DEIA that the Administration disagrees with and replacing them with its own.

The Executive Orders achieve that speech-restrictive purpose by chilling speech through multiple

mechanisms.

          270. 252. Fourth, the Executive Orders and any related federal policy directives impose

an unconstitutional condition on Congressionalcongressional funding by requiring Plaintiffs, as a

condition of receiving public grants and contracts to relinquish their First Amendment rights of

free speech by refraining from speaking on a certain subject, i.e., DEIA. The Executive Orders

are a mandate spun from whole cloth that is antithetical to the federal interests and goals of the

programs.

          271. 253. The government lacks even a legitimate justification for its viewpoint and

content restrictions, let alone the compelling one required here.

          272. 254. The Executive Orders inflict current, direct First Amendment injury on

Plaintiffs. Further, Plaintiffs face a realistic danger of sustaining ongoing and future injuries in the

future.




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                       SECOND CLAIM FOR RELIEF
        VIOLATION OF THE FIFTH AMENDMENT - VOID FOR VAGUENESS

                    Violation of the Fifth Amendment - Void For Vagueness

 (Plaintiff NUL as to Defendants Trump, Kennedy, Jr., MiconeChavez-DeRemer, Lutnick,
  Turner, Monarez, Bondi, Rollins, Zeldin, Vought, SchlossEschbach, HHS, DOL, DOC,
                    HUD, CDC, DOJ, USDA, EPA, OMB, and OFCCP)

  (Plaintiff NFHA as to Defendants Trump, Turner, Bondi, Vought, Schloss, HUD, DOJ,
                                  OMB, and OFCCP)

 (Plaintiff AFC as to Defendants Trump, Kennedy, Jr., Turner, EspinosaEngels, Monarez,
   Memoli, NichollsBhattacharya, Lazare, Bondi, Vought, SchlossEschbach, HHS, HUD,
                    HRSA, CDC, NIH, ACL, DOJ, OMB, and OFCCP)

         273. 255. Plaintiffs repeat and incorporate by reference each and every allegation

contained in the preceding paragraphs as if fully set forth herein.

         274. Plaintiffs state this cause of action against all Defendants and challenge the

Executive Orders and any agency action seeking to implement the Executive Orders both facially

and as applied.

         275. 256. The Due Process Clause of the Fifth Amendment to the U.S. Constitution

provides that “[n]o person shall . . . be deprived of life, liberty, or property, without due process of

law.” U.S. Const. amend. V.

         276. 257. Under the Fifth Amendment, a governmental enactment, like the Executive

Orders, is unconstitutionally vague on its face if it fails to provide a person of ordinary intelligence

fair notice of what is prohibited or is so standardless that it authorizes or encourages seriously

discriminatory enforcement. Put differently, governmental enactments are unconstitutionally void

for vagueness when their prohibitions are not clearly defined. Such enactments may also be void

for vagueness as applied if they inhibit First Amendment freedoms.




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         277. 258. Vague prohibitions inhibit freedom of speech when individuals do not know

whether their speech is permitted and choose not to exercise their rights for fear of the

consequences.

         278. 259. TheFacially, the Executive Orders include vague and subjective terms that lend

themselves to conflicting interpretations and appear designed to authorize discriminatory and

arbitrary enforcement in order to achieve maximum chill of disfavored viewpoints.

         279. As applied, the Executive Orders fail to provide Plaintiffs with reasonable and

adequate notice as to which speech, advocacy, and activities may or may not be permitted in

projects funded by federal grants and/or contracts, or even projects that are not federally funded,

if Plaintiffs wish to continue to receive federal funding.

         280. 260. The Executive Orders leave Plaintiffs guessing about whether they can or

cannot engage in speech and activities that express the need and intent to targetprovide support

and services to communities that are underrepresented and underserved communities by virtue of

their race, ethnicity, sex, or disability status. Nor can Plaintiffs cannot reasonably ascertain the

parameters of suchthe speech and activity that is and is not permissible under the Executive Orders’

terms. The Anti-Diversity1 Order fails to define “equity-related,” which makes Plaintiffs wonder

which of their funding is most at risk. The Anti-Diversity2 Order provides no definition of what

constitutes promotion of“promoting DEI,” and thus Plaintiffs do not know what they must do or

say to comply with the Order. Moreover, the Anti-Gender Order provides no definition of what

constitutes promotion of“promot[ing] gender ideology,” leaving Plaintiffs guessing as to whether

any acknowledgement of the existence of transgender people, or even the use of the term

“transgender,” would violate the Order.




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       261. The Executive Orders fail to provide reasonable and adequate notice as to which

speech, advocacy, and activities may or may not be permitted in the performance of federal grants

and/or contracts, or even permitted if funded by non federal funds if Plaintiffs wish to continue to

receive federal funding.

         281. 262. In spite of the Executive Orders’ vagueness, they include a range of penalties,

including cancellation of existing federal contracts and, loss of eligibility for future government

contracts, discontinuation of federal grants, and potential False Claims Act liability. The Executive

Orders require contractors and grantees to agree that compliance with the government’s view is

“material” to funding for purposes of the False Claims Act, thus invoking the specter of vexatious

litigation and significant monetary damages under that Act. Anti-Diversity2 Order § 3(b)(iv)(A).

         282. 263. Plaintiffs engage in speech, as well as and conduct trainings, research,

services, and advocacy, that acknowledges systemic racism, sexism, anti-LGBTQ bias, and the

existence of transgender people, all of which are central to fulfillment of their missions. Plaintiffs

do not know which of their activities are prohibited by the Executive Orders. Because of this

uncertainty, theyPlaintiffs are justifiably fearful of conducting any activities that might threaten

their direct or indirect federal funding, in spite of these activities’ centrality to their missions and

their ability to serve vulnerable and marginalized communities.

         283. 264. By predicating penalties and threatened liability on such imprecise terms, the

Executive Orders create risk of unguided enforcement. The indeterminate nature of what is

prohibited under the Executive Orders grants Defendants unrestrained discretion, resulting in risk

of arbitrary and selective enforcement treatment of private organizations, including Plaintiffs. The

         284. In sum, the Executive Orders violate the Due Process Clause of the Fifth

Amendment to the U.S. Constitution and are void for vagueness both facially and as applied




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because they infringe on Plaintiffs’ constitutionally protected right to free speech, provide

inadequate notice of the conduct they purport to prohibit, and authorize arbitrary, selective

enforcement decisions government action.

                         THIRD CLAIM FOR RELIEF
          VIOLATION OF THE FIFTH AMENDMENT - EQUAL PROTECTION

                     Violation of the Fifth Amendment - Equal Protection
                                     (Race Discrimination)

 (Plaintiff NUL as to Defendants Trump, Kennedy, Jr., MiconeChavez-DeRemer, Lutnick,
  Turner, Monarez, Bondi, Rollins, Zeldin, Vought, SchlossEschbach, HHS, DOL, DOC,
                    HUD, CDC, DOJ, USDA, EPA, OMB, and OFCCP)

  (Plaintiff NFHA as to Defendants Trump, Turner, Bondi, Vought, Schloss, HUD, DOJ,
                                  OMB, and OFCCP)

 (Plaintiff AFC as to Defendants Trump, Kennedy, Jr., Turner, EspinosaEngels, Monarez,
   Memoli, NichollsBhattacharya, Lazare, Bondi, Vought, SchlossEschbach, HHS, HUD,
                    HRSA, CDC, NIH, ACL, DOJ, OMB, and OFCCP)

          285. 265. Plaintiffs repeat and incorporate by reference each and every allegation

contained in the preceding paragraphs as if fully set forth herein.

          286. 266. Plaintiffs’ cause of action arises from the principle of non-statutory review to

enjoin Executive Officers and Departments seeking to enforce illegal, ultra vires Presidential

action.

          287. 267. The Fifth Amendment to the U.S. Constitution guarantees that no person shall

be “deprived of life, liberty, or property, without due process of law.” U.S. Const. amend. V.

          288. 268. The Fifth Amendment’s Due Process Clause makes the Fourteenth

Amendment’s guarantee of equal protection applicable to the federal government, its agencies, its

officials, and its employees.

          289. 269. The Equal Protection Clause of the Fourteenth Amendment prohibits denying

“any person . . . the equal protection of the laws.” U.S. Const. amend. XIV, § 1. This direction



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requires “all persons similarly situated [to] be treated alike.” City of Cleburne, Tex. v. Cleburne

Living Ctr., 473 U.S. 432, 439 (1985).

         290. 270. A violation of the Equal Protection Clause need not rest “solely on . . .

discriminatory purposes” or even have a discriminatory purpose that is “dominant” or “primary.”

Vill. of Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 265 (1977). However, if a

discriminatory purpose is a motivating factor in the decision, judicial deference is no longer

justified. Id. “Determining whether invidious discriminatory purpose was a motivating factor

demands a sensitive inquiry into such circumstantial and direct evidence of intent as may be

available.” Id. at 266.

         291. 271. Non-exhaustive factors that point to the existence of discriminatory intent

include (1) whether the impact of the action bears more heavily on one race than another; (2) the

“historical background” of the decision, particularly if it demonstrates other actions taken for an

invidious purpose; (3) any departures from normal procedures; (4) any “substantive[s]ubstantive

departures” from factors normally considered in reaching a decision; and (5) the administrative

history of the decision. Id. at 266–68.

         292. 272. The Anti-Diversity1 and Anti-Diversity2 Orders were promulgated and/or

implemented by the Trump Administration, at least in part, with the purpose of discriminating

against Black people and other people of color through the chilling and suppression of speech

concerning racism and through the targeting of federally funded entities that seek to address and

ameliorate systemic obstacles to racial equality for cessation of their federal grants and contracts.

Accordingly, the Anti-Diversity1 and Anti-Diversity2 Orders discriminate against Black people

and other people of color who are served by Plaintiffs’ programs and services and are unable to

avail themselves of their rights by frustrating Plaintiffs’ missions, chilling theirPlaintiffs’ speech




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on racism, and penalizing themPlaintiffs for their efforts to address harms and disadvantages

disproportionately borne by Black people and other people of color.

         293. 273. The history of the Anti-Diversity1 and Anti DEIA 2Anti-Diversity2 Orders,

the sequence of events taken to implement them, and the contemporaneous statements and actions

of President Trump and Administration officials in his Administration raise a strong inference of a

discriminatory purpose.

         294. 274. The known and reasonably foreseeable discriminatory impact of the Anti-

Diversity1 and Anti-Diversity2 Orders on Black people and other people of color, among other

factors, raise also raises a strong inference of a discriminatory purpose.

         295. 275. Moreover, the Anti-Diversity1 and Anti-Diversity2 Orders were motivated by,

perpetuate, and further entrench discriminatory and baseless stereotypes concerning the relative

qualifications of Black people and/or other people of color.

       296.    276. TheIn addition, the Anti-Diversity1 and Anti-Diversity2 Orders classify their

beneficiaries of the Orders by race by prohibiting. They prohibit DEIA policies, programs, and

activities, which are established means of combatting the effects of entrenched discrimination and

other unfair barriers to opportunities, to the advantage of white people and to the detriment of

people of color.

         277. In addition, the express terms of the Anti-Diversity1 and Anti-Diversity2 Orders

mandate that white people will disproportionately benefit, and people of color will be

disproportionately harmed, from the Orders’ implementation and enforcement.

         297. 278. Accordingly, the Anti-Diversity1 and Anti-Diversity2 Orders discriminate

against people of color who are served by Plaintiffs’ programs and services and are unable to avail

themselves of their rights by frustrating Plaintiffs’ missions, chilling theirPlaintiffs’ speech on




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racial justice issues, and penalizing themPlaintiffs for their efforts to address harms and

disadvantages disproportionately borne by people of color.

         298. 279. The Anti-Diversity1 and Anti-Diversity2 Orders also discriminate on the basis

of race by targeting equity-related grants for cessation because such grants benefit people of color.

By singling out the services provided by Plaintiffs for disfavor and cessation because they seek to

address racial inequalities, the Anti-Diversity1 and Anti-Diversity2 Orders discriminate against

people of color, including those who are served by Plaintiffs, have a close relationship with

Plaintiffs, and are not in a position to vindicate their rights.

         299. 280. Moreover, the race discrimination from the Anti-Diversity1 and Anti-

Diversity2 Orders frustrates Plaintiffs’ organizational missions.

         300. 281. Defendants lack even a rational justification for the Anti-Diversity1 and Anti-

Diversity2 Orders, let alone the compelling one required, nor areand they are not adequately

tailored to meet that purported justification.

         301. 282. Defendants’ violations cause ongoing harm to Plaintiffs and the Black people

and other people of color whom they serve.

                        FOURTH CLAIM FOR RELIEF
          VIOLATION OF THE FIFTH AMENDMENT - EQUAL PROTECTION

                     Violation of the Fifth Amendment - Equal Protection
             (Sex, Sexual Orientation, Gender Identity, and Transgender Status)

 (Plaintiff NUL as to Defendants Trump, Kennedy, Jr., MiconeChavez-DeRemer, Lutnick,
  Turner, Monarez, Bondi, Rollins, Zeldin, Vought, SchlossEschbach, HHS, DOL, DOC,
                    HUD, CDC, DOJ, USDA, EPA, OMB, and OFCCP)

  (Plaintiff NFHA as to Defendants Trump, Turner, Bondi, Vought, Schloss, HUD, DOJ,
                                  OMB, and OFCCP)

 (Plaintiff AFC as to Defendants Trump, Kennedy, Jr., Turner, EspinosaEngels, Monarez,
   Memoli, NichollsBhattacharya, Lazare, Bondi, Vought, SchlossEschbach, HHS, HUD,
                    HRSA, CDC, NIH, ACL, DOJ, OMB, and OFCCP)



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         302. 283. Plaintiffs repeat and incorporate by reference each and every allegation

contained in the preceding paragraphs as if fully set forth herein.

         303. 284. The Anti-Gender Order and implementation discriminatediscriminates against

Plaintiffs and the transgender people whom Plaintiffs serve on the basis of sex and transgender

status, without lawful justification, in violation of the equal protection component of the Due

Process Clause of the Fifth Amendment.

         304. 285. By directing agencies to withhold grants from entities that “promote gender

ideology,” the Anti-Gender Order discriminates based on sex and transgender status.

         305. Further, the government’s threat to deny federal funding unless Plaintiffs exclude

(discriminate against) a protected class of people evidences the government’s attempt to contract

with private entities to accomplish what the government itself is constitutionally forbidden to

accomplish. This unconstitutional condition results in a direct injury to Plaintiffs, as well as the

transgender people they serve.

         306. 286. The Anti-Gender Order facially discriminates based on sex because it creates

idiosyncratic and unscientific sex-based definitions for the purpose of exclusion and directs

agencies to withhold grants from entities that “promote gender ideology.”

         307. 287. The Anti-Gender Order also facially discriminates based on transgender status

because it expresses a disparaging, demeaning, idiosyncratic, and unscientific viewpoint about

transgender people and gender identity, denyingdenies that transgender people exist,

deemingdeems them “false,” and orderingorders their exclusion from government recognition and

protection.

       288. The Anti Gender Order was issued for the openly discriminatory purpose of

expressing governmental disapproval of transgender people, repudiating their existence,




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preventing them from expressing gender identities that differ from the sex assigned to them at

birth, and imposing discriminatory burdens upon them in numerous respects in every aspect of

their daily lives. This animus laden purpose is not a legitimate governmental interest and fails

under any standard of review.

          308. 289. Transgender people have experienced a long history of discrimination and

continue to suffer thatfrom such discrimination. They are a discrete and insular group and lack the

power to protect their rights through the political process. A person’s gender identity or

transgender status bears no relation to that person’s ability to contribute to society, and gender

identity is a core defining trait that is so fundamental to a person’s sense of self and personhood

that they cannot be required to abandon it as a condition of equal treatment. Efforts to change a

person’s gender identity through intervention have been widely condemned.

          309. The Anti-Gender Order was issued for the openly discriminatory purpose of

expressing governmental disapproval of transgender people, repudiating their existence,

preventing them from expressing gender identities that differ from the sex assigned to them at

birth, and imposing discriminatory burdens upon them in every aspect of their daily lives. This

animus-laden purpose is not a legitimate governmental interest and fails under any standard of

review.

          310. 290. Moreover, theThe sex, sexual orientation, and gender identity discrimination

from the Anti Diversity1 and Anti Diversity2 Orders frustrateof the Anti-Gender Order frustrates

Plaintiffs’ organizational missions.

          311. 291. Discrimination on the basis of sex is presumptively unconstitutional and

subject to heightened scrutiny.




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         312. 292. Discrimination based on transgender status is also presumptively

unconstitutional and subject to heightened scrutiny.

         313. 293. Defendants lack even a rational or legitimate justification for the Anti

Diversity1 and Anti Diversity2 Executive OrdersAnti-Gender Order, let alone the exceedingly

persuasive or compelling one required, nor are theyand the Order is not adequately tailored to meet

that justification under any standard of review.

         314. 294. Defendants’ violations cause ongoing harm to Plaintiffs and the women and/or

LGBTQtransgender people whom they serve.

                        FIFTH CLAIM FOR RELIEF
        ULTRA VIRES PRESIDENTIAL ACTION IN EXCESS OF AUTHORITY

               Ultra Vires Presidential Action in Excess of Authority
    (USURPING THE LEGISLATIVE FUNCTIONAs Applied to Plaintiffs Contrary to
                                     Statutes)

 (Plaintiff NUL as to Defendants Trump, Kennedy, Jr., MiconeChavez-DeRemer, Lutnick,
  Turner, Monarez, Bondi, Rollins, Zeldin, Vought, SchlossEschbach, HHS, DOL, DOC,
                    HUD, CDC, DOJ, USDA, EPA, OMB, and OFCCP)

 (Plaintiff NFHAAFC as to Defendants Trump, Kennedy, Jr., Turner, Engels, Monarez,
 Bhattacharya, Lazare, Bondi, Vought, SchlossEschbach, HHS, HUD, HRSA, CDC, NIH,
                           ACL, DOJ, OMB, and OFCCP)

         315. Plaintiffs repeat and incorporate by reference each and every allegation contained

in the preceding paragraphs as if fully set forth herein.

         316. Plaintiffs’ cause of action arises from the principle of non-statutory review to enjoin

Executive Officers and Departments seeking to enforce illegal, ultra vires Presidential action.

         317. Federal statutes and regulations specifically authorize Plaintiffs’ equity-related

services and advocacy, and efforts to eradicate discrimination against transgender people.

President Trump does not have the power to override those statutes and prohibit grant recipients

from doing precisely what Congress has directed, and what duly promulgated regulations



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                                  SIXTH CLAIM FOR RELIEF
                      Ultra Vires Presidential Action in Excess of Authority
                          (Facial Usurping of the Legislative Function)

(Plaintiff NUL as to Defendants Trump, Kennedy, Jr., Chavez-DeRemer, Lutnick, Turner,
 Monarez, Bondi, Rollins, Zeldin, Vought, Eschbach, HHS, DOL, DOC, HUD, CDC, DOJ,
                            USDA, EPA, OMB, and OFCCP)

 (Plaintiff AFC as to Defendants Trump, Kennedy, Jr., Turner, EspinosaEngels, Monarez,
   Memoli, NichollsBhattacharya, Lazare, Bondi, Vought, SchlossEschbach, HHS, HUD,
                    HRSA, CDC, NIH, ACL, DOJ, OMB, and OFCCP)

           323. 295. Plaintiffs repeat and incorporate by reference each and every allegation

contained in the preceding paragraphs as if fully set forth herein.

           324. 296. The U.S. Constitution vests Congress, not the President, with the exclusive

authority over federal spending under Article I, § 8 and Article I, § 9, clause 7. The Executive

Orders usurp this power by unilaterally terminating or modifying federal grants and contracts

without congressional authorization for such actions.

           325. 297. Article I of the Constitution vests Congress with the powers to make laws and

control the public fisc. The Presentment Clause provides that “[e]very Bill which shall have passed

the House of Representatives and the Senate, shall, before it become a Law, be presented to the

President of the United States.” U.S. Const. art. I, § 7, cl. 2. The Appropriations Clause provides

that “[n]o Money shall be drawn from the Treasury, but in Consequence of Appropriations made

by Law,” U.S. Const. art. I, § 9, cl. 7, and the Spending Clause vests Congress with the power to

use Treasury funds expend those funds for the “general Welfare of the United States.” U.S. Const.

art. I, § 8, cl. 1.

           326. 298. Thus, it is Congress, not the President, who is vested with the power of the

purse. The President does not have unilateral power to withhold federal funds that have been

previously authorized by Congress and signed into law, and the President does not have the power




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to impose his own conditions on the use of funds when Congress has not delegated to him the

power to do so.

          327. 299. As part of its power over the public fisc, Congress distributes millions of

dollars every year in grants related to social services, community investment, employment,

healthcare, housing, and education. Congress may specify how its grants are used, generally by

passing    federal   statutes,   or   in   their   annual   appropriations   bill.   None   of   the

Congressionalcongressional conditions placed on the grants administered or disbursed contain the

unique restrictions described in the Executive Orders relating to DEIA or the promotion of “gender

ideology.”

          328. 300. No provision of the Constitution authorizes the executiveExecutive to enact,

amend, or repeal statutes, including appropriations approved by Congress and signed into law by

the President. The Executive cannot unilaterally amend or cancel appropriations that Congress

has duly enacted.

          329. 301. By directing agencies to terminate congressionally appropriated grants based

on the President’s own policy preferences, the Executive Orders attempt to amend, repeal, rescind,

or circumvent duly enacted federal statutes or appropriations. These mandates exceed the

President’s powers under Article II, unconstitutionally infringe upon those powers vested in

Congress, and attempt to amend federal legislation while bypassing Article I’s Bicameralism and

Presentment Clauses. See U.S. Const. art. I, § 7, cl. 2, 3.

          330. 302. By directing agencies to terminate or withhold congressionally appropriated

grants, the Executive Orders attempt to expend public funds to advance the President’s policy

preferences, rather than those of Congress. This exceeds the President’s powers under Article II

and unconstitutionally infringes upon thosethe powers vested in Congress.




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         331. 303. These actions exceed the President’s powers under Article II,

unconstitutionally infringe upon those powers vested in Congress, and attempt to amend federal

legislation while bypassing Article I’s Bicameralism and Presentment Clauses.

         332. 304. Pursuant to 28 U.S.C. § 2201, Plaintiffs are entitled to a declaration that the

Executive Orders violate the constitutional principles of the separation of powers doctrine and

impermissibly arrogate to the executive power that is reserved to Congress.


                        SIXTH CLAIM FOR RELIEF
        ULTRA VIRES PRESIDENTIAL ACTION IN EXCESS OF AUTHORITY

                                       (Contrary to Statutes)

(Plaintiff NUL as to Defendants Trump, Kennedy, Jr., Micone, Lutnick, Turner, Monarez,
Bondi, Rollins, Zeldin, Vought, Schloss, HHS, DOL, DOC, HUD, CDC, DOJ, USDA, EPA,
                                   OMB, and OFCCP)

  (Plaintiff NFHA as to Defendants Trump, Turner, Bondi, Vought, Schloss, HUD, DOJ,
                                  OMB, and OFCCP)

    (Plaintiff AFC as to Defendants Trump, Kennedy, Jr., Turner, Espinosa, Monarez,
   Memoli, Nicholls, Bondi, Vought, Schloss, HHS, HUD, HRSA, CDC, NIH, ACL, DOJ,
                                   OMB, and OFCCP)

       305. Plaintiffs repeat and incorporate by reference each and every allegation contained in

the preceding paragraphs as if fully set forth herein.

       306. Far from authorizing the President to mandate that grant recipients refrain from

engaging in DEIA practices, addressing systemic obstacles to equality and health disparities, or

acknowledging and supporting transgender people, federal law specifically authorizes Plaintiffs’

equity related services and advocacy. President Trump does not have the power to override those

statutes and prohibit grant recipients from doing precisely what Congress has directed, and what

duly promulgated regulations prescribe.        The Executive Orders are inconsistent with our

Constitution’s separation of powers.




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       307. The Executive Orders impose sweeping funding restrictions on federal contractors

and grantees, directing agencies to, inter alia, terminate “equity related” grants and contracts

without lawful statutory basis. These actions violate the constitutional separation of powers

principles and amount to an unconstitutional exercise of executive authority over federal

appropriations.

       308. When the President usurps congressional authority and infringes on the constitutional

rights of individuals, the essential role of the courts is to “say what the law is.” The Executive

Orders should be declared unlawful, and the agency Defendants should be enjoined from enforcing

or implementing them.

       309. The Executive Orders are contrary to the federal interests of the funding statutes

applicable to plaintiff NUL, including the Housing and Urban Development Act of 1968 and the

Older Americans Act of 1965.

       310. NUL’s Housing Counseling Program is funded by a grant from HUD, authorized by

Section 106 of the Housing and Urban Development Act of 1968, 12 U.S.C. § 1701x. Pursuant to

statute, this grant is for the purpose of providing “information, advice, and technical assistance,

including but not limited to” “counseling and advice to tenants and homeowners . . . to assist them

in improving their housing conditions . . . .”51

       311. The statute references the need for counselors to be competent in specific subject

matters, including without limitation “[f]air housing laws and requirements.” Fair housing laws

and requirements prohibit housing and lending discrimination on the bases of race, national origin,

religion, sex, disability, sexual orientation, gender identity, and other protected classes. Thus, the

Executive Orders’ prohibitions against DEIA, as viewed by agency officials, may bar NUL staff




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from providing counseling on fair housing laws and requirements, in direct conflict with the

Housing and Urban Development Act.

       312. Moreover, regulations governing the Housing Counseling Program refer to “fair

housing and predatory lending” as “approved housing counseling, education, and outreach topics”

that NUL counselors may provide and discuss with clients. However, to the extent “fair housing”

and “predatory lending” pertain to any specific communities vulnerable to housing discrimination

and predatory lending and are also associated with DEIA, as understood by agency officials, those

topics may be prohibited by the Executive Orders in contravention of agency regulations.

       313. NUL’s Urban Seniors Jobs Program is authorized by the Older Americans Act,

pursuant to which the Senior Community Service Employment Program (“SCSEP”) was

established. The SCSEP is a community service and work-based job training program for older

Americans. The program provides training for economically insecure, unemployed seniors who

are committed to finding employment opportunities. Participants also have access to employment

assistance through American Job Centers.

       314. The Older Americans Act requires consideration of a program’s effectiveness in

targeting services for underserved older Americans with the greatest economic and social needs,

which the statute identifies as including “low income minority individuals” and “older individuals

residing in rural areas.”52 Further, the statute requires a pre approved plan for programs and

services to older individuals, which must include “specific objectives” for service provision to

certain, identified high need populations, including without limitation “low income minority older

individuals.”53 The Older Americans Act also requires outreach to certain older populations,

including without limitation “low income minority individuals and older individuals residing in

rural areas” with the greatest economic and social needs, as well as “older individuals with severe




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disabilities.”54 These statutory requirements may be undermined by the views agency officials

take under color of the Executive Orders.

       315. The Executive Orders are contrary to the federal interests of the funding statutes

applicable to Plaintiff NFHA, including the Housing and Community Development Act of 1987.

This statute authorizes funds for private fair housing enforcement organizations, like NFHA and

its members, to help enforce compliance with the Fair Housing Act, which prohibits housing and

lending discrimination on the basis of race, national origin, religion, sex, disability, sexual

orientation, gender identity, and other protected classes. Based on agency actions thus far,

Defendants seem to construe NFHA’s work enforcing the Fair Housing Act to fall within the

Executive Orders’ rubric of DEIA and, thus, subject to termination of federal funds.

       316. The Executive Orders are contrary to the federal interests of the funding statutes

applicable to Plaintiff AFC, including the HIV Health Care Services Program and Housing

Opportunities for People with AIDS.

       317. The statutory framework for the HIV Health Care Services Program (also known as

“Ryan White Program”) constituted the initial national response to HIV and explicitly directs

resources to underserved populations, reflecting Congress’s intent to address disparities in access

to healthcare for individuals living with HIV/AIDS. 42 U.S.C. § 300ff.

       318. The Ryan White Program requires grant recipients to create HIV health services

planning councils that reflect the demographics of individuals with HIV/AIDS in a given area,

with particular consideration for disproportionately affected and historically underserved groups

and subpopulations. 42 U.S.C. § 300ff-12(b)(1).

       319. The Ryan White Program also mandates that grant recipients target services to

underserved populations, including minority populations, ex offenders, individuals with




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comorbidities, low-income populations, inner-city populations, and rural populations. 42 U.S.C.

§ 300ff 52.

       320. The Ryan White Program establishes the Minority AIDS Initiative to evaluate and

address racial and ethnic disparities in access to HIV care, with funding distributed based on the

disproportionate impact of HIV/AIDS on racial and ethnic minorities. 42 U.S.C. § 300ff 121.

       321. The Housing Opportunities for People with AIDS (“HOPWA”) regulations reinforce

the prioritization of marginalized populations.      They provide fair housing guidance and

nondiscrimination in the housing services. 24 C.F.R. § 574.300. HOPWA imposes affirmative

outreach obligations on grantees to ensure all eligible individuals, including those at risk of

discrimination based on race, national origin, sex, or disability, are aware of and can access

HOPWA-funded housing and services. 24 C.F.R. § 574.603. Finally, the regulations explicitly

define “family” in a manner inclusive of LGBTQ people, ensuring access to housing assistance

regardless of sexual orientation or gender identity. 24 C.F.R. § 574.3.

       322. The Executive Orders violate these statutory and regulatory mandates. The HOPWA

and Ryan White programs are structured to remediate systemic inequities in healthcare and

housing, and executive orders that disregard these obligations contradict the express will of

Congress.

                              SEVENTH CLAIM FOR RELIEF

              VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT

(Contrary to Constitution, Excess of Statutory Authority, Arbitrary and Capricious)

(Plaintiff NUL as to Defendants Kennedy, Jr., Micone, Lutnick, Turner, Monarez, Bondi,
Rollins, Zeldin, Vought, Schloss, HHS, DOL, DOC, HUD, CDC, DOJ, USDA, EPA, OMB,
                                      and OFCCP)

 (Plaintiff NFHA as to Defendants Turner, Bondi, Vought, Schloss, HUD, DOJ, OMB, and
                                       OFCCP)



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   (Plaintiff AFC as to Defendants Kennedy, Jr., Turner, Espinosa, Monarez, Memoli,
 Nicholls, Bondi, Vought, Schloss, HHS, HUD, HRSA, CDC, NIH, ACL, DOJ, OMB, and
                                        OFCCP)

       323. Plaintiffs repeat and incorporate by reference each and every allegation contained in

the preceding paragraphs as if fully set forth herein.

       324. Plaintiffs bring this claim for relief under the provisions of the Administrative

Procedure Act, 5 U.S.C. §§ 701 706.

       325. Defendant agencies have taken actions to eliminate DEIA programs and activities

without defining what types of programs and activities are banned as “DEI” or DEIA” and without

any prior determinations of their illegality.

       326. They have also banned “gender ideology,” a term created by the federal government

based on idiosyncratic and unscientific sex based definitions.

       327. Likewise, these agency actions cut off federal funding, through contracts or grants, to

any program or activity that is “DEI” or “DEIA”          or related to “DEI” or “DEIA” without any

prior determination of (a) why they are considered to be “DEI” or “DEIA” or (b) why they are

illegal pursuant to criteria that is articulable, discernible, and publicly known.

       328. They also cut off federal funding, through contracts or grants, to any program activity

that promotes “gender ideology,” a term created by the federal government based on idiosyncratic

and unscientific sex based definitions.

       329. The agencies’ actions in response to the unlawful Executive Orders constitute agency

actions that should be set aside for at least three reasons.

       330. The agencies’ actions taken pursuant to the Executive Orders are contrary to

constitutional right, power, privilege, or immunity in violation of 5 U.S.C. § 706(2)(B), as more

particularly described Claims for Relief One, Two, Three, and Four, above.




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       331. The agencies’ actions taken pursuant to the Executive Orders are in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right, in violation of 5 U.S.C. §

706(2)(C), as more particularly described in Claim for Relief Five, above.

       332. The agencies’ actions are arbitrary and capricious, in violation of 5 U.S.C.

§ 706(2)(A), as more particularly described in Claim for Relief Two, above.

       333. The Court should hold unlawful and set aside the actions of the agencies acting

pursuant to the Executive Orders,


                                      JURY TRIAL DEMAND

       Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a trial by jury on all

claims triable.


                                     REQUEST FOR RELIEF

       Plaintiffs respectfully request that the Court grant the following relief:

       A.         A declaration pursuant to 28 U.S.C. § 2201 that Executive Order Nos. 14151,

14168, and 14173 and any implementing agency actions are unlawful, unconstitutional, and

invalid.

       B.         A permanent injunction enjoining Defendants, their officials, agents, employees,

assigns, and all persons acting in concert or participating with them from implementing or

enforcing Executive Order Nos. 14151, 14168, and 14173, including without limitation the

promulgation of any rules or regulations, in any manner against Plaintiffs by way of contract,

subcontract, purchase order, grant, or sub-grant.

       C.         A permanent injunction mandating that Defendants permanently rescind all

agency-wide directives implementing and effectuating Executive Order Nos. 14151, 14168, and

14173 against Plaintiffs that were issued prior to this injunction.


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       D.      A permanent injunction mandating that Defendants unwind, rescind, strike,

modify, or otherwise rectify contracts, subcontracts, agreements, and/or any other such binding

documents entered into with Plaintiffs, in which terms, clauses, or provisions have been inserted

pursuant to or in furtherance of Executive Order Nos. 14151, 14168, and 14173.

       E.      A permanent injunction mandating that Defendants provide notice of this

injunction to all Plaintiffs and their subcontractors, vendors, and/or sub-grantees for whom such

terms, clauses, or provisions have already been imposed.

       F.      An order awarding Plaintiffs’ cost of suit and reasonable attorneys’ fees and

expenses, pursuant to any applicable law; and

       G.      Such other relief as this Court deems equitable, just, and proper.


Dated: February 19June 27, 2025                       Respectfully submitted,


                                                      /s/ Jin Hee Lee

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